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Transcripts (https://www.rov.com/blog/transcript-category/congressional-testimony-hearing-transcripts) Mark Zuckerberg & Jack Dorsey Testimony Transcript
Senate Tech Hearing November 17

Facebook CEO Mark Zuckerberg and Twitter CEO Jack Dorsey testified before the Senate Judiciary Committee on November 17.
They were questioned on speech moderation policies. Read the transcript of the full big tech hearing below.

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oil, Graham: (00:0 Chitps://www.rev.cqm/transeript: 7) senate-tech-hearing-november-17)

editor/shared/ge7Kci_Sal8JWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawDyRYIEUIPZ5rNzdAbUIJvqgAM23
BSo7loadFrom=PastecDeeplink&ts=0.21))

» | want to talk about here is health risk associated with social media. A 2018 Pew Research Center survey of nearly 750, 13 to
17 year olds found that 45% are online almost constantly and 97% use social media platforms such as YouTube, Facebook,
Instagram, or Snapchat. So why are we having this hearing? The products that these two companies offer. peopie like and they
use. So the bottom line is they've probably been more successful than their wildest dreams, and they're having to make
decisions that offend people on the left and the right. And what we're trying to do is look at Section 230 and to see if it needs
to be modified or changed because Section 230 basically allows social media platforms like Twitter and Facebook to pass on
information without legal liability, If a newspaper does something you don’t like, you think they've slandered you in a certain
way, you can sue them,

Mr. Graham: (01:15 (https://www.rev.com/transcript-
editor/shared/qe7kc1_8al8IWOTcicE7pilcé3qbNS5Y59N2ZEXxkO_EVTEes7mHP_NkIpyZemhawO0yRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=75.29))}

If a news program does something that you think is out of line, even as a politician with a high bar, you can sue them. These
companies have a liability protection when it comes to the content that their users engage in. You can sue the person who
gave the tweet, but you can't sue Twitter who gave that person access to the world in terms of what they said. And we got to
find a way to make sure that when Twitter and Facebook make a decision about what's reliable and what's not, what to keep
up, what to take down, that there's transparency in the system. And | think Section 230 has to be changed because we can't
get there from here without change. But in 2019, a study of more than 6500, 12 to 15 year olds in the US found that those wha
spent more than three hours a day using social media might be at heightened risk for mental health problems.

Mr. Graham: (02:21 (https://www.rev.com/transcript-
editor/shared/gqe7Kc1_8al8IWOTcicE7plcé63qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=141.87))

Another study 12,000, 13 to 16 year olds in England found that using social media more than three times a day, predicted poor
mental health and wellbeing in teens. Other studies also have observed links between high levels of social media use,
depression or anxiety. The average millennial checks their phone 157 times daily. | don’t know how a member of the Senate, |
don't know where we fall. Social media is designed to sustain user's attention with a mix of good user interface, design, and
psychology. creating an addictive mix for users. It’s called the slot machine effect. A technique which utilizes a pull to refresh
and scrolling mechanisms on newsfeed similar a slot machine. The like button. a feature to provide social validation through a
positive feedback loop my measuring and comparing the number of likes a users’ content obtains. Gamifying social
interactions, employing gamification to engage users and keep them coming back.

Mr. Graham: (03:35 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8al8JWOTcicE7plcéSqoN5Y59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRY|EUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=215.11})

For example, streaks is the one causing the most concern and using elongating red lines to display the number of days since

fron ears in¢acaatad Girace uriat thaea tanrhnalanine da ie teeta baan oe anenaane Tha marin annanas tha tanknalacns tha

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more advertising benefit to the company. Is that a good business practice? Maybe so. Does it create a health hazard over time?
It's something to look at. Now, the other aspect of this debate is are these companies newspapers or they're TV stations? Do
they have the power of media organizations that have rules and regulations and the current media platforms do not? There are
rules about what a television station can do. There are rules about what a newspaper can do. And what | want to try to find out
is if you're not a newspaper at Twitter or Facebook, then why do you have editorial control over the New York Post?

Mr. Graham: (04:52 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_BalBIWOTcicE7plcé3qbNSY59N2ZEXxkO_ EVTEes7MHP_NkIpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=292.4))

They decided, and maybe for a good reason | don't know, that the New York Post articles about Hunter Biden needed to be
flagged, excluded from distribution or made hard to find. That to me, seems like you're the ultimate editor. The editorial
decision at the New York Post to run the story was overwritten by Twitter and Facebook in different fashions to pravent its
dissemination. Now, if that’s not making an editorial decision, | don't know what would be. It's one thing when we do it in our
private lives. Nikki Haley made @ post about her concerns about mail-in balloting. It was flagged as something, a claim this
hasn't been legitimatized.

Mr. Graham: (05:53 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_B8alBIWOTcicE7plc63qbNSY59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYlEU1PZ5rNzdAbUIJvqgAM23
BSo?loadFrom=PastedDeeplink&ts=353.8))

Let me read it to you. “The next question to ask is why is it a crime to raise doubts about the Holocaust? Why should anyone
who writes about such doubts be imprisoned while insulting the prophet is allowed?” Now, that's the Ayatollah. He's opining
that raising doubts about the Holocaust shouldn't be a crime and he is openly called for the destruction of Israel. His regime
has. and his tweet was basically allowed to flourish. Here's what Nikki Haley said. “Despite what the media tells us, election
fraud does happen and policies like ballot harvesting, and mailing ballots to people wha don’t request them makes that easier.
That needs to stop. This claim about election fraud is disputed. Well, that's her opinion.

Mr. Graham: (06:57 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_B8alBJWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=417.79)}

She believes, like | do, that mail-in balloting is ripe for fraud if you can’t verify the signature. And if we just send mail ballots out
to the world that are not requested, and you don't have a signature verification system that can be trusted, you have in fact led
to harvesting of ballots for nefarious purposes. The question for us as a country, at what point did the decisions by these
organizations cross a line? At what point do they have to assume responsibility that Section 230 shields them from? And to the
people who are about to testify, | consider your products to have changed the world, mostly for the good. We're able to interact
among ourselves. We're able to talk to each other and share life experiences, We're able to real-time communicate to our
neighbors and our friends and those who oppose us. What we think with technology that just makes it instantaneous and can
literally light up the world.

Mr. Graham: (08:13 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pilcé3qbNSYS9N2ZEXxkO_EVTEes?mHP_NkJpyZemhaw0yRYIEU1PZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=493.06))

Section 230 was developed to allow these technologies to flourish. Early on, if you could sue Twitter or Facebook for content
ona Facebook posting or a tweet, and they were liable for what somebody else said or what they felt or did, then the company
would have probably never been in existence. The companies are trying to help us deal with child pornography. We have the
EARN IT Act. That to be able to maintain liability protections when it comes to sexual exploitation of social media sites about
sexual predators, this committee has passed a bill saying you can only maintain that liability protection if in fact you use best
business practices. And that’s where | think we need to be going. My hope is that we change Section 230 to incentivize social
media platforms to come up with standards that are transparent and opaque that will allow us to make judgements about their
judgments. That the fact checkers be known. That the community standards, who sets them, what are their biases and give
some direction to these companies because they have almost an impossible task.

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Mr. Graham: (09:38 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pilcé3qbNSYS9N2ZEXxkO_EVTEes7MHP_. NkJpyZemhawOyRY|EU1PZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=578.94)}

They're literally trying to engage in telling us what's reliable and what's not based on cable news commentary or tweets from
Politicians or average citizens. Nobody in a free society has ever had that responsibility before. And the question is, how do you
control that responsibility? | don’t want the government to take over the job of telling America what tweets are legitimate and
what are not. | don't want the government deciding what content to take up and put down. | think we're all in that category. But
when you have companies that have the pawer of governments, have far more power than traditional media outlets,
something has to give. And I'm hoping in this hearing today that we can find a baseline of agreement.

Mr. Graham: (10:41 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_BalBJWOTcicE7pilcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=4641.02))

That Section 230 needs to be changed. That my bias would be to allow the industry itself, to develop best business practices to
protect the sites against terrorism and child exportation and other concerns. That we took at the business practices of these
companies through a health prism. That some of their practices need to be modified because it can become addictive. We
thought tobacco was a good thing for a long time to the point that we sent it to our soldiers in combat. The more we realized
about the addictive nature of tobacco, the more we changed our mind about telling the public about the product.

Mr. Graham: (11:22 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7?loadFrom=PastedDeeplink&ts=682.95))

So whether or not we do that with social media platforms, that these platferms can be addictive if used too often. | don’t know
if we need to go there, but | do know that Section 230 exists today is got to give. And I think there's Republican and Democrat
concern about the power that’s being used by social media outlets to tell us what we can see and what we can. What's true
and what's not to the extent that Section 230 in my view has to be rewritten. So that’s the purpose of this hearing is to find a
way forward to bring about change. And when it comes to social media platforms and Section 230, change is going to come.
With that, Senator Blumenthal.

Senator Blumenthal: (12:10 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8WOTcicE7picésqbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=730.1)}

Thank you very, very much Mr. Chairman. And thank you for having this hearing today. And | look forward to cooperating with
you not only in this hearing, but in the up coming Congress on our own EARN IT bill, on other measures, because you're
absolutely right. Change must come to social media. The fact is we meet today in an unprecedented and precarious moment in
American history. Daily, the president shocks our conscience and shakes the very foundations of our democracy using a
powerful megaphone, social media. The president has used this microphone to spread vicious falsehoods and an apparent
attempt to overturn the will of voters. Every day, he posts new threats and conspiracy theories about mail-in ballots and voting
machines, lies that contradict his own election security officials and his lawyers. He uses this megaphone potentially to block a
peacefu! transition of power. Now, Mr. Zuckerberg and Mr. Dorsey, you have built terrifying tools of persuasion and manipulation
with power far exceeding the robber barons of the last Guilded Age.

Senator Blumenthal: (13:35 (https://www.rev.com/transcript-
editor/shared/qe7Kcl_8al8IWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes?7mHP_N kopyZemhawOyRYIEUIPZ5rNzdAbUQvgAM23
BSo7loadFrom=PastedDeeplink&ts=815,13))

You have profited hugely by strip mining data about our private lives and promoting hate speech and voter suppression. You
have an immense civic and moral responsibility to ensure these instruments of influence do not irreparably harm our country. |
recognize the steps. They're really baby steps that you've taken so far, The destructive incendiary misinformation is still a
scourge on both your platforms and on others. In fact, Google has been given a pass from today’s hearing. It's been rewarded
by this committee for its timidity, doing even less than you have done to live up to its responsibilities. The recent actions you

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have taken in fact are simply to check the truth of what appears on platform. Often it is voter suppression and incendiary
malicious misinformation. And you've tried to slow its insidious spread. That's not censorship, that’s moral and civic
responsibility.

Senator Blumenthal: {74:49 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_Sal8IWOTcicE7pilc63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=388.87))

Now, | believe and | hope the chairman agrees that a series of hearings on big tech is long overdue on antitrust issues. on
privacy concerns and Section 230. | have urged, in fact, a breakup of tech giants because they've misused their bigness and
power. Breaking off, for example, WhatsApp and Instagram. Rigorous privacy protection, because consumers should have
control over their own data. And indeed Section 230 reform, meaningful reform, including even possible repeal in large part
because their immunity is way too broad and victims of their harms deserve a day in court. But this hearing is certainly not the
serious proceeding that we need. It may become a political sideshow, a public tar and feathering. My colleagues seem to want
to ignore the foreign disinformation campaigns intended to interfere in our democracy and calls for murder of FBI director Ray
and Dr. Fauci. What we've seen here are fighting words and hate speech that certainly deserve no free expression protection.

Senator Blumenthal: (16:24 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8IWOTcIcE7plcéSqbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=984,08)}

The fact is that the purpose of today’s hearing seems as much to bully or brow beat you Mr. Zuckerberg and Mr. Dorsey from
taking the more responsible action by threatening cuts to Section 230. Censorship is really a misnomer for this hearing. What
you've done is to label and to fact check to avoid amplifying misinformation and to in effect impose those labels to alert people
that what they are consuming may misinform them. And Facebook took down ads for Biden in Michigan and the ACLU in
Colorado for mistaken information about voting. In short, there was action that affected both sides. | have fought for Section
230 reform for 16 years. Fram my time as Connecticut's attorney general, when | took on the scourge of registered sex
offenders grooming children on Facebook and MySpace. With Senator Portman, | have led passage of the only successful
revision so far to Section 230 to Stop Enabling Sex Traffickers Act known as SESTA.

Senator Blumenthal: (17:52 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JWOTcicE7plcé6sqoN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyzZemhawOyRYIEWIPZ5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=1072.27))

And chairman Graham and | have authored the only bill to reform Section 230 that has actually moved out of the committee.
The EARN IT Act passed this committee unanimously. Change is going to come, no question. Change is on the way and | intend
to bring aggressive and targeted reform to Section 230. But | am not, nor should we be on this committee interested in being a
member of the speech police. There are real harms and real victims here. And in some ways, this hearing is a betrayal of those
real harms and the real victims of them. Those harms have been caused by big tech because you have failed your
responsibility as have others in this industry. | want to see real reform that will enable these abuses to be reformed because
your platforms have embraced abuse and weaponized child predators, violent white supremacists and human traffickers.

Senator Blumenthal: (19:07 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_8alBIWOTcicE7plcéSqbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=1147.84))

And I've heard heart wrenching stories from victims. You've set back civil rights protections for Muslim Americans who live in
fear of armed militias organized by private online groups. You have setback consumers and competition making that kind of
antitrust action very, very important. The American public deserves and demands real reform and accountability, national
consumer privacy rules, antitrust principles that curb predatory power and reforms the Section 230 that stops shutting the
courthouse door to victims. | look forward to an opportunity for real change, and I think you can meet this moment by put in
your power and your money on the right side of history. Thanks Mr. Chairman.

Mr. Graham: (20:10 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7plcé3qgbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23

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BSo7loadFrom=PastedDeeplink&ts=1210.88))

Well, thank you, A lot to unpack there. Senator Blumenthal, it’s been great to work with. I'll continue to work with you. If we
keep control of the committee, Senator Grassley would be the chairman next year. And | would encourage him to have the
hearings that Senator Blumenthal referenced. That this is a ongoing conversation to get it right to the extent that we can get it
right. Mr. Dorsey from Twitter, are you with us, Mr. Dorsey?

Mr. Dorsey: (20:37 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8.JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7ioadFrom=PastedDeeplink&ts31237.89))

lam. Can you hear me?

Mr. Graham: (20:40 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_S8ai8JwOTcicE7picé3q DNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIELIPZ5¢NzdAbUJvqgAM23
BSo7loadFrom=PastedDeeplink&ts=1240.51))

Thank you. The floor is yours.

Mr. Dorsey: (20:43 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBIWOTcicE7picé3qbNSYSIN2ZEXxkO_EVTEes 7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo?7loadFrom=PastedDeeplink&ts=1243,51))

Thank you to the members of the judiciary committee for the opportunity to speak with the American people about Twitter and
your concerns around censorship and suppression of a specific news article and generally what we saw in the 2020 US
elections conversation. We were called here today because of an enforcement decision we made against the New York Post
based on a policy we created in 2018 to prevent Twitter from being used to spread hacked materials. This resulted in us
blocking people from sharing a New York Post article publicly or privately. We made a quick interpretation using no other
evidence that the materials in the article were obtained through hacking. And according to our policy. we blocked them from
being spread. Upon further consideration, we admitted this action was wrong and corrected it within 24 hours. We informed
the New York Post of our error and policy update and how to unlock their account by deleting the original violating tweet which
freed them to tweet the exact same content and news article again.

Mr, Dorsey: (21:47 (https://www.rev.com/transcript-
editor/shared/qe7kc1_8al8IWOTcicE7plcéSqbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZS5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=1307.34))}

They chose not to, instead insisting we reverse our enforcement action. We did not have a practice around retroactively
overturning prior enforcements, This incident demonstrated that we needed one. And so we created one we believe is fair and
appropriate. | hope this illustrates the rationale behind our actions and demonstrates our ability to take feedback, admit
mistakes, and make changes all transparently to the public. We acknowledge there are still concerns around how do we
moderate content and specifically our use of Section 230. Three weeks ago we proposed three solutions to address the
concerns raised and they all focus on services that decide to moderate or remove content. It could be expansions to Section
230, new legislative frameworks or a commitment to industry-wide self-regulation best practices requiring; one, moderation
process and practices to be published. Two, a straight forward process to appeal decisions and three. best efforts around
algorithmic choice or suggestions to address the concerns we all have going forward.

Mr. Dorsey: (22:57 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_Bal8 JWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=1377,.56))

And they're all achievable in short order. It’s critical as we consider these solutions, we optimize for new startups and
independent developers. Doing so ensures a level playing field that increases the probability of competing ideas to help solve
problems going forward. We mustn't entrench the largest companies any further. Finally, before | close, | wanted to share some
reflections on what we saw during the US presidential election. We focused on addressing attempts to undermine civic
integrity. providing informative context and product changes to encourage greater conversation.

Mr. Dorsey: (23:35 {https://www.rev.com/transcript-

editor/shared/qe7kc1_8al8.JWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
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BSo?loadFrom=PastedDeeplink&ts=1415.62))

We updated our civic integrity policy to address misleading or disputed information that undermines confidence in the election,
causes voter intimidation or suppression or confusion about how to vote or misrepresents affiliation or election outcomes.
More than a year ago, the public asked us to offer additional context to help make potentially misleading information more
apparent. We did exactly that. applying labels to over 300,000 tweets from October 27th to November 11th, which represented
about 2.2% of all US election related tweets. We also changed how our product works in order to help increase context and
encourage more thoughtful consideration before tweets are shared broadly. We're continuing to assess the impact of these
product changes to inform our longterm roadmap, Thank you for the time and look forward to a productive discussion focused
on solutions.

Mr. Graham: (24:34 (https://www.rev.com/transcript-
editor/shared/qe7Kci_8al8JWOTcicE7plcé5sqbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIELMPZSrNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=1474.45))

Thank you, Mr. Dorsey. Mr. Zuckerberg.

Mr. Zuckerberg: (24:38 (https://www.rev.com/transcript-
editor/shared/qe7Kc1l_8alBJWOTcicE7pilcé6sqbN5Y59N2Z7EXxkO_EVTEes7mHP_NkJpyZemhawOyRYIELMPZSrNzdAbUIvqAM23
8So7loadFrom=PastedDeeplink&ts=1478.81))

Thank you Chairman Graham, ranking member Blumenthal and members of the committee. At last year’s hearing. or last
months hearing and | spoke about the role internet platforms play in supporting democracy, keeping people safe and upholding
fundamental values like free expression. People have deeply held beliefs about these issues and can reach very different
conclusions about the right balance. We try to do what's best for our community and the world, acknowledging that there are
difficult trade-offs. | believe that some of these trade-offs and decisions would be better made through a democratic process
and | look forward to discussing that today. But first | want to update you on our efforts during the election. At Facebook, we
took our responsibility to protect the integrity of this selection very seriously. In 2016, we began to face new kinds of threats
and after years of preparation. we were ready to defend against them.

Mr. Zuckerberg: (25:31 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIWOTcicE7picé63qoN5SYSIN2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZS¢NzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=1531.67)}

We built sophisticated systems to protect against election interference that combine artificial intelligence. significant human
review and partnerships with the intelligence community, law enforcement and other tech platforms. We've taken down more
than 100 networks of bad actors who were trying to coordinate and interfere globally. We established a network of independent
fact checkers that covers more than 60 languages. We made political advertising more transparent on Facebook than
anywhere else including TV, radio, and email. And we introduced new policies to combat voter suppression and misinformation.
Still, the pandemic created new challenges. how to handle misinformation about COVID and voting by mail, how to prepare
people for the reality that results would take time and how to handle if someone prematurely declared victory or refused to
accept the results. So in September, we updated our policies again, to reflect these realities of voting in 2020, and make sure
that we were taking precautions given these unique circumstances.

Mr. Zuckerberg: (26:33 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8IWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvqgAM23
BSo7loadFrom=PastedDeeplink&ts=1593.67)}

We worked with the local election officials te remove false claims about polling conditions that might lead to voter suppression.
We partnered with Reuters and the National Election Pool to provide retiable information about results, We attached voting
information to posts by candidates on both sides and additional contexts to posts trying to de-legitimized the outcome. We
locked down new political ads in the week before the election to prevent misleading claims from spreading when they couldn't
be rebutted. We strengthened our enforcement against malicious and conspiracy networks like QAnon to prevent them from
using our platforms to organize violence or civil unrest. Altogether, | believe this was the largest election integrity effort by any
private company in recent times. This is what people expect of us. And I'm glad that from what we've seen so far, our systems
performed well. But election interference remains an ongoing threat that will never fully be solved so we continue to improve

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Mr. Zuckerberg: (27:32 (https://www.rev.com/transcript-
editor/shared/ge7Kci_8al8IJWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkIpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23
BSo?loadFrom=PastedDeeplink&ts=1652.48))

But our integrity work is really only half the story. We also ran an unprecedented civic engagement program to encourage
people to take part in our democracy. We ran the largest voter information campaign in history. 140 million people visited our
voting information center, including more than 33 million on election day alone. We estimate that we helped more than 4.5
million people register to vote and helped States recruit 100,000 poll workers. This was done in a transparent and nonpartisan
way as part of our ongeing commitment to supporting the civic process. And on top of these efforts by Facebook, my wife
Priscilla and | personally donated $400 million to support election officials around the country and making sure that they had
the infrastructure they needed to enable everyone ta vote safely during this pandemic. In my last testimony, | said that people
would judge us by our performance during this election.

Mr. Zuckerberg: (28:32 (https://www.rev.com/transcript-
editor/shared/qe7kc1_8al8JWOTcicE/plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhaw0yRYlEUIPZ5rNzdAbUIJvqAM23
BSo?loadFrom=PastedDeeplink&ts=1712.37))

Now, | believe that the full story is not only haw we handle bad behavior on our platforms, but also how we encourage civic
engagement more broadly. I'm proud of the work we've done to support our democracy and | look forward to discussing this. |
also welcome the opportunity to discuss internet regulation, | believe we are welt overdue to update the rules for the internet
around content, elections, privacy, and data portability. There are important questions here, including who should be
responsible for what people say online. For any system to work, | believe there needs to be a transparent process that people
feel they can trust. And this will be difficult, especially since our country is so divided, but | believe it's the only way to address
these issues for the longterm. The challenges that we face are deeper than any one platform. They're about how we want to
balance basic social equities that we all care about like free expression, public safety and privacy. This is why | believe we
would benefit from clearer guidance from elected officials and | look forward to discussing this today.

Mr. Graham: (29:37 (https://www.rev.com/transcript-
editor/shared/qe7Kci_Sal8JwOTcicE7pilcé3qbNSy¥59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIELMPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=1777.77))

Well, thank you both. We'll have one round and seven minutes. But I'll, as always, try to be a little bit liberal with the time.
because this is a very important topic. So let's just get right into it. Mr. Dorsey, you can go first and Mr, Zuckerberg. When you
heard Senator Blumenthal’s opening statement and mine, what did you get from it?

Mr. Dorsey: (30:04 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8a!BIWOTcicE7plcé63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkIpyZemhawOyRYlIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=1804,37))

Well, | think you pointed out that we are facing something that feels impossible, We are required to help increase the health of
the public conversation while at the same time, ensuring that as many people as possible can participate. And In order to do
so, we need to make policies so that people feel safe and they feel free to express themselves. To minimize threats of abuse, of
harassment, of misleading information, of organized campaigns to artificially amplify or influence a particular conversation.
And that policy creation, that enforcement is challenging, but also it is more or less opaque to the public. And that's where |
think we have a gap. We have transparency around our policies.

Mr. Dorsey: (31:01 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8OWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7MHP_NkJpyZemhnawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=1861,4)}

We do not have transparency around how we operate content moderation, the rationale behind it, the reasoning. And as we
look forward, we have more and more of our decisions, of our operations, moving to algorithms, which have a difficult time
explaining why they make decisions. bringing transparency around those decisions. And that is why we believe that we should
have more choice in how these algorithms are applied to our content, whether we use them at all so we can turn them on or
off and have clarity around the outcomes that they are projecting and how they affect our experience.

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Mr. Graham: (31:46 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_Bal8IWOTcicE7plc63qbN5Y59N2ZEXxkO_. EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvq4M23
BSo7loadFrom=PastedDeeplink&ts=1906,01}}

Thank you. Mr, Zuckerberg, very quickly please, What did you hear?

Mr. Zuckerberg: (31:52 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7pilcd3qhN5Y59N2ZEXxkO_EVT Ees7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUQvqA4M23
BSo7loadFrom=PastedDeeplink&ts=1912.12))

Senator, | heard that there are issues around content moderation, as well as other areas. And frankly, i'm optimistic from the
statements that we may be able to move forward and hopefully update some of the rules for the internet around these areas.
I've been encouraging and hoping that we would do this for a couple of years. And fram your opening statements, it sounds
like there may b@ now enough common ground on views that real progress can be made here.

Mr. Graham: (32:23 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ BalBIWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVT Ees?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=1943,2))

So from my point of view, the question for us is when it comes time to flag content as being reliable or not reliable, do either
one of you believe that the government should do that? Is that a solution where the government sets a regulatory scheme that
talks about what should be up and what should be down?

Mr, Dorsey: (32:47 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_BalBJWOTcicE7pic63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUSvqAM23
BSo?7loadFrom=PastedDeeplink&ts=1967.96)}

I} don't believe so. | think that would be very challenging.

Mr. Graham: (32:51 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUSvqAM23
BSo?loadFrom=PastedDeeplink&ts=1971.42))

Okay. Do you agree with that Mr, Zuckerberg?

Mr. Zuckerberg: (32:54 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7pic63qbN5Y59N2ZEXxkO_EVTEes 7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo?7loadFrom=PastedDeeplink&ts=1974.95))

Senator, for certain types of illegal content. | think it may be appropriate for there to be clear rules around that. But | would side
of clear harms, including things like child exploitation and areas like that. Terrorism, | would agree with your sentiment that,
that’s not something that government should be deciding on a piece of content by piece of content basis.

Mr. Graham: (33:22 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7plcé3qbNS5Y59N2ZEXxkO_EVTEes7mHP_NkiJpyZemhawO0yRYIEUIPZ5rNzdAbUIvqAM25
BSo7?loadFrom=PastedDeeplink&ts=2002.64))

So if we take the government out of the picture, at least, and not in criminal areas, should we leave it up to the industry to
come up with best business practices in terms of how to moderate content?

Mr. Dorsey: (33:39 (https://www.rev.com/transcript-
editor/shared/qe7Kcl_Sal8IWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=2019.77))

I think we need to align around the problem that we're trying to solve. And there are many solutions to solving those problems,
but | think we also have to focus our efforts on what is going to have the greatest impact. And we believe that the greatest
impact is going to be found in how we deal with algorithms, how we use those algorithms, because they are responsible for
showing us what we see or what we don't see and there needs to be more choice in their use.

Mr. Graham: (34:08 (https://www.rev.com/transcript-
editor/shared/qe7Kcl_SalBJWOTcicE 7pilcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23

https://www.rev,com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-nevember-17 9/82
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BSo7loadFrom=PastecDeeplink&ts=2048.94)}

Do you agree with that, Mr. Zuckerberg?

Mr. Zuckerberg: (34:15 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_8al8 JWOTcicE7plcé63qbNSY59N2ZEXxkO_EVTEes?7mHP_NkiJpyZemhawOyRYIEUIPZ5rNzdAbUJyvqAM23
BSo?loadFrom=PastedDeeplink&ts=2055.85))}

Senator, | think that there is a role for regulation in the process, even if not defining on a piece of content by piece of content
basis. And one of the areas that I've advocated for is regulation around transparency. That goes beyond just about what the
policies are and what the process is, but also goes towards the results. As an example of this. every quarter, Facebook releases
a Community Standards Enforcement Report. It’s basically a transparency report that breaks down each category of potentially
harmful content that we track, ranging from terrorism to child exploitation content to incitement of violence-

Mr. Zuckerberg: (35:03 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
8So7loadFrom=PastedDeeplink&ts=2103.301)}

. To child exploitation content, to incitement of violence, to pornography [crosstalk 00:35:05] violations.

Mr. Graham: (35:07 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_Sal8 JWOTcicE7plcé63qbNSY59N2Z7EXxkO_EVTEes?7mHP_NkopyzemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=2107.44))

Yes. If | may, | don’t mean to interrupt, but who sets those community standards? How are they set by the company?

Mr. Zuckerberg: (35:14 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8al8IWOTcicE7plceé3qbNSY59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawO0yRYIEU1PZ5rNzdAbUJvqgA4M23
BSo?loadFrom=PastedDeeplink&ts=2714.4))

Senator, we have a policy team that consults with a number of different stakeholders and outside groups to make sure that
we're getting feedback from broad swaths of [crosstalk 00:00:24).

Mr. Graham: (35:26 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qoNSY59N2ZEXxkO_EVTEes7mHP _NkJpyZemhawOyRYIEUIPZSrNzdADUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=2126.87))

Is that publicly known?

Mr. Zuckerberg: (35:30 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYlEUIPZSrNzdAbUJvg4M23
BSo?loadFrom=PastedDeeplink&ts=2130,92))

Senator, | believe so. Our head of content policy has testified publicly multiple times.

Mr. Graham: (35:38 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8alBIWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=2738.72))}

Okay. So when it comes to fact checking, would you give us a list of the people you use to fact check?

Mr. Zuckerberg: (35:46 (https://www.rev.com/transcript-
aditor/shared/qe7kc1_8al8IWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqgA4M23
BSo7loadFrom=PastedDeeplink&ts=27146,58))

Senator, yes. We work with a number of independent organizations that are accredited by the Poynter Institute and they
include Reuters, The Associated Press, Agence-France Presse [inaudible 00:36:00] United States, USA Today, factcheck.org.
Science Feedback, PolitiFact. Check Your Fact, lead stories and the dispatch in the United States.

Mr, Graham: (36:11 (https://www,rev.com/transcript-

editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqAM23

BSo?loadFrom=PastedDeeplink&ts=2171.72))}

Okay. | think it’s important for the public to know who sets community standards, how they're set, who does the fact checking,

who you rely upon to do that. | think that would go a long way to people having a better understanding of the decisions you
https://www.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 10/82
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make. Mr. Zuckerberg, do you believe your product can be addictive?

Mr. Zuckerberg: (36:36 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIWOTcicE7picé3qbNSYSON2ZEXxkO_EVTEes7mHP_NkoIpyZemhawO0yRYIEU1PZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=2196.38))

Senator, we certainly do not design the product in that way. We designed the product to be as useful and meaningful as
possible. We take steps.

Mr. Graham: (36:45 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8al8IWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkIpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=2205.08))

That's not my question. My question is that there seems to be an ample body of growing medical evidence that social media
sites have an addictive nature to them. Do you agree with that?

Mr. Zuckerberg: (36:58 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8IWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=2218.96))

Senator, | don’t think the research has been conclusive. but it is an area that we care about and study. We certainly do not want
our products to be addictive. We want people to use ther because theyre meaningful and we take steps to make sure that this
is the case. So for example, we don’t give the team that’s running newsfeed a goal around how much time people spend on our
products, which goes counter to a lot of the memes and misinformation out there around how we operate. But my goal is to
help people connect and find content and interactions that are going to be meaningful to them on our service. Our view is that
if that's what we deliver over the longterm and people find the services useful, then they'll use them more. But | don’t think
that companies should be optimizing to just encourage people to spend as much time as possible on them.

Mr. Graham: (37:50 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqgAM23
BSo?loadFrom=PastedDeeplink&ts=2270.87)}

Well. time’s about up. Have you seen the movie Social Dilemma?

Mr. Zuckerberg: (37:56 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_Bal8 JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUJvqAM23
BSo?7loadFrom=PastedDeeplink&ts=2276.24))

Senator. I'm familiar with it.

Mr. Graham: (37:57 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ BalBJWOTcicE7picé3qgbN5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=2277,98))

Okay. Have you seen it. Mr. Dorsey?

Mr. Dorsey: (38:05 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pilc63qgbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=2285.44)}

No, | have not.

Mr. Graham: (38:06 (https://www.rev.com/transcript-
editor/shared/qe7Kcl_Sal8IJWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvgAM23
BSo?loadFrom=PastedDeeplink&ts=2286.81}}

| would encourage both of you to see it. So here’s what | think we're going to do on the committee over time. My hope is to ask
the question more‘directly, are these social media sites addictive? Do they have a public health component that needs to be
addressed? For years we thought tobacco was a great thing. We found out tobacco was not such a great thing, The medical
science around these websites are becoming very concerning to me, particularly among children and that you can manipulate
how many times you watch and you can set these media sites up so that people will constantly interact. So to both of you, |

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appreciate coming for the committee. We've got a long way to go. | don’t think the government needs to requlate what we think
or what we say, but we've got to up our game here. I'll end with this last question. Do both of you support change to 230.
reform of Section 2307

Mr. Zuckerberg: (39:10 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZS5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=2350.74))

Senator, | do.

Mr. Graham: (39:12 (https://www.rev.com/transcript-
editor/shared/qe7Kcei_Sal8JWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=2352.43))

Mr. Dorsey?

Mr. Dorsey: (39:14 (https://www.rev.com/transcript-

editor/shared/qge7Kc1_8al8jJwOTcicE7 picé3qoNSY59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqgAM23
BSo?loadFrom=PastedDeeplink&ts=2354,36))

Yes.

Mr. Graham: (39:14 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_B8al8JWOTcicE7picé3qgbNSY59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUJvqAM23
BSo7laadFrom=PastedDeeplink&ts=2354.99)}

Thank you. Senator Blumenthai.

Senator Blumenthal: (39:19 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8IwOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=2359.21)}

Thanks Mr. Chairman. Let me bring this down to very practical terms. We're in the middle of another election. This election in
Georgia could determine, in fact, which party controls the United States Senate. I'm concerned that both of your companies
are in fact backsliding or retrenching, that you are failing to take action against dangerous disinformation, exactly the same
kind of voter suppression tactics that existed in the last election and that you are, in fact, reducing content modification.
Fighting words and hate speech in the last election could inflame violence and send poll workers into hiding, discourage people
from coming to the palls. We have to expect the same kinds of malign tactics. In fact. they are already visible. I'm going to ask.
Mr, Chairman, that these posts and tweets be entered into the record, if there’s no objection, that are aimed at de-legitimizing
the election in January. My question to you is will you commit to the same kind of robust content modification playbook in this
coming election, including fact-checking, labeling, reducing the spread of misinformation, and other steps, even for politicians
in the runoff elections ahead?

Mr. Zuckerberg: (41:10 (https://www.rev.com/transcript-
editor/shared/qe7Kcel_SalBIwOTcicE7picésqboNSYS9N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=2470.14})

Senator. our policy is to have a similar approach in the upcoming Georgia special elections that we took during the general
election.

Senator Blumenthal: (41:27 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYI!EUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=2481.97))

Mr. Dorsey?

Mr. Dorsey: (41:23 (https://www.rev.com/transcript-

editor/shared/qe7Kce1_8al8 JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIJVqAM23
BSo?loadFrom=PastedDeeplink&ts=2483.49))

Yes, we do. We intend to learn from all of our experience with this election and bring all that learning going forward to make it

https:/Awww.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 12/82
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more robust.

Senator Blumenthal: (41:32 (https://www.rev.cam/transcript-
editor/shared/ge7Kc1_8al8WOTcicE7pic63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIJvqAM23
BSo?loadFrom=PastedDeeplink&ts=2492,85))

During the past election, there was rampant disinformation on social media in Spanish speaking sites, repeating Q Anon
conspiracies and false claims of election rigging. In my view, you need to do better. Will you commit to taking steps to improve
content modification for Spanish speaking communities before the Georgia runoff?

Mr. Zuckerberg: (42:07 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8al8JWOTcicE7plc63qbN5Y59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqgAM23

BSo7loadFrom=PastedDeeplink&ts=2527,7))

Senator, this is something that we are already working on and worked on ahead of the general election. We have multiple fact-

checkers who focus on Spanish as a language. We made sure that we translated our voter information center into Spanish,

which we showed at the top of Facebook and Instagram to everyone who uses those products in Spanish and in the US. Those
. &réa couple of the steps that we've taken. We're certainly committed to focusing on this.

Mr. Dorsey: (42:40 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_Bal8 JWOTcicE7plc6SqbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFram=PastedDeeptink&ts=2560.86))

Yes, we will in partnership with [inaudible 00:42:44] civil rights groups.

Senator Blumenthal: (42:46 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8WOTcicE7plc6SqbNS5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=2566.61))

I'd like to know, and perhaps you could submit to me within one week, what additional steps you're going to take because this
Georgia runoff is underway. As I've indicated, I've seen a backsliding and retrenchment that is very deeply troubling that has
enabled the spread of this disinformation, the restarting of certain algorithms, for example, that promote or amplify
misinformation is very, very troubling. | think | want to know within a week, what additional steps we are taking to enhance the
efforts to stop this kind of amplification and spread. Let me ask about Facebook community standards, which ban language
that quote incites or facilitates serious violence. As you know, on November Sth, Steve Bannon, in a Facebook live video called
for beheadings of Dr. Fauci and FBI Director Wray for not acting more favorably toward President Trump. Twitter banned
Bannon for these remarks. You removed the video, Mr. Zuckerberg. But on Thursday, you reportedly told Facebook employees
that Bannon had not violated enaugh policies that he should be banned from Facebook. My question to you is haw many times
is Steve Bannon allowed the call for the murder of government officials befare Facebook suspends his account?

Mr. Zuckerberg: (44:31 {https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8IWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkIpyZemhawO0yRYIEUIPZSrNzdAbUIJvgAM23
BSo?7loadFrom=PastedDeeplink&ts=2671.14))

Senator, as you say, the content in question did violate our policies and we took it down. Having a content violation does not
automatically mean your account gets taken dawn, and the number of strikes varies depending on the type of offense. So if
people are posting terrorist content or child exploitation content, then the first time that they do it, then we will take down their
account. For other things. it's multiple. I'd be happy to follow up afterwards. We try not to disclose these_

Senator Blumenthal: (45:05 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo?loadFrom=PastedDeeplink&ts=2705))

[crosstalk 00:45:05] his account.

Mr. Zuckerberg: (45:06 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_8al8JWOTcicE7plc63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1 PZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=2706.46))

Sorry. ' didn’t hear that.

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Senator Blumenthal: (45:08 (https://www.rev.com/transcript-
editor/shared/qe7Kci_S8al83WOTcicE7picé3qboN5Y59N2ZEXxkO_EVTEes?7mHP_NkJIpyZemhawOyRYIEUIPZSrNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=2708.3))

Will you commit to taking down that account, Steve Bannon’s account?

Mr. Zuckerberg: (45:13 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8al8IWOTcicE7picé3qgbNS5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqgAM23s
BSo?loadFrom=PastedDeeplink&ts=2713.05))

Senator, no. That's not what our policies would suggest that we should do in this case.

Senator Blumenthal: (45:22 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7ple63qboNSY59N2ZEXxkO_EVTEes?7MHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUIvqAM23
BSo?7loadFrom=PastedQeeplink&ts=2722.09))

According to the internal records that are on record now, leaked by NBC news, Facebook has removed fact checks and forgiven
infractions for conservative pages and pundits such as Breitbart, Donald Trump. Jr.. Eric Trump and gateway pundit based ona
fear of accusations of bias. Has Facebook avoided penalizing or fact-checking conservative pages that had violated its policies
based on concerns of political bias and allegations of bias?

Mr. Zuckerberg: (46:03 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_8al8JWOTcicE7pic6é3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZSrNzdAbUJvqAM23
BSo?7loadFrom=PastedDeeplink&ts=2763.72))

Senator, no. We haven't done that. | think that those reports mischaracterize the actions that we take. I'm not aware of any
instance where we have overturned a fact check specifically, and certainty no action like that would be taken for the reasons
that you're saying. What we do sometimes is apply some judgment on whether the repeat offender policies would render too
harsh of a penalty, but that’s different from overturning a specific fact check and is not done for the reasons that you said.

Senator Blumenthal: (46:47 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8al8JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkIpyZemhawOyRvVIEUIPZ5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=2807.13}}

Well, I'm very concerned that, in fact, Facebook seems to have a record of making accommodations and caving to conservative
pressure. The president has tried to use an executive order on Section 230 to, again, bully or brow beat, and exert pressure on
you and others in this industry. They're in effect working the refs and they're winning. Let me ask you about antitrust issues. In
2013 Facebook bought Onavo, which is a virtual private records network that claim to protect users’ privacy. In fact, Onavo's
access to private information about its users provided Facebook with unparalleled ability te track potential competition. | want
to know whether Facebook used data from Onavo when it decided to purchase WhatsApp in 2074.

Mr, Zuckerberg: (47:58 {https://www.rev.com/transcript-
editor/shared/ge7Kc1_Sal8JwOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEU1IPZSrNzdAbUIJvqAM23
BSo?loadFromePastedDeeplink&ts=2878,73))

Senator, | believe that data from Onavo was one of the sources that the team looked at, but | don’t think it would have taken
using Onavo to understand that WhatsApp was a great product. | don’t think that was determinative in my decision to pursue
that.

Senator Blumenthal: (49:18 (https://www.rev.com/transcript-
editor/shared/qe7Kci_8al8JWOTcicE 7pilcé3qbN5Y59N2ZEXxkO_ EVTEes?7mHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUOvgAM23
BSo?loadFrom=PastedDeeplink&ts=2898.64))

Well, in fact, the House Antitrust Report says, “Onave data was used to determine whether WhatsApp was quote. killing
Facebook messenger, end quote.” My time has almost expired, but let me just say finally, that antitrust action by the federal
trade commission is long overdue. | believe that decisive action is necessary, including very likely breaking up Facebook as a
remedy, All options ought to be on the table, including divestment of Instagram and WhatsApp. The FTC ought to impose strict
conditions on how Facebook uses consumer data and competes with rivals because the abuse of competition must end. Mr.

https://www.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 14/82
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Chairman, | ask that three letters from civil rights groups regarding disinformation, hate speech on Twitter, Facebook, and
YouTube, and also a letter from Coalition of Children’s Protection Advocates on the EARN IT Act and child sexual abuse material
on digital platform be entered into the record. Thank you both for being here today.

Mr. Graham: (49:35 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7pilcé3qbN5Y59N2ZEXxxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=2975,28))

Without objection. Senator Cornyn.

Senator Cornyn: (49:39 (https://www.rev.com/transcript~

editor/shared/qe7Kc1_ 8alBIWOTcicE7picé3qbN5Y59N27EXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=2979.05))

Thank you, Mr. Chairman. Well, ('m glad to hear both of our witnesses taday say that Section 230, that they are open to reform,
because think it's fair to say the internet has outgrown Section 230 and while we've made some modifications when it comes
to terrorism and when it comes to child exploitation, | think there’s more to do, but | think the question is going to be how this
regulation is going te come to pass. | know there's some. including on this committee, who suggested maybe we ought to
create a private right of action so that individuals can sue over claims of violated rights on your platforms. | think that’s one
form of regulation. It's called regulation by litigation, but it’s certainly not my first choice and it's not optimal. | don’t think it’s
something we ought to be embracing in the first instance. But | do think it's critical that each of you and your counterparts
work with us to try te come up with something that will address the concerns. The basic concern | have is it’s hard to know
exactly how to classify your business model.

Senator Cornyn: (51:05 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastecdDeeplink&ts=3065,23))

We have a provision in the Bill of Rights protecting freedom of the press, but yet. while we would never let the government
regulate what the press writes or doesn’t write, essentially we are allowing private cormpanies, which are now de facto public
forums, to regulate that speech. I'm no more comfortable delegating those decisions to you than | am delegating to you my
vote in the last or upcoming elections. Louis Brandeis famously said that the solution for bad speech is not less speech, it’s
more speech. It seems to me like the practices that you are engaging in to tag. remove, and otherwise censor speech on your
platforms violates that principle. I'd like to know why that shouldn't be a better approach by allowing more speech rather than
censoring what is perceived as bad speech. Then as | think I've discussed with you, Mr. Zuckerberg, | think we're all sort of
struggling to come up with what the appropriate analogy here is to your business model. We know, as newspapers have
become less profitable and many of them gone out of business, there’s been consolidation in the news media.

Senator Cornyn: (52:33 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8IWOTcicE7pilcé3qboN5V59N2ZEXxkO_EVTEes7mHP_Nk3pyZemhawO0yRYIEUIPZ5rNzdAbUQvqAM23
BSo7loadFrom=PastedDeeplink&ts=3153.58)}

There is a proliferation of cable TV shows and people being able to get information through a variety of sources, but there's no
Walter Cronkite or the big TV networks with the trusted anchor person who people have confidence in that they will shoot with
them straight. So | know it's a very difficult thing to manage, but | would just encourage both of you not to wait for the
lawsuits. We saw what happened to Microsoft. | think Bill Gates said that was one of his biggest mistakes failing to engage with
some of the antitrust concerns when it came to Microsoft. He learned that the hard way. | think there is a better way for the
American people, and that's, if we work on this together. Mr. Zuckerberg, | believe that that Facebook publishes, on a quarterly
basis, a report of its actions in this area. Is that correct?

Mr. Zuckerberg: (53:39 (https://www.rev.com/transcript-
éditor/shared/qe7Kc1_BalB3WOTcicE7picé3qbN5Y59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=3219.72))

Senator, that's correct.

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Senator Cornyn: (53:41 (https://www.rev.com/transcript-
editor/shared/qe7Kcl_8al8JWOTcicE7pleé3qbNSY59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=3221.36))

And could you describe that for us and what motivated you to undertake that sort of transparency?

Mr. Zuckerberg: (53:48 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes?7MHP_NkJpyZemhawDOyRYIEUIPZ5rNzdAbUOvqAM23
BSo?loadFrom=PastedDeeplink&ts=3228.98)}

Yes. Senator, | believe that in order for people to trust that we're doing a good job, they have to be able to see the results. We
have to be able to break down content in a kind of category by category basis, across all of the different categories of harm,
whether it's terrorist content or child exploitation or incitement of violence or pornography or intellectual property violations,
how much of the violating content is on our platforms and how effective our systems are at removing it and what we hold
ourselves accountable towards is getting as high a percent of this harmful content down and addressing it before real people
have to experience it and report it to us themselves. So in categories where we do quite well, for example, in fighting against
terrorist content, our Al systems and counter-terrorism teams are able to remove 78 or 99% of that harmful content before
anyone has to report it to us.

Mr. Zuckerberg: (54:53 (https://www.rev.com/transcript-
editor/shared/qe7Kci_8al8IWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZSrNzdAbUIvqgAM23
BSo7ioadFrom=PastedDeeplink&ts=3293.71))

In other categories, it's more challenging and we're still making more progress. But I think that as part of a regulatory
framework here, it would be good if every company had to issue a transparency report outlining what they're seeing on their
platforms and the results in effectiveness of their content moderation systems so that way the people who are responsible for
holding all of us accountable, whether it’s journalists, Congress, academics could have an apples to apples comparison about
how all the different companies are doing and potentially is part of a law require that companies even maintain a certain level
of effectiveness.

Senator Cornyn: (55:37 (https://www.rev.com/transcript-
editor/shared/gqe7Kci_SalBJWOTcicE7plc63qbNSY59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=3337.5))

Thank you. Mr. Dorsey, when Twitter decided to take down the story, the New York Post story on Hunter Biden's laptop, did you
do that under your terms of service or did you do it under some other claim of authority?

Mr. Dorsey: (55:55 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8IWOTcicE7pilcé3qbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUQvqAM23
BSo7loadFrom=PastedDeeplink&ts=33555.09))

We did an under our terms of service, which as you know, everyone agrees to when they sign up for Twitter. This was a policy
around distribution of hacked materials. We did not want Twitter to be a distribution point for hacked materials.

Senator Cornyn: (56:09 (https://www.rev.com/transcript-
editor/shared/gqe7Kel_8alBIWOTcicE7plcé3qbNSYSON2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=3369.02))

Well, you do realize that by taking down that story, you probably gave it more prominence and more visibility than it ever would
have gotten had you left it alone.

Mr. Dorsey: (56:21 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7plcé3qbN5YS9N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUGvqAM23
BSo7loadFrom=PastedDeeplink&ts=3381,75))

We realize that and we recognize it as a mistake that we made both in terms of the intention of the policy and also the
enforcement action of not allowing peaple to share it publicly or privately, which is why we corrected it within 24 hours.

https://www.rev.convblog/transcripts/mark-zuckerberg-|ack-dorsey-testimony-transcript-senate-tech-hearing-november-17 1882
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Senator Cornyn: (56:41 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7pilcé3qbNSY59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo?loadFrom=PastedNeeplink&ts=3401.53))

And Mr. Dorsey, why isn’t Justice Brandeis’ formulation in Whitney versus California. Why shouldn't that apply to the internet
platforms like yours? In other words, the cure for bad speech is not censorship, it’s more speech. Why wouldn't that principle
apply to Twitter?

Mr. Dorsey: (57:10 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_SalBWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=3430.09))

| think it does apply. All of our policies are focused on encouraging more speech. What we saw and what the market told us was
that people would not put up with abuse, harassment, and misleading information that would cause offline harm, and they
would leave our service because of it. So our intention is to create clear policy, clear enforcement that enables people to fee
that they can express themselves on our service and ultimately trust it.

Senator Cornyn: (57:39 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZS5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=3459.47})

So it was a business decision,

Mr. Dorsey: (57:42 (https://www.rev.com/transcript-

editor/shared/qe7Kci_8alBJWOTcicE7pilcé3qbN5Y59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=3462.55)}

It was a business decision.

Senator Cornyn: (57:43 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8al8JWOTcicE7pilcé3qbN5Y59N2Z7EXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23
BSo?loadFrom=PastedDeeplink&ts=3443.27))

Thank you.

Mr. Graham: (57:46 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al89WOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=3446.46)}

Senator Feinstein.

Senator Feinstein: (57:52 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_BalBJWOTcicE7pilcéSqbNSY59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5SrNzdAbUIvgAM23
BSo?loadFrom=PastedDeeplink&ts=3472.87)}

Thanks very much, Mr. Chairman. Mr. Dorsey, in recent hearings before the Senate Commerce Committee. you said, “| think that
Twitter has a policy against misinformation relating to civic integrity.” President Trump and his allies have tweeted hundreds of
false claims about the 2020 election. Trump has falsely claimed victory and alleged widespread voter fraud. So here's the
question. Does misinformation about the results of an election and voter fraud relate te civic integrity? Why or why not?

Mr. Dorsey: (58:35 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JWOTcicE7plcé63qbN5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=3515.43)}

Yes, it does. We label those tweets when the election has not been called yet, or multiple sources have called it differently.

Senator Feinstein: (58:46 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawO0yRYIEU1PZ5rNzdAbUJvgAM23
BSo?7loadFrom=PastedDeeplink&ts=3526.75))

I'm sorry. | didn’t understand that. Did you say you have been able to tweet?

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Mr. Dorsey: (58:52 (https://www.rev.com/transeript-

editor/shared/qe7Kc1_8al8 JWOTcicE7plc63qbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZS5rNzdAbUIJvqAM2
BSo?loadFrom=PastedDeeplink&ts=3532.53))

No. We have labeled the tweets that would indicate a different result in the election called by multiple sources.

Senator Feinstein: (59:04 (https://www.rev.com/transcript-
editor/shared/qe7Kci_8al8JWOTcicE7plc63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=3541.48))

I see. At what point was that done?

Mr. Dorsey: (59:05 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBJWOTcicE7plcé3qoNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=3545.93})

Throughout the period, October 71th to up until today.

Senator Feinstein: (59:10 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=3550.56))

So when the tweet initially came in, how jong was it before you quote updated it?

Mr. Dorsey: (59:20 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_8al8 JWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=3560.62})

We didn’t update it. We put a label on it, pointing to the broader conversation. Our goal is to connect people with more
information around what's happening with the election. That occurred anywhere from five minutes to 30 minutes, but as
quickly as we can.

Senator Feinstein: (59:42 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al@JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUSvqAM23
BSo?loadFrom=PastedDeeplink&ts=3582.23))}

Thank you, is 30 minutes the maximum time?

Mr. Dorsey: (59:46 (https://www-.rev.com/transcript-
editor/shared/qe7Kci_S8al8JWOTcicE7pic63qoN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZS5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=3584.49))

I don't know. We can get you that information [crosstalk 00:59:48].

Senator Feinstein: (59:48 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8JWOTcicE7picé63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvgAM23
BSo?loadFrom=PastedDeeplink&ts=3588,35))

Would you? I'm interested in this. Does misinformation about the results of an election and voter fraud relate to civic integrity?
Why or why not?

Mr. Dorsey: (01:00:04 (https: //www.rev.com/transeript-

editor/shared/qe7Kc1_8al8IWOTcicE 7pic63qbN5Y59N2ZEXxkO_ EVTEes 7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=3604.65))

Yes, it does. We also label those tweets that would indicate whether fraud was happening. Again, we connect those to larger
conversations on platform. So we want to provide context here. That is our goal, providing more context. providing more
information,

Senator Feinstein: (01:00:23 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8alBIWOTcicE7pic63q bNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUIJvgAM23

BSo7loadFrom=PastedDeeplink&ts=3623.66))

Okay. Now a specific question, and I'm not sure actually what the answer to this should be, but on November 7, president
https:/Awww.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 18/82
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Trump tweeted and | quote, “I won this election by a lot.” Obviously, that's not true. President Trump lost the election. The
warning label that Twitter is applied to the tweet says, and | quote, “Official sources may net have called the race when this
was tweeted.” Do you believe that label goes far enough to prevent the tweet’s harms when the tweet is still visible and not
accurate?

Mr. Dorsey: (01:01:03 (https://www.rev.com/transcript-
editor/shared/qe7Kel_SalBIWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkolpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo7loadFrom=Pasted Deeplink&ts=3463.88))

| do because it’s not just the surface level label. It points to a collection of news articles of information and conversation that
gives you an expansion on what's happening with the election.

Senator Feinstein: (01:01:17 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JWOTcicE7picé3qgbN5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=3677.11))

| guess you see my concerns are that these tweets arouse people. It seems to me that the entity that runs this operation ought
to have an understanding that when there is a major situation, that the tweets can play a unique role in either reassuring or
stirring people up to unacceptable levels. Could you comment on that?

Mr. Dorsey: (01:01:51 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7picé63qbN5Y59N2ZEXxkG_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqgAM23
BSo7loadFrom=PastedDeeplink&ts=3711.72)}

Well, | agree in [inaudible 00:26:54). | know our policy is focused on misleading information around the election and the civic
process to provide greater context, to provide additive information so that people can make decisions around what's happening
with the election. That is three phases. That's the run-up to the election, that’s Election Day, and also the phase we're in right
now. Post-election. So our policies and enforcement are focused on providing more information and more context to people in
those three phases.

Senator Feinstein: (01:02:27 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JWOTcicE7picésqbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=3747,47))

Well, let me give you a specific. Qn November 7, President Trump tweeted this, “| won this election by a lot.” That's obviously not
true. President Trump lost the election. The warning label that Twitter has applied to the tweet says, and | quote, “Official
sources may not have called the race when this was tweeted.” Now, here's the question. Does that label do enough to prevent
the tweet's harms when the tweet is still visible and is not accurate?

Mr. Dorsey: (01:03:04 (https://www.rev.com/transcript-

editor/shared/qe7Kcl_ 8alBJWOTcicE7picéSqbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyzZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=3784.24))

| believe it's really important that we show people a broader context, and that is the intention of the label. It is not just text
below a tweet. Itis a link to connect toe a much larger conversation and news articles across the spectrum.

Senator Feinstein: (01:03:22 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ Bal8 J WOTcicE7plcéSqbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=3802.32)}

Well. give me an example of what would have to happen before the situation would warrant a stronger response?

Mr. Dorsey: (01:03:33 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ SalBIWOTcicE7pic6SqbNSYS9N2ZEXxkO_ EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=3813.16))

Well. we did have stranger responses during Election Day and the week after where we did put an interstitial, meaning that you
had to click through to see the content of the tweet and it limited spread for anything that went against our civic integrity
policy, including premature calls to election results.

bttps:/Avww.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 1m82
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Senator Feinstein: (01:03:58 {https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkIpyZemhawOyRYIEUIPZSrNzdAbU JvqAM23
BSo?loadFrom=PastedDeeplink&ts=3838.42)}

Well, let me give you one mare. On November 12, President Trump tweeted a conspiracy theory that 2,7 mitlion votes for him
were deleted. The warning label that Twitter has applied to that tweet said, “This claim about election fraud is disputed” Now
here’s the question, | think it is a tough issue. Do you believe this label does enough to prevent the tweet’s harms when the
tweet is still visible? It's a highly emotional situation, but the tweet has no factual basis.

Mr. Dorsey: (01:04:37 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8IWOTcicE7plc63gbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=3877.82))

But the tweet has a link to more information, to more conversation and more context that informs the situation what's
happening. So | do believe that connecting pecple to the larger conversation. giving them more context is the right path here.

Senator Feinstein: (01:04:57 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7pilcé63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdABUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=3897.03))

But they have to move to solicit that contact, right? It’s not contained as an addendum to the original tweet.

Mr. Dorsey: (01:05:06 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8JWOTcicE7picésqbN5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawO0yRYIEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=3906.81))

The label is an addendum to the original tweet. If you tap on it or click it. you will go to an expansion of the information.

Senator Feinstein: (01:05:14 (https://www.rev.com/transcript-
editor/shared/ge7Ke1_BalBIWOTcicE7plcé3qbN5Y59N2ZEXxkG_EVTEes7mMHP._NkopyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=3914.29))

l see, Can | ask a question to Mr. Zuckerberg? Is he..

Mr. Graham: (01:05:22 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7plc63qbN5Y59N2ZEXxkO_ EVT Ees#/mHP_NkJpyZemhawOyRYIEWUIPZSrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=5922.57)}

Yes. you may. One more, if that would be okay.

Senator Feinstein: (01:05:26 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_8al8IWOTcicE7pic63qbNSYS9N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo?7loadFrom=PastedDeeplink&ts=3926.11)}

Mr. Zuckerberg, at the recent hearing before the Senate Commerce Committee, you said that Facebook has a “Policy in place
that prevents any candidate.” from “trying to delegitimize the result of the election.” But the hashtags, stealthevote and
voterfraud, garnered more than 300,000 interactions on your platform in the hours after Mr. Trump falsely declared victory. So
here's the question. Do you believe Facebook did enough to prevent Trump's efforts to delegitimize the election result? If so,
why have you reached that conclusion?

Mr. Zuckerberg: (01:06:21 (https://www.rev.com/transcript-
editor/shared/qe7Kel_SalBJWOTcicE7picé3qbNSY5S9N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=3981.87))

Senator, | believe that we've taken some very significant steps in this area, not just the adding additional context to specific
posts and making it so that when people search for different hashtags. we show additional! information, but we also took the
unprecedented step of putting the voter information center at the top of Facebook and Instagram for everyone in the US that
showed them reliable information about the election, including partnering with organizations like Reuters and the National
Election Pool to show them accurate information about the results of the election. So all taken together, | think that we really
went quite far in terms of helping to distribute reliable and accurate information about what was going on during this election.

https://www.rav.com/blog/transcripts/mark-zuckerberg-|ack-dorsey-teslimony-transcript-senate-tech-hearing-november-17 20/82
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Senator Feinstein: (61:07:15 (https://www.rev.com/transcript-
editor/shared/qe?Ke1_8al8JWOTcicE7plco3qbN5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=4035.43))

Okay. Let me give you one more along this line. After President Trump falsely claimed that the election was being stolen. A
group called Stop The Steal was started on Facebook. It grew to more than 300,000 users in less than a day, making it one of
the fastest growing groups, | understand, in Facebook history. You shut the group down, but substantial damage already had
been done. Trump supporters, some of them armed with assault weapons, held Stop The Steal rallies outside election offices.
In Philadelphia, two armed supporters who had traveled from Virginia were arrested on their way to the city’s vote counting
center. Here's the question, and this ts a tough one. What are your concerns about the spread of misinformation? No matter
how innocent it is, or it is not innocent, like Trump's claims about the election that they may incite violence.

Mr. Zuckerberg: (01:08:23 (https://www.rev.com/transcript-
editor/shared/qe?Kc1_Bal8JWOTcicE7pilcoSqoN5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawO0yRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=4103.04))

Senator, I'm very worried about this, especially any misinformation or content that could incite violence. In during sucha
volatile period like this, one of our top priorities is making sure that people don’t use our platform to organize any violence or
civil unrest. That was the basis under which we took down that group. because there were a number of members who were
posting potentially violent or encouraging violent comments that violated our policies, We also have broader policies in place
around trying to slow the spread of misinformation more broadly, even when it’s not going to lead to some kind of violence or
imminent harm. That’s why we've created this independent fact-checking program where we wark with more than 80 partners
around the world te help do fact checking because people in our community have told us they don’t want to see
misinformation, but they also don’t want us to be deciding what is true and false. So we've taken the step of building this
program, which | believe is more sophisticated than what anyone else in our industry has. So I'm very focused on these issues.

Senator Feinstein: (01:09:44 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Sal8JWOTcicE7plcé3qbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdADUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=4184.2))

Well, I'm happy to hear that because I'm really struck by it that people armed with assault weapons as a product of a tweet
could rally outside an election office. | think it’s really a serious issue that needs to be...

Senator Feinstein: (01:10:03 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Sal@JWOTcicE7plcé3qbNS5YS9N2ZEXxkO_EVTEes7mHP_N kJpyZemhawOyRYIEUIPZS5rNzdAbUIvgAM23
BSo7loadFrom=PastecDeeplink&ts=4203,31))

It's really a serious issue that needs to be considered and there need to be. once you signal that and people respond to it, it has
to be, in some way, abated or some way pointed out or restructured on the internet itself. Now, can you respond to that-

Speaker 1: (01:10:27 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8al8JWOTcicE7plc63qbNSY59N2ZEXxkO_EVTEes7mMHP_NkIpyZemhawOyRVIEUIPZSrN2dAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=4227.75))

Senator Feinstein, | hate to. We're almost doubled the time. Could we-

Senator Feinstein: (01:10:32 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_BalBJWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mH P_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=4232.84))

I'm sorry.

Speaker 1: (01:10:33 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8alBJWOTcicE7plcé3qbNSYSON2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUOvqAM23
BSo7loadFrom=PastedDeeplink&ts=4233.42))

That's all right. We're going to have a vote come up | and apologize. Senator Lee.

https://www.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-teslimony-transcript-senate-tech-hearing-november-17 21/82
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Mr. Lee: (01:70:38 (https://www.rev.com/transcript-
editor/shared/gqe7kc1_Gal8IWOTcicE7picé63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=4238.74))

Thank you, Mr. Chairman. First, I'd like to note that as far as the president's arguments about the election and how they turned
out, inciting violence, I'd like to paint out here that the only viclence that I'm aware of has occurred in connection with Antifa,
Antifa’s response to pro-Trump peaceful rally attenders. So | don't quite understand that. Maybe we will have a chance to dwell
on that more in a minute. but first | want to talk a little bit about federal! law, existing federal law, and what it requires. Section
five of the federal trade commission act prohibits businesses from engaging in unfair or deceptive trade practices. Compliance
with this particular law requires that there be some consistency between what a company represents as their practices and
their products and what they actually are. In other words, you can't sell one thing and provide another under the guise of
providing something different than what's being sold. Both Twitter and Facebook represent and have represented for years to
their users, their customers, that they take a neutral approach to election content moderation. However, as we've heard today
and as we will continue to hear today and into the foreseeable future, there are instances in which your platforms are taking a
very distinctively partisan approach and not a neutral one to election related content moderation. For example, just days before
the election. Twitter suspended the account of Mark Margan. Now Mark Margan is the commissioner of the US Customs and
Border Protection Office, and they suspended Commissioner Morgan's Twitter account specifically for a tweet celebrating the
access of the US southern border wall.

Mr. Lee: (01:12:42 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbNSYS9N2ZEXxkO_EVTEes?mMHP_NkJpyZemhawOyRYIEUIPZ5rN2zdAbUJvgA4M23
BSo?loadFrom=PastedDeeplink&ts=4362.11))

Apparently, Commissioner Morgan's tweet, his camments about the border wall, violated Twitter platform rules governing what
it calls atrial conduct. Now i've read the offending post and the offending post from Commissioner Mark Morgan reads as
follows. @ CVP and the Army Corps of engineers, “continue to build a new wall every day. Every mile helps us stop gang
members, murderers, sexual predators, and drugs from entering our country. It’s a fact walls work.” Mr, Dorsey. can you tell me
in one sentence, what exactly is hateful about Commissioner Morgan's tweet that | just read?

Mr. Dorsey: (01:13:29 (https://www.rev.com/transcript-
editor/shared/qe7Kci_ Bal IWOTcicE7pIcé3qbN5Y59N2ZEXxkO_EVTEes 7MHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=4409.02))

Well, we evaluated this treat again and we found that we were wrong. There was a mistake and it was due to the fact that we
had heightened awareness around government accounts during this time. So that was a mistake. We reverted it.

Mr. Lee: (01:13:44 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=4424.01))

Thank you. | appreciate that, and we're going to get back to more of that in a minute and get back to the fact that | understand
that mistakes happen, but what we're going to see today is that mistakes happen a whole lot more, almost entirely on one side
of the political aisle rather than the other. Now, Commissioner Morgan's statement in that tweet, as was initially taken down, is
factual. There's nothing remotely hateful about it, and yet it was taken down. Now on October 15th, Facebook relied on a third
party fact checker’s assessment to ban two advertisements from Facebook for “partly false information.” Now, both of these
advertisements were factual in nature. They revealed Joe Biden's and Kamala Harris’ views on late term abortion,

Mr, Lee: (01:14:37 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8al8 WOTcicE7plcé3qoNS5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=4477.99}}

Joe Biden has stated that he won't accept any restrictions on abortion and Senator Harris’ views are such that she voted
against requiring care for a child born alive during a botched abortion. The very next day, the third party fact checker issued a
statement retracting the assessment and retracting it as erroneous. However, it stunningly took Facebook almost two more

https:/Awww.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-iranscript-senate-lech-hearing-november-17 22/82
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weeks, until October 29th when voting had already started in many jurisdictions to lift the ban on these legitimate ads, ads that
the fact checker had already declared a couple of weeks earlier were erroneously taken down. So Mr. Zuckerberg, why on earth
did it take Facebook two weeks to correct this error?

Mr. Zuckerberg: (01:15:37 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8alBJWOTcicE7pilcé3qgbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvg4M23
BSo?loadFrom=PastecDeeplink&ts=4537.77))

Senator, I'm not familiar with the details of us re-enabling that ad so ! can follow up with you after. It's possible that this was
just a mistake or delay and unfortunately, when we handle millions or billions of pieces of content today, while we strive to do
as well as possible and be as precise as possible. we will make some mistakes.

Mr. Lee: (01:16:06 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_8al8JWOTcicE7plcé63qbNS5Y59N2ZEXxkO_EVTEes/mHP_NkIpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=4566,36))

Thank you. | appreciate your acknowledgement of the fact that there are mistakes. As I've noted previously, those mistakes
sure happen a whole lot more on one side of the political spectrum than the other, Now this is understandable. We're humans,
but it’s also understandable why this might occur. Maybe some of it has to do with your employees. 92.83% of Facebook
employees who donated to federal candidates, they give to Democrats. At Twitter, it's even more stark than that. as if it could
get much more stark, but 99.3% of Twitter employees who have donated to federal candidates gave to Democrats. and so
these mistakes, they may be mistakes, but they're mistakes that rnyme.

Mr. Lee: (01:16:45 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pilcé3qbNSY59N2ZEXxkO_EVTEes?7mHP_NkipyZemhawOyRVIEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=4605.89))

They may not repeat themselves, but they rhyme and the consistent theme happens to be Republicans, conservatives, and the
pro-life activists, Now I'd like to ask both of you. is there a list of every user or every content creator who has been de-
platformed or had their contents reach altered or have had some other adverse action taken by either Facebook or Twitter
altered? Is there some list that identifies each user for which that has happened? Mr. Zuckerberg, let's hear from you, just a yes
or no question. Does such a list exist?

Mr, Zuckerberg: (01:17:30 (https://www.rev.com/transcript-
editor/shared/qe7Kci_8alBJWOTcicE7picé3qbNS5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=44650.98))

Senator, I'm not aware of anything like that existing,

Mr. Lee: (01:17:35 (https://www.rev.com/transcript-

editor/shared/qe7Kcl_8al8J WOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeptink&ts=4655,37))

Mr. Dorsey, how about you?

Mr. Dorsey: (01:17:38 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8alBJWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUQvqAM23
BSo7loadFrom=PastedDeeplink&ts=4658.99))

I'm not exactly sure what you're asking. but we certainly-

Mr. Lee: (01:17:43 (https://www.rev.com/transcript-

editor/shared/qe7Kcl_B8al8JwOTcicE7pilcé3qbNS¥59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=4663,43))

Simple question, do you have a list of people, your users or content creators who have had some adverse action taken against
them, either being de-platformed or having their reach altered or something because of the content of their posts?

Mr. Dorsey: (01:17:56 (https: //www.rev.com/transcript-
editor/shared/qe7Kct_8alBJWOTcicE7pilcé3qbN5Y59N2Z2EXxkG_EVT Ees?7mHP_NkJpyZemhawO0yRYIEUIPZSrNzdAbUJvqgAM23

https:/Avww.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 23/82
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BSo7loadFrom=Pasted Deeplink&ts=4676.63))

Well, certainly whenever we take an action, it's recorded somewhere in the database, but I'm not sure if that’s your intent.

Mr, Lee: (01:18:02 (https://www.rev.com/transcript-

editor/shared/qe7Ko1_Bal8JWOTcicE7plcé3qbN5Y59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=4682.4)}

No, that’s helpful. So what I'm hearing from both of you is that while there may not be an actual list, and I'd like you both to
check to see if such a list exists, but even if there isn’t, there is a defacto list because you have within your databases, records
of occasions when this has occurred, and so I'd like to ask both of you, if such a list exists, please send it to me. I'd like to see it.
If such a list does not exist, you certainly do have the data necessary in order to generate some and | request as a member of
this committee that you generate such a list and provide it to me. Thank you very much. Mr, Chairman.

Mr, Lee: (01:18:46 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_BalBJWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=4726,99))

Senator Graham, the chairman of the committee, has stepped out momentarily. I've been directed to recess the hearing
momentarily so that we can go and vote, and then we will pick up back here in just a few minutes. | would like to, as long as |
have the gavel momentarily, I'm going to ask one more question before | leave to go vote and then we'll recess the hearing
after this question.

Speaker 2: (01:19:13 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Sal8IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEU IPZ5rNzdAbUIvgAM25
BSo7loadFrom=PastedDeeplink&ts=4753.01)}

Could | ask when we're coming back? I've been waiting to ask questions for an hour now.

Mr. Lee: (01:19:19 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Gal8OWOTcicE7plcé3qoNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=4759.65)}

We'll be coming back as soon as Senator Graham returns. He left to vote just a moment ago. He'll be back. Mr. Zuckerberg, in
September, Facebook tagged an ad run by the American principles project in Michigan that criticized Joe Biden and criticized
Senator Gary Peters, and the ad was tagged because it was “missing context.” Now the next day, the ad was shut down entirely
by Facebook. Facebook relied on a supposed fact check from PolitiFact, which is a nice way for you to avoid taking
accountability for the problem, except that the fact check in question literally said that the ad “makes predictions we can't fact
check. Apparently, this had to do with lacking context, but when did lacking context become a new standard for political ads?

Mr. Lee: (01:20:23 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_SalSIWOTcicE7plcé3qbN5Y59N2ZEXxk0_EVTEes/mHP_NkJpyZemhawOyRYIEUIPZorNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=4823.72))

I mean, all political ads, all ads in general, but certainly all political ads, lack context. Ben Sasse just finished a resounding
victory in Nebraska, and | haven't seen his TV ads, but I'm sure they're brilliant. This guy‘s made for television, and with or
without the beard, and I'm sure his ads didn’t say Ben Sasse, great Senator, but not that great of a hockey player or there's
always context that is lacking, left out in any advertisement. So what does that mean and have you applied the missing context
label to any democratic ads, a single one that you can identify?

Mr. Zuckerberg: (01:21:09 (https://www.rev.com/transcript-
editor/shared/qa7Ke1_Sal82WOTcicE7pIcéSqnN5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdADUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=4869.38)}

Senator, I'm not familiar with that specific standard, but as kind of a background on the fact checking program, the basis of this
ig that we have heard resoundingly from our community that people do not want to see misinformation and believe that it is a
problem, but people also believe that they do not want Facebook to be the arbiter of truth and deciding everything that is true
and false, and for what it's worth, | strongly agree with that and [ do not think it is the right thing for us to assume that role.

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Mr. Zuckerberg: (01:21:40 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_S8al8IWOTcicE7plcéSqbNSY59N2ZEXxkO_EVT Ees ?MHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=4900,56)}

So within those bounds, we've tried to create a fact checking program that works with independent third-parties who have
been accredited by the Poynter Institute for Journalism, which | think is widely respected, and we give those fact checkers the
latitude to determine whether ads or other content on our service is accurate, and if not. we apply some demotions or we
prevent them from being run as ads. | can follow up in more detail afterwards on the specifics of your questions since I'm not
as familiar with them right now.

Mr. Lee: (01:22:21 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8IWOTcicE7pilcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo7loadFram=PastedDeeplink&ts=4941,89})

| would appreciate that very much if you'd be willing to do that because it's not only inconsistent with logic and with what the
standards that apply in every other advertising context that I'm familiar with. It's also inconsistent with what Facebook itself
does, Just to give you some context for that, while we're talking about missing context, | recently posted something about the
election on Facebook, and my Facebook post was almost immediately tagged with the following. “Election officials say that
voter fraud, which is historically rare, has not affected the outcome in this election. They have confirmed that mail-in voting
was conducted in accordance with state voting rules.”

Mr. Lee: (01:23:08 (https://www.rev.com/transcript-
editor/shared/qe/7Kci_Sal8JWOTcicE/pilcé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=4988.18))

Now | find this a little disturbing. Accounts tagged to me sounds a whole lot more like state run media announcing the party
line rather than a neutral company as it purports to be running an open online forum is editorializing insulates people from the
truth and it insinuates that anyone concerned about voter fraud must be crazy. It also states it as if it were an irrefutable
neutral objective fact. Now maybe these kinds of concerns are out of the mainstream in Palo Alto, but they're not out of the
mainstream with the rest of America.

Mr. Lee: (01:23:53 (https://www.rev.com/transcript-
editor/shared/ge?Kc1_8alBJwOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=5033.39))

I have to reiterate, | hope this kind of manipulation wasn’t intentional, but it’s getting harder and harder for me to accept the
premise that it could be anything but intentional, and if it was intentional, it's yet more evidence that Facebook's actions
surrounding this election are incongruent with the promises that you've made to your own users and that’s a problem.
Consistent with the directions of but given by Chairman Graham, we're now going to recess. | predict we'll be in recess for no
more than 10 or 15 minutes until Chairman Graham returns. We stand in recess.

Mr. Lee: (01:24:31 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_SalBIWOTcicE7pilcésqbNS5YS9N2ZEXxkO_EVTEes?7mHP_NkJpyZemhaw0yRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=5071.48}}

[inaudible 01:25:32].

Sen. John Kennedy: (01:24:31 (https://www.rev.com/transcript-
aditor/shared/qe7Kce1_Sal8IWOTcicE7pilc63qbN5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRY IEUIPZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=5071.48))

(Silence).

Sen. John Kennedy: (01:52:23 (https://www.rev.com/transcript-
editor/shared/qe7kKc1_Bal8JWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes?7mHP_NkiJpyZemhawOyRYIEUIPZ5rNzdAbUJvqgAM23
BSo7loadFrom=PastedDeeplink&ts=6743.52))

The committee will come to order. Senator Leahy?

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Sen Patrick Leahy: (01:52:27 (https://www.rev.com/transcript-
editor/shared/qe7Kcl_8al8IWOTcicE7picé3gbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgqAM23
BSo7loadFrom=PastedDeeplink&ts=46747.38))

Thank you, can you hear me all right?

Sen. John Kennedy: (01:52:28 (https://www.rev.com/transcript-
editor/shared/qe7Kcl_8al8IWOTcicE7picé3qgbNSY59N2ZEXxkO_ EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=6748.95))

Yes, sir.

Sen Patrick Leahy: (01:52:30 (https://www.rev.com/transcript-
editor/shared/gqe7Kc1_8alBJWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=6750.4))

Good.

Sen. John Kennedy: (01:52:31 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_8alBJWOTcicE7pled3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJyqamM23
BSo?loadFrom=PastedDeeplink&ts=6751,31))

We can see you too. Senator. You look great.

Sen Patrick Leahy: (01:52:36 (https://www.rev.com/transcript-
editor/shared/qe7Kci_Sal8JWOTcicE7picé3qbN5Y59N27EXxkO_EVTEes7mMHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUJvgAM23
BSo?7loadFrom=PastedDeeplink&ts=6756,74))

Well let me start by saying.. It's my thick head of hair, that's what does it, But | want to say | recognize the challenging position
that social media companies are in where your platforms hosts much of the news that America, and actually the world, use to
stay informed. So you're on the frontline of both domestic and foreign disinformation campaigns and you have to balance
American ideals like freedom of speech, you have to limit hate speech, you have to limit dangerous misinformation. That's a
significant challenges. | saw one of the people who came here to demonstrate last weekend in Washington say they're there
because they had found out that China had one minute before the polls closed dumped millions of votes for Joe Biden.
Somebody said, “Well, what do you mean?” They said, “Well, it was on the internet, it’s got to be accurate.”

Sen Patrick Leahy: (01:53:42 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pilcé3qgbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRY IEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=6822.27))

But now your platforms are taken some positive steps, but | mention that one thing and | hear from people all the time that
stop me with some of these misinformation, sometimes very dangerous misinformation, they've gotten it from your platforms.
And | happen to think you can and must do better, our security. | think even our democracy, our understanding of basic truth
depends upon you doing a better job, President Obama described the escalating erosion of the acceptance of facts, of science.
of clear evidence as, “Truth decay.” Without facts, it's hard to imagine haw a government by and for the people can exist and
your platforms can bring people together. | think often they act as a form of driving people apart.

Sen Patrick Leahy: (01:54:46 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_8al8IWOTcicE7pilcé3qbNS5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUQvqgAM23
BSo7loadFrom=PastedDeeplink&ts=6886.05)}

Now, during this election, President Trump has emerged as the most prominent distributor of false and misleading election
information, he still does it, nothing short of propaganda. Without evidence, he routinely claims the election was rigged, says
the States actually cheated and fixed the results. even claims that millions of Trump votes were deleted. And he's doing that
while his own Department of Homeland Security is staying the election was the most secure in American history and there’s no
evidence any voting system deleted or lost, changed votes, or was in any way compromised, that’s what our own US
Government is saying when the head of government, the President, is saying just the opposite. So it may make him feel better
about the fact that he lost badly, but we shouldn't have to put up with it.

https:/Avww.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 26/82
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Sen Patrick Leahy: (01:55:47 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBJWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqAM23
BSo?ioadFrom=PastedDeeplink&ts=6947.06))

So | have a question for both of you, has Facebook or Twitter conducted an in-depth postmortem review of election
misinformation spread on your platforms? Not just what you're label, but how far the misinformation reached? Have you done
that kind of a post-mortem?

Mr. Zuckerberg: (01:56:11 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_SalBJWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYVIEUIPZSrNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=6971.07))

Senator, we will do that analysis and, also, we are commissioning and working with independent academics to enable them to
do the studies themselves and to publish what they find without any intervention or permission required from Facebook.

Sen Patrick Leahy: (01:56:31 {https://www.rev.com/transcript-
editor/shared/qe7Kc1_BalBIWOTcicE7pilcé3qbN5YS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRVIEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=6991.13))

Thank you, and?

Mr. Dorsey: (01:56:33 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_8alBJWOTcicE7pilcé3qgbNSYS9N2ZEXxkO_EVTEes7mH P_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=6993.59))

And we are doing the same, including opening up our APIs to researchers to make sure that others are able to see what we
may not seé ourselves.

Sen Patrick Leahy: (01:56:42 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7pic63qbN5Y59N2ZEXxkO_EVTEes 7MHP_Nk J pyZemhawOyRYIEU1PZSrNzdAbU JvqAM23
BSo?7loadFrom=PastedDeeplink&ts=7002.19))

Will that be made available to us? Can other people see the results of that study you're going to do, both of you 1 would ask?

Mr. Zuckerberg: (01:56:54 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_SalBJWOTcicE7plc63qbN5YS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5r NzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=7014.75))

Senator. yes. the academic research is going to be public and the academics are going to be able to publish this themselves
without even having to get Facebook's approval over what they publish.

Sen Patrick Leahy: (01:57:07 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_8alBJWOTcicE 7plcé3qbN5Y59N2ZEXxkO_EVTEes 7mHP_NkJpyZemhawOyRYIEUIPZSrNzdADUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=7027.94))

Thank you. And Mr, Dorsey?

Mr. Dorsey: (01:57:10 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZS5rNzdAbU JvqAM23
BSo?loadFrom=PastedDeeplink&ts=7030))

And we'll make our reports and findings public as well, so everyone can learn.

Sen Patrick Leahy: (07:57:15 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal@JWOTcicE7plcd3qbNSYS9N2ZEXxkO_EVTEes7mH P_NkJpyZemhawOyRYIEUIPZ5rNzdA4bUJvgAM23
BSo?7loadFrom=PastedDeeplink&ts=7035,78)}

I'l look forward to reading them. ('m actually one member of the Senate who will actually read them, so thank you. Because you
look at some of the things that went on, | know Senator Blumenthal and others have raised this question about Steve Bannon
putting on a video, think of what it did. It called for the murder, the beheading of Dr. Fauci and the Director of the FBI,
Christopher Ray. Just think what that does. | mean the FBI Director travels with security all the time, Dr, Fauci and his family
are private citizens, they're calling for their beheading. And it was seen by. | think. 200.000 people on Facebook, Well. if you are

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going to have somebody threatening to murder somebody, what do you do about that? | mean, how do you catch that ina
hurry? Because | was a prosecutor, | prosecuted murderers and we didn't have to face this kind of threat at that time. But what
do you do when hundreds of thousands of people see a threat. “Go murder somebody."?

Mr. Zuckerberg: (01:58:39 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7picé3qbNSY59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUQvgAM23
BSo?loadFrom=PastedDeeplink&ts=7119.7}}

Senator. in that case, that content violated our policies and we took it down. And as has been the subject of some of the other
questions, if someone had multiple offenses like that. we would remove their whole account.

Sen Patrick Leahy: (01:58:52 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_S8al8JWOTcicE7plc63qgbN5Y59N2ZEXxkO_EVTEes?7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=7132.64))

Well, I'm sure that's the threat that they do multiple times say, “Go out and murder somebody, cut off their head,” we're going to
face a real problem. “Facebook will take down our posting? Oh my goodness, what a deterrent.”

Mr. Zuckerberg: (01:59:18 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_B8al8IJWOTcicE 7plcé3qoN5Y59N2ZEXxkO_EVTEes?/mHP_NkJpyZemhawOyRYIEUIPZ5SrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=7158.25))

So Senator, what we try to do is identify content that viclates our policy before anyone in the community has to see it or even
report it to us. And for some categories like terrorism, which I've cited before, about 98% or 99% of the content that we take
down our Al and human systems find before anyone even has to report it to us. On hate speech, we're up to 94% of the content
that we take down our Al systems and content reviewers find it before people have to report it to us. What we try to drive on
more effectiveness is basically finding more and more of that harmful content earlier, before it is seen broadly across our
system.

Sen Patrick Leahy: (02:00:07 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Sal8JWOTcicE7pilcé3qgbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=7207,87))

Let me ask you about that because we've had these discussions before, I'm deeply concerned about Facebook's role in
spreading hate speech in Myanmar. Hate speech that helped fuel a genocide against the Muslim Rohingya people. And | mean,
horrible, I've seen the pictures, I've seen some of the genocide. Now, you've made some progress about this since you and |
had talked about it last, but my understanding is that Facebook shuts down specific accounts that violates your content
related policy, but then that user could, of course, just create a new account. In Myanmar, for example, on October 8th,
Facebook took down 38 inauthentic accounts created and controlled by members of the Myanmar military in part to promote
anti-Rohingya content. and | compliment you for doing, but the Myanmar military just turned around and created new
accounts that promote the same content. So in some way you've got a whack-a-mole problem here, but is there a way that
you can stop these things. not just at the account level, but at the user level? And | use that as an example because people are
being murdered in a systematic genocide.

Sen. Lindsay Graham: (02:01:44 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIWOTcicE7picé3qbN5Y59N22ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7304,64))

Please answer Senator Leahy’s question, then we'll need to move. Go ahead.

Sen Patrick Leahy: (02:01:49 (https://www.rev.com/transcript-
editor/shared/qe7Kci_8alBIWOTcicE7picé3gbN5Y59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNZzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7309.79))

And I'm sorry to take long, but the previous questioner took all his time plus all the time that had been allotted to me.

Sen. Lindsay Graham: (02:01:57 (https://www.rev.com/transcript-
editor/shared/ge7Ke1_8al8IJWOTcicE7pilcé3qbN5Y59N2Z7EXxkO_EVTEes7mHP_NkIpyZemhawOyRYIEU iPZ5rNzdAbUJvgAM23

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No, | agree. No, we're at two and a half minutes and let's just wrap it up, but go ahead and answer the question.

Mr. Zuckerberg: (02:02:03 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNZzdADUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7523.84))

Senator you're correctly pointing out that we did disable certain generals in the Myanmar military as dangerous figures and
they are not allowed to sign up for new accounts. But as you point out, these kinds of integrity problems are not ones that
there's a silver bullet or where you can ever fully solve them. We will always be working to help minimize the prevalence of
harm in the same way that a city you will never eliminate all crime, you try to reduce it and have-it be as little as possible. And
that's what we try to do through a combination of building Al systems to identify harmful content upfront. hiring thousands of
people. tens of thousands of peaple to do content review, and partnering with organizations. whether it’s in the intelligence
community, law enforcement. election officials, or in Myanmar, local civil society to help us flag things that we should be aware
of and on high alert about.

Sen Patrick Leahy: (02:03:12 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBJWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=7392.59))

Thank you. Mr. Chairman, I'll have some questions for the record for both of the witnesses.

Sen. Lindsay Graham: (02:03:19 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbNS5Y59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIJvgAM23
BSo?loadFrom=PastedDeeplink&ts=7399.82))

Thank you very much, Senator Leahy, | appreciate that. Senator Cruz?

Sen. Ted Cruz: (02:03:24 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pic63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=7404.7))

Thank you Mr, Chairman. Facebook and Twitter and Google have massive power, they have a monopoly on public discourse in
the online arena, | will say it's dismaying listening to the questions from our democratic colleagues because consistently the
message from Senate Democrats is for Facebook and Twitter and Google to censor more, to abuse their power more, to silence
voices that Senate Democrats disagree with more. That is very dangerous if we want to maintain a free and fair democracy, if
we want to maintain free speech. There was a time when Democrats embraced and defended the principles of free speech,
there was a time when Democrats embraced and defended the principles of a free press, and yet there's an absolute silence
from Democrats speaking up for the press outlets censored by big tech, there's an absolute silence for Democrats speaking out
for the citizens silenced by big tech. Instead, there is a demand, “Use even more power to silence dissent. and that’s a
totalitarian instinct that § think is very dangerous.

Sen. Ted Cruz: (02:04:43 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JWOTcicE7plcé3qbN5YS59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7483.18))

At the same time that big tech exercises massive power, it also enjoys massive corporate welfare through the effect of Section
230, a special immunity from liability that nobody else gets. Congress has given big tech, in effect, a subsidy while they
become some of the wealthiest corporations on the face of the planet. Mr. Dorsey, | want to focus primarily on Twitter and ask
you initially, is Twitter a publisher?

Mr. Dorsey: (02:05:18 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Bal8JWOTcicE7pilc63qbNSY59N2ZEXxkO_EVTEes?7mH P_NkIpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7518.93))

Is Twitter a publisher?

Sen. Ted Cruz: (02:05:20 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIWOTcicE7picéSqbNSY59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23

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Yes.

Mr. Dorsey: (02:05:20 {https://www.rev.com/transcript-
editor/shared/qe7Kci_8alBIwOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=7520.53))

No, we are not, we distribute information.

Sen. Ted Cruz: (02:05:29 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IJWOTcicE7ple63qbN5Y59N2ZEXxkO_EVTEes?7mMHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7529.22}}

So what is a publisher?

Mr. Dorsey: (02:05:29 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8al8IWOTcicE7picé3qoN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUIvqAM23
BSoa?loacdFrom=PastedDeeplink&ts=7529,22))

An entity that ts publishing under editorial guidelines and decisions.

Sen. Ted Cruz: {02:05:35 (https://www.rev.com/transcript-

editor/shared/qe7Kci_8al8WOTcicE 7pilcé3qbN5Y59N2ZEXxkO_EVTEes 7mHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUJvqgAM23
BSo?loadFrom=PastedDeeplink&ts=7535.82))

Well, your answer happens to be contrary to the text of federal statute, particular Section 230, which defines an information
content provider as, “Any person or entity that is responsible, in whole or in part, for the creation or development of information
provided thraugh the internet or any other interactive computer service” Let me ask you, was Twitter being a publisher when it
censored the New York Post?

Mr. Dorsey: (02:06:05 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_BalBIWOTcicE7plcé3qgbNSY59N2Z7EXxkO_EVTEes 7mHP_NkIpyZemhawOyRYIEUIPZ5rNzdAbUIvqA4M23
BSo?lcadFrom=PastedDeeplink&ts=7565.13))

No, We have very clear policies on the conduct we enable on the platform and if there's a violation, we take enforcement
action. And peaple choose to commit to those policies and to those terms of service.

Sen. Ted Cruz: (02:06:23 (https://www.rev.com/transcript-
editor/shared/qe7kc1_Sal8GWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=7583})}

Except your policies are applied in a partisan and selective matter. You claim it was hacked materials and yet you didn’t block
the distribution of the New York Times story that alleged to talk about President Trump's tax returns. even though a federal
statute makes it a crime to distripute someone's tax returns without their consent. You didn’t block any of that discussion. did
you?

Mr. Dorsey: (02:06:42 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBJWOTcicE7picé3qoN5YS9N27ExXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvq4M23
BSo?loadFrom=PastedDeeplink&ts=7402,79)}

Our policy was focused on distribution of the actual hack materials and the New York Times-

Sen. Ted Cruz: (02:06:47 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_8alBIWOTcicE7pilcé3qbN5Y59N2ZEXxkO_ EVTEes /mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=7607.91}}

Did you block the discussion of the President's tax return material?

Mr. Dorsey: (02:06:51 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7?loadFrom=PastedDeeplink&ts=7611.48))
And in the New York Times case, we interpreted as reporting about the hacked materials, not distribution of [inaudible
02:06:58).

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Sen. Ted Cruz: (02:06:57 (https://www.rev.com/transcript-
editor/shared/qe?Kc1_8alBIWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes 7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7617.24))

Did you block Edward Snowden when he illegally released material?

Mr. Dorsey: (02:07:04 (https://www.rev.com/transcript-

editor/shared/ge7Kc1_8al8QWOTcicE 7pleé3qbNSY59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7624.89))

| don’t have the answer to that.

Sen. Ted Cruz: (02:07:06 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBIWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=7626.17))

The answer is no. You having used this in a selective matter, let me ask you were you being a publisher when you forced
Politico, another journalistic outlet, to take down their tweets on a topic that you had deemed impermissible?

Mr. Dorsey: (02:07:23 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8WOTcicE/plcé3qbNSY59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=7643.29))

No. We were enforcing our policy and our terms of service.

Sen. Ted Cruz: (02:07:27 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_SalBIWOTcicE7pilcé63qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawDyRYIEU 1PZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=7647))

So on October 15th, Jake Sherman, a reporter at Politico, tweeted the following, "| tweeted a tink to the New York post stary
right after it dropped yesterday morning, | immediately reached out to the Biden campaign to see if they had any answer. |
wish I'd given the story a closer read before tweeting it, Twitter suspended me. So you actually have a reporter reporting on a
story, asking the other side for comment. And Twitter says, “Hi Jake Sherman, your account @JakeSherman has been focked
for violating Twitter rules.” Now, what did the Politico reporter do? Immediately tweets after that, "My goal was not to spread
information.” Well, that’s a little worrisome just in and of itself, “My goal was to raise questions about the story”

Sen. Ted Cruz: (02:08:08 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Sal@IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrN2dAbUIvgAM23
BSo?loadFrom=PastedDeeplink&ts=7688.9)}

“Oh, my overlords in Silicon Valley, | was attacking the New York Post. You don’t understand, | was attacking them, as | did in
subsequent tweets, and see how the Biden campaign was going to respond.” They later did respond and then, not long after.
Jake Sherman comes back with, “My account is clearly no longer suspended, | deleted the tweet.” When Twitter is editing and
censoring and silencing the New York Post, the newspaper with the fourth highest circulation in the country, and Politico, one
of the leading newspapers in the country, is Twitter behaving as a publisher when it’s deciding what stories reporters are
allowed to write and publish and what stories they're not?

Mr. Dorsey: (02:08:54 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
BSo?ioadFrom=PastedDeeplink&ts=7731.63))

No. And that account is not suspended, it fell afoul of the hacked materials pclicy, we realized that there was an error in that
policy and the enforcement and we corrected that within 24 hours.

Sen. Ted Cruz: (02:09:00 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes7MHP_NkJ pyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=7740,95))

Hold on, I'm literally looking at the tweet from Twitter that says. “Your account has been locked.” You're you're telling me that
this is not an accurate...

htips/www.rey.com/blog/ranscripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-lech-hearing-november-17 31/82
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Mr. Dorsey: (02:09:10 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8al8JWOTcicE7picé3qbN5yY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIELIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=7750.24))
That's a lock and can be unlocked when you delete the offending tweet.

Sen. Ted Cruz: (02:09:13 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7picé3qbNSYS9N2ZEXxk0_EVTEes7mHP_NkJpyZemhawOyRVIEU1PZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7753.19}} ae
! understand that you have the star chamber power, your answer is always, “Well, once we silence you, we can choose to allow
you to speak.” But you are engaged in publishing decisions. Let me shift to a different topic, Mr. Dorsey. does voter fraud exist?

Mr. Dorsey: (02:09:32 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_ 8al8WOTcicE7picé3qbN5Y59N2ZEXxkO_ EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=7772.59})

| don't know for certain.

Sen. Ted Cruz: (02:09:34 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8al8JWOTcicE7plcé3qbN5Y59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=7774.21))

Are you an expert in voter fraud?

Mr. Dorsey: (02:09:36 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pilcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRY|EUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7776.75))

No, I'm not,

Sen. Ted Cruz: {02:09:38 (https://www.rev.com/transcript-
editor/shared/qe7Kci_BalBJWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5tNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=7778.1}}

Well, why then is Twitter right now putting purported warnings on virtually any statement about voter fraud?

Mr. Dorsey: (02:09:48 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alGJWOTcicE7plc63qoNSYS59N2ZEXxkO_EVTEes7m HP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7788.52))

We're simply linking to a broader conversation so that people have more information.

Sen. Ted Cruz: (02:09:52 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8al8IJWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes?7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=7792,73))

No, you're not. You put up a page that says. “Voter fraud of any kind is exceedingly rare in the United States” That's not linking
to a broader conversation, that's taking a disputed policy position. And you're a publisher when you're doing that, you're
entitled to take a policy position, but you don’t get to pretend you're not a publisher and get a special benefit under section 230
as a result.

Mr. Dorsey: (02:10:14 (httos://www.rev.com/transcript-

editor/shared/qe7Ke1_ 8alBIWOTcicE7plcé3qbNSY59N2ZEXxkO_ EVTEes7MHP_NkIpyZemhawO0yRYIEU1PZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=7814.64))

That link is pointing to a broader conversation with tweets from publishers and people all around the country.

Sen. Ted Cruz: (02:10:22 (https://www.rev.com/transcript-
editor/shared/qe?7Ke1_SalBJWOTcicE7plcéSqbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYiEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=7822.09))
Mr. Dorsey, would the following statement violate Twitter's policies, “Absentee ballots remained the largest source of potential
vater fraud.”?

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Mr. Dorsey: (02:10:31 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alGJWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=7831.71}}

| imagine that we would label it so that people can have more context and read through,

Sen. Ted Cruz: {02:10:36 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7plc63qbNSYS9N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=7836.85))

Okay. How about this quote, "Voter fraud is particularly possible where third-party organizations, candidates. and political party
activists are involved in handling absentee ballots,” would you flag that as potentially misleading?

Mr. Dorsey: (02:10:56 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_8al8JWO Tcick 7plce63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7856.48))

I don’t know the specifics of how we might enforce that. but | imagine a lot of these would have a label pointing peaple to a
bigger conversation, a broader conversation,

Sen. Ted Cruz: (02:11:06 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbNSYS9N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts2=7866.78))

Well, you're right, you would label them because you've taken the political position right now that voter fraud doesn’t exist. |
would note both of those quotes come from the Carter-Baker Commission on Federal Election Reform. That is Democratic
President, Jimmy Carter and former Secretary of State James Baker and Twitter's position is essentially voter fraud does not
exist. Are you aware that just two weeks ago in the State of Texas, a woman was charged with 134 counts of election fraud?
Are you aware of that?

Mr. Dorsey: (02:71:37 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8alBJWOTcicE7plcéSqbN5YSON2ZEXxkO_ EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
8So07loadFrom=PastedDeeplink&ts=7897.33))

I'm not aware of that.

Sen. Ted Cruz: {02:11:38 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8IWOTcicE7plc63qbNSY59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=7898.26))

lf | tweeted that statement with a link to the indictment, would you put a warning on it that says. “Well. the Democratic Party
position right now is voter fraud doesn't exist"?

Mr. Dorsey: (02:11:48 (https://www.rev.com/transcript-
editor/shared/qe7Ko1_BalSIWOTcicE7pic63qbNSYSON2ZEXxkO_EVTEes?/mH P_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=7908.64))

I don’t think it's useful to get inte hypotheticals, but | don't believe so. *.

Sen. Ted Cruz: (02:11:53 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7913.94))

You don't believe so. Well, we're going to test that because I'm going to tweet that and we'll see what you put on it.

Sen. Ted Cruz: (02:11:57 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqAM25
BSo?loadFrom=PastedDeeplink&ts=7917.46))

All right. Yesterday. Mr. Dorsey, you and | spent a considerable amount of time on the phone and you said that you wanted to
embrace transparency. So | want to ask you, | have asked Twitter, I've asked Facebook multiple times, how many times have
you biocked Republican candidates for office, their tweets or their posts in 2016 and 2018 and 20207 How many times have

https://www.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-lech-hearing-november-17 33/82
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you blocked Democratic candidates for office? How many times have you blocked Republican office holders? How many times

have you blocked Democratic office holders? Twitter has repeatedly refused to answer that question with specific hard data
and catalaging the examples. In the interest of transparency, which you said you want to embrace, will you commit in this
hearing sight now to answer those questions in writing?

Sen. Lindsay Graham: (02:12:47 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_Bal8 WOTcICE 7plc63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ51NzdAbUJvqAM23
BSo?loadFram=PastedDeeplink&ts=7967.96))

And we'll let that be the last question.

Mr. Dorsey: (02:12:48 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7968.62))

That's exactly what we want to do.

Sen, Ted Cruz: (02:12:50 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_Bal8JWOTcicE7picoSqoNSY59N2ZEXxkO_EVTEes7m HP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=7970.41))

I'm sorry, Mr. Dorsey, | didn't hear you.

Mr. Dorsey: (02:12:52 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7pilcé63qbNS5Y59N2ZEXxkO_EVTEes7mHP_NkIJpyZemhawOyRYIEUIPZSrNzdAbUIvgAM23
BSo?loadFrom=PastedDeeplink&ts=7972.82))

That's exactly what we're pushing for as we think about building upon 230, is transparency not just-

Sen. Ted Cruz: (02:12:58 (https://www.rev.com/transcript-
editor/shared/qe7Kkc1_B8al8JWOTcicE7plcé3qbNSYSIN2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=7978))

Is that a yes that you'll answer those questions in writing?

Mr. Dorsey: (02:13:01 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IJWOTcicE7plc63qbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23
BSo?loadFrom=PastedDeeplink&ts=7987.12)}

Transparency not just of outcomes, but also our process as well.

Sen. Ted Cruz: (02:13:04 {https://www.rev.com/transcript-

editor/shared/qe7Kc1_8al8 JWOTcicE7plcé3qbNSYSON2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=7984.54))

is that a yes that you will answer those questions in writing?

Mr. Dorsey: (02:13:08 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pilc63qoNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIJvqgAM23
BSo7loadFrom=PastedDeeplink&ts=7988.4))

We'll certainly look into it and see what we can do,

Sen. Ted Cruz: (02:13:10 (https://www.rev.com/transcript-

editor/shared/qe7kc1_8al8JWOTcick 7plc63qbNSYS9NZZEXxkO_EVTEes7MHP_NkIpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=7990,53)})

And actually answered them and not give lawyerly doublespeak about why you're not going to give specifics, answer them. will
you commit to this committee that you will answer those questions?

Mr. Dorsey: (02:13:20 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8al8 JWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastecDeeplink&ts=8000.38))}

We're going ta work to answering broader transparency around outcomes?

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Sen. Ted Cruz: (02:13:24 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7plceé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawO0yRYlEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=8004.23)}

All right. that’s a no. Mr. Zuckerberg, how about you? Will you commit that Facebook will answer those specific questions
cataloging the number of instances in which Democrats in ‘16, ‘18 and ‘20 had been silenced versus the number of instances in
which Republicans have been silenced on Facebook?

Mr. Zuckerberg: (02:13:40 (https://www.rev.com/transcript-
editor/shared/qe7Kel_SalBIWOTcicE7pic63ZqgbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=8020.49))

Senator, I'm not sure if we have that data available, but | will follow up with you or your team.

Sen. Ted Cruz: (02:13:47 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alGIWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawO0yRYIELMPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=8027.16))

Okay, I'm going to take that as a yes. and I'm going to take Twitter, we'll see if it's a yes or. “Transparency is bogus and we don't
intend to provide it.”

Sen. Lindsay Graham: (02:13:55 (https://www.rev.com/transcript-
editor/shared/qe7Kel_Bal8JWOTcicE7pilcé3qbN5SY59N2ZEXxkO_ EVT Ees7mHP_NkJpyZemhawDyRYIEUIPZSrNzdAbUQvqAM23
BSo7loadFrom=PastedDeeplink&ts=8035.57)}

Senator Durbin?

Sen. Dick Durbin: (02:14:00 (https://www.rev.com/transcript-
editor/shared/qe7Kel_8al8IJWOTcicE7pilc6sqbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=8040.88))

Thank you, Mr. Chairman. We live in a dangerous world, issues of national security, the worst pandemic public health crisis in
modern times in America, and we were being challenged as to whether there is going to be a peaceful transition of power in
America in the presidency. At that moment in time, we decided none of those topics were important and what was important
was to determine whether or not social media was discriminating against Republicans. it’s an interesting question, | think there
are more important and timely questions. We have a recount underway in Georgia. we have allegations made by the election
officials, the Republican election officials, where they have faced literally death threats. We are trying to determine whether or
not the social media instruments of America are fair to the Republican Party.

Sen. Dick Durbin: (02:15:08 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ BalBIWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawO0yRYIEUIPZSrNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=8108.99))

I'm trying to struggle with this issue because | want to put it in a context and maybe | can’t, maybe this is unique. We certainly
know what the constitution says when it comes to free speech and we know what it meant over the years, New York Times
versus Sullivan and others with publications, we certainly didn’t suggest that anyone that used a telephone line for nefarious.
illegal, banded activity somehow implicated the telephone company into it by its nature. And then came radio and TV and we
had to come up with new rules in terms of, at one time. equal time, fair content and so forth. And now we have this relatively
new mechanism of communicating information and we're trying to determine what to do with it. whether to treat it like a
newspaper publishing or treat it like some sort of a communications network alone. Section 230 is an attempt to do that and
I'm sure everybody finds fault with it.

Sen. Dick Durbin: (02:16:21 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_ 8al8JWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes7mMHP._NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=8181.53))

I'd like to ask the two witnesses if they would comment on the historical aspects of this particular debate, if they have any
thoughts? Mr. Zuckerberg,

https:/Avww.rev.com/blog/transcripts/mark-zuckerberg4jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 35/82
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Mr. Zuckerberg: {02:16:36 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_Sal8@JWOTcicE7plcé3qoN5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=8196.42))

Senator, one of the points in the discussion that | find interesting is people ask if the requlatory model should be more like the
news industry or more like telco’s, but from my perspective, these platforms are a new industry and should have a different
regulatory model that is distinct from either of those other two. | think it is not the case that we are like a telco and that there
are clearly some categories of content, whether it's terrorism or child exploitation, that people expect us to moderate and
address, but we're also clearly not like a news publisher in that we don't create the content and we don't choose upfront what
we publish, we give people a voice to be able to publish things. So | do think that we have responsibilities and it may make
sense for there to be liability for some of the content that is on the platform, but | don't think that the analogies to these other
industries that have been created previously will ever be fully the right way to look at this. | think it deserves and needs its own
regulatory framework to get built here.

Sen. Dick Durbin: (02:18:00 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_BalBJWOTcicE7pic63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=8280.95))}

Thank you. Would the other witness care to respond?

Mr. Dorsey: (02:18:07 {https://www.rev.com/transcript-
editor/shared/qe7Kel_Sal8JWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqAM23
BSo?loadFrom=PastedOeeplink&ts=8287.1))

From a historical perspective. 230 has created so much goodness and innovation and if we didn’t have those protections when
we started Twitter 14 years ago, we could not start. And that’s what we're most concerned with is making sure that we
continue to enable new companies to contribute to the internet, to contribute to conversation, And we do have to be very
careful and thoughtful about changes to 230 because going one direction might box out new competitors and new startups,
going another might create a demand for an impossible amount of resources to handle it, and going at another might
encourage even more blocking of voices or what's being raised here, which is censorship of voices and changing the internet
dramatically. So.

Sen. Dick Durbin: (02:19:07 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_Sal8IWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRVIEUIPZSrNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=8347.31)}

$0 let's... Go ahead.

Mr. Dorsey: (02:19:09 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8JWOTcicE7pic63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqgAM23
BSo7loadFrom=PastedDeeplink&ts=8349.77))

So | believe that we can build upon 230. | think we can make sure that we're earning people's trust by encouraging more
transparency around content moderation and aur process of it, | think we need much more straightforward appeals. And | think
the biggest point to really focus on going forward is algorithms and how they are managing and creating these experiences
and being able to have choice in how to use those algorithms on platforms like ours.

Sen. Dick Durbin: (02:19:42 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7plcé3qbNS5Y59N2ZEXxkO_EVTEes7mHP_ Nk pyZemhawOyRYIEUIPZSrNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=8382,34))

Let me get into a specific, Mr. Zuckerberg, October 10th. Detroit Free Press reported, “13 men charged Thursday in a conspiracy
to kidnap Michigan Governor Gretchen Whitmer used Facebook and secure messaging apps to connect and plot their attack.
The group's use of Facebook spans almost a full year. members began-"

Sen. Dick Durbin: (02:20:03 (https://www.rev.com/transcript-

editor/shared/qe7Kce1_Sal8IWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYiEUIPZ5 NzdAbUJvgAM23

BSo?7loadFrom=PastedDeeplink&ts=8403.791))
httos://www.rev.com/blog/transeripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 36/82
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.. Use of Facebook spans almost a full year. Members began to use the social media platform as a recruitment tool in
November, 2019 accerding to an affidavit by Brian Russell, Detective Sergeant Michigan State Police. Once recruited, members
communicated by a secure encrypting message platform. According to news reports, Facebook alerted the FB! about the
Michigan kidnappers online activity several months before the arrest. Thank goodness. However. in August a Facebook page for
the Kenosha Garden Militia, which advocated violence in the aftermath of the shooting of Jacob Blake was reportedly flagged
over 455 times to Facebook. However, the page was deemed non-violating and left up. More than 4.000 people responded to
that event, 100s of armed militia members showed up, A member of this group, a teenager from Illinois, later shot and killed
two people on the streets of Kenosha. Mr. Zuckerberg, you describe Facebook's handling of this militia page as an operational
mistake. Can you explain the exact reason why the Kenosha militia page was not taken down?

Mr. Zuckerberg: (02:21:15 (bttps://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7picésqbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=8475.23)}

Senator, yes. And first, what happened in Kenosha was obviously terrible. What happened here was we rolled out a
strengthened policy around militia pages in general. Whereas before that, we would have allowed a group that was a militia as
long as it wasn’t planning or organizing violence directly, In the lead up to the election, we strengthened the policy to disallow
more of those groups because we were on high alert and were treating the situation is very volatile around potential civil
unrest around the election. We just put that policy into place, and for a number of reasons, it had not yet been fully rolled out
and all of the content reviewers across the company hadn't been fully trained on that.

Mr. Zuckerberg: (02:22:10 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_Sal8IWOTcicE7pilc6SqbN5YS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=8530.1))

So we made mistakes in assessing whether that group should be taken down. But upon appeal, when it was escalated to a
more senior level of content review folks who have more specific expertise in these areas, we recognized that it did violate the
policy and we took it down. It was a mistake, it was certainly an issue, and we're debriefing and figuring out how we can do
better, Although, one other piece that | would add is that the person who carried out the shootings was not in any way
connected to that page or links to any of the content there from anything that we or others can tell.

Sen. Dick Durbin: (02:22:56 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_Bal8JWOTcicE7plcéSqbN5Y59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=8576.54))

Mr. Chairman, if | can ask one more question? Yesterday, the FBI released its annual hate crime incident report. The report
found that more people were killed in hate motivated violence in 2019 than any year since the FBI began collecting hate crime
data in 1990. The report also found that race-based hate crimes remained the most common type of hate crimes Jast year, and
documented increase in religion based hate crimes. anti-Hispanic hate crimes, and hate crimes targeting individuals based on
gender identity. Given these statistics, it appears to me that it's more important than ever for social media companies to
combat hate on their platforms. And | might add too what one of my colleagues stated earlier, this is not Antifa. but these are
documented hate crimes from FBI.

Sen. Dick Durbin: (02:23:44 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Bal8IWOTcicE7pilcé3qboN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=8624.89))

Muslims have reached out to you many times, Mr. Zuckerberg, about this issue relating to published content that reflects on
certain religious groups. And you said at a hearing, you do not allow hate crimes on Facebook. Yet in May, 2020, the tech
transparency project found more than 100 American white supremacist groups, many of them explicitly anti-Muslim, active on
the platform, both on their own group pages, as well as auto-generated content. Facebook did nominally alter some of the
content, but the hate groups largely remained. Are you looking the other way. Mr. Zuckerberg, in a potentially dangerous
situation?

Mr. Zuckerberg: (02:24:35 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23

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BSo7loadFrom=PastedDeeplink&ts=8675.7}}

No Senator, this is incredibly important and we take hate speech as well as incitement of violence extremely seriously. We
banned more than 250 white supremacist organizations and treat them the same as terrorist organizations around the world.
And we've ramped up our capacity to identify hate speech and incitement to violence befare people even see it on the
platforms. Our Al and human review teams, you can track our results in the transparency reports that we issue, now take down
about 94% of the hate speech that we find on our platforms before anyone has to even report it to us, which is a dramatic
amount of progress from where we were a few years ago when we were just starting to ramp up on this, where we're taking
about 20% of it down before people had to report it to us. So there's still more progress to make. We're very Invested in this, and
you have my commitment that we view this as an issue of the highest severity and one that we are very focused on.

Sen. Dick Durbin: {02:25:45 (https://www.rev.com/transcript-
editor/shared/ge7kc1_Sat8JWOTcicE7pilc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqgAM23
8So7loadFrom=PastedDeeplink&ts=8745.88))

Thank you very much.

Mr, Graham: (02:25:46 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8.JWOTcicE7plcé63qbNS5Y59N2ZEXxkO_EVTEes7mHP_NkdJpyZemhawO0yRY|EUIPZ5rNzdAbUIJvaAM23
BSo?loadFrom=PastedDeeplink&ts=8746.05)}

Senator Sasse?

Ben Sasse: (02:25:48 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&is=8748.72))

Thank you Mr. Chairman, thank you for hosting this hearing. Clearly important topics around content moderation. I'm a skeptic
of the content moderation policies that exist, both because | don't think the standards are very transparent and | don’t think
the execution is very consistent. That said, I'm more skeptical than a lot of my colleagues, | think on both sides of the aisle,
about whether or not there's a regulatory fix that will make it better instead of worse. | especially think it’s odd that so many in
my party are zealous to do this right now when you would have an incoming administration of the other party that would be
writing the rules and regulations about it. And | think it's telling that a number of foiks an the other side of the diocese, | think
of Senator Blumenthal, a guy | like, but who seemed to almost be giddy about the prospect of a new government regulatory
agency to police online speech.

Ben Sasse: (02:26:45 (https://www.rev.com/transcript-
editor/shared/qe7Kci_BalBIwOTcicE7plcé3qbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvgAM23
BSo7ioadFrom=PastedDeeplink&ts=8805.07))

And | think a lot of people on my side should take pause at the idea that so many on the other side of the aisle are excited
about having the next administration get to write these rules and regulations. But to the broader question, first just to get to
kind of a level set, and | want to thank both the witnesses for being here today, but when Senator Lee lays out some of the
issues he did about just that every human community is going to be situated in a different place about policy commitments
and priorities and beliefs.

Ben Sasse: (02:27:14 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIWOTcicE7pilcé3qbNSYS9N2ZEXxkO_EVTEes7mHP_NkjpyZemhaw0yRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=8834.81}}

But when Senator Lee said that 95% of Facebook employees who contribute to politics do so on the left and 99%, | think it was.
of Twitter empfoyees contribute on the left. | would just be interested to see if either of the two of you think that has
implications in the shepherding of your organizations. Again, | recognize fuily that you're private organizations, and so again,
I'm more skeptical of a governmental fix for a lot of the problems we're talking about here today. But I'm curious as to whether
or not Mr, Zuckerberg and Mr, Dorsey, and | guess we'll start with Facebook, I'm curious as to whether or not you think it’s likely
that there is systemic bias inside your organization in the execution of content moderation policies given that your employee
base is so unrepresentative of America in general.

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Mr. Zuckerberg: (02:28:04 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8al8 JWOTcicE7pilc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=8884.94))

Senator, | think it’s a good question and certainly | think it means that we have to be more intentional about what we do, and
thoughtful. Our principle and goal is to give everyone a voice and to be a platform for all ideas, As you mentioned. | do think it’s
undisputed that our employee base, at feast the full-time folks, politically would be somewhat, or maybe more than just a little
somewhat, to the left of where our overall community is, where the community basically spans almost wide varieties of people
across society. So | do think that that means that we need to be careful and intentional internally to make sure that bias
doesn't seep into decisions that we make. Although, I'd point out a couple of things. One is that people have a lot of different
views outside of work, and we expect and | think generally see that people conduct themselves professionally. And second, the
folks who are doing the content review work, we have about 35,000 people doing content review, are typically not based in
Silicon Valley.

Mr. Zuckerberg: (02:29:20 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3gbN5Y5S9N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=8966.19))

They're based in places all over the country and all over the world because we serve people in countries all over the world. So |
think that the geographic diversity of that is more representative of the community that we serve than just the full-time
employee base at our headquarters in the Bay area.

Ben Sasse: (02:29:42 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7pilcé63qbN5Y59N2Z7EXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=8982.24))

Thanks, Mr. Zuckerberg. Mr. Dorsey?

Mr. Dorsey: (02:29:45 (https://www.rev.com/transcript-

editor/shared/qe7Kci_ 8alBIWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_ NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=8985.43))

Yeah, this is obviously not something we interview for, and even have an understanding of when people are in the company.
And with that understanding, we intend to make sure that both our policy and our enforcement is objective. And | realized that
it looks rather opaque and certainly the outcomes might not always match up with our intention and the perception of those
outcomes may not match up. But that’s why | think it's so important that we're not just transparent around our policies, but the
actual operations of our content moderation. If people don't trust our intent, if people are questioning that, that’s a failure and
that is something that we need to fix and intend to fix. And | think it would benefit the industry as well. But | do. again, point
back to something | said earlier on the testimony, which is a lot of these decisions are not being made by humans anymore,
theyTe being made by algorithms. And that’s certainly enforcement decisions, but also decisions around what you see or what
you don't see. And to me, that is the body of work, that is the conversation that we should be focused on because that is the
enduring use case for everyone who interacts with these services.

Ben Sasse: (02:31:11 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7plc63qbNSYS9N2ZEXxkO_EVTEes 7mHP_NkJpyZemhawDyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=9071,86)}

Thank you. And | wish it were true, that these were all easy, objective questions. That the questions were, if somebody says. “Is
the sky green?” That's an objective question, that the sky is blue and white, not green. But most of the things we're talking
about here and the places where you're applying content moderation labels are not really simply objective questions. They're
mostly subjective questions. If we talked about Medicare for All being easily paid for inside a ten-year budget window on
assumptions, X. Y, and Z, that don't raise taxes, that’s not true. There isn’t any math by which Medicare for All pays for itself in
some short term window, but | don't think any of us really think you're going to slap a label on that saying, “This is disputed
accounting or math or policy projections.” And so really what's happening is there's a prioritization grid that people are going
through as they build even the algorithms, even those that aren't driven by humans, and they're driven by policy priorities of

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Sen Sasse: (02:32:79 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8al8JWOTcicE7 plc63qbNSY59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=9139.15))

I may be wrong about this, but my suspicion is that your employee base is not actually 99% left of center, | bet it’s less than
that, And | would speculate that part of the reason less than 1% of your employees give money to candidates on the right is
because there's a social stigma attached to having conservative views inside your organization. And | would guess that those
same sort of internal cultural biases inform the subjectivity of which issues end up labeled. So again, this is an odd place to be
in that | am skeptical that the content moderation policies are thought out well. They're not transparent enough for us to really
know, but I'm definitely skeptical that they're consistently applied. And yet I'm not really on the side of thinking there's some
easy governmental fix here. There's a fot about Section 230 that we could debate.

Ben Sasse: (02:33:09 (https://www.rev.com/transcript-
editor/shared/qe7Kci1_SalBIwOTcicE7plcé3qbN5YS59N2ZEXxkO_EVTEes?/mH P_NkJpyZemhawOyRYIEUIPZSrNzdAbUOvqAM23
BSa7loadFrom=PastedDeeplink&ts=9189.62))

| think some of the things Senator Ourbin said about how in the era of telephones. nobody blamed the phone company for
other people having spread misinformation by the phone. Exactly, that's what would be the case if Section 230 were actually
neutral, but you're applying content moderation policies and seemingly in a way that's not objective. So | know that I'm nearly
at time, but | think it would be useful for us to hear from both of you to give us three or five-year window into the future. If
there isn't new legislation, what is changing besides just saying we're moving from humans to more Al? What qualitatively is
changing in the way content moderation happens inside your organizations short of a new regulatory scheme? Can you tell us
where you think you're actually improving and what problems you're trying to solve? Mr. Zuckerberg, you first, please.

Mr. Zuckerberg: {02:34:02 (https://www.rev.com/transeript-
editor/shared/qe7Kc1_SalBJWOTcicE7plcd3qbNSY59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=9242,09)}

Senator, one of the areas that we're very focused on is transparency, both in the process and in the results. So we're already at
the point where every quarter we issue a community standards enforcement report that basically details the prevalence of
each category of harmful content and how effective we are at addressing it before people have to even report it to us. Over
time, we would like to fill that out and have more detail on that and then make it more robust. We've already committed to an
independent, external audit of those metrics that people can trust them even more. People have lots of different kinds of
requests for where we might go with that in the future, whether that's breaking down the stats by country or language or into
more granular buckets, adding more data around precision. But | think that that would all be very helpful so that people can see
and hold us accountable for how we're doing. And for what it’s worth, | think that that would be a valuable part of a regulatory
framework that would not feel particularly overreaching to me. is something that could be put in !aw that would create an
apples to apples framework that all companies in this space would have to report on the outcomes and effectiveness of their
programs in that way, so at least we can see how everyone is doing. That seems like a sensible step to me.

Ben Sasse: (02:35:28 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=9328,64))

Thank you, Mr. Dorsey?

Speaker 3: (02:35:30 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_SalBIWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP _NkJpyZemhawOyRYIEUIPZSrNzdAbU JvgAM23
BSo7loadFrom=PastedDeeplink&ts=9330.38))

Senator Whitehouse.

Ben Sasse: (02:35:31 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_BalBJWOTcicE 7plc63qbNS5SY59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=9331.86))

Sorry. Mr. Dorsey is still answering the same question and then I'll give it back to you in a hurry, Mr. [inaudible 02:35:36).

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Case 1:21-cv-20684-BB Document 1-25 Entered on FLSD Docket 02/18/2021 Page 41 of 82

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Speaker 3: (02:35:36 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_BalBIWOTcicE7plcé3qbNS5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYiEUIPZS5rNzdAbUJvqgAM23
BSo7loadFrom=PastedDeeplink&ts=9336.06))

So, sorry. | missed that. It's a junior acting chairman. Mr. Dorsey?

Mr. Dorsey: (02:35:41 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7plcé63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFram=PastedDeeplink&ts=9341.98))

Thank you. Well, if we're considering three to five years out, | think the realization that a centralized global content moderation
system does not scale and we need to rethink how we operate these services. And 1 would point to, we certainly need
transparency around any process that we have and around the practice and the outcomes of those iterations. But | think
having more control so that individuals can moderate themselves, pushing the power of moderation to the edges and to our
customers and to the individuals using the service. is something we'll see more of. And | also believe that having more choice
around how algorithms are altering my experience and creating my experience is important. So being able to turn off ranking
algorithms, being able to choose different ranking algorithms that are found written by third party developers in somewhat of
an algorithmic marketplace, | think is important and a future that would excite and energize us.

Speaker 3: (02:36:55 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ Sal8JWOTcicE7pilc63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZSrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=9415.89))

Thank you. I've appreciated my interaction with both of your companies in the run-up to this, and | think both of you said some
meaty things there about ways we can move toward greater transparency. So "ll follow up again. Thank you, Mr. Chairman.

Mr. Graham: (02:37:07 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8JWOTcicE7plc63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5¢NzdADUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=9427,53))

Thank you, Senator Whitehouse?

Sheldon Whitehouse: (02:37:09 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Sal8JWOTcicE7plc63qbN5YS9N2ZEXxkO_EVTEes7mMHP_N kJpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo?7loadFrom=PastedDeeplink&ts=9429,49}}

Thank you, Chairman. Gentlemen, let me start with just a moments history ta give some context to my questions. When the
tobacco industry discovered that its product was deadly, it responded to that news with a systematized program of denying
that set of facts. The upshot for the tobacco industry was not great. It was found in federal court have been engaged in
massive fraud and was put under court order to cease its fraudulent behavior. At around the same time. the fossil fuel industry
began to run into a similar problem regarding the effects of its product and it picked up the tobacco industry scheme kind of
where it left off, including using some of the same individuals, some of the same entities. many of the same methods as the
tobacco industry's denial operation.

Sheldon Whitehouse: (02:38:14 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7picé3qbN5Y59N2ZEXxkO_ EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSiNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=9494.17))

These are persistent, highly motivated, very well-funded and complex information operations, not unlike a hostile intelligence
service would run, and they are quite secretive. And we're now seeing a new form. | guess you'd call it election denial.
happening around our country right now. So that's the background that | come at this from seeing and I'm wondering if each of
you see a difference between individual error and basically mass disinformation. Is there a difference between odd people with
fringe views who offer personal opinions and an orchestrated plan of deliberate misinformation or disinformation that is driven
by motivated interests, whether foreign or domestic?

Mr. Zuckerberg: (02:39:11 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pic63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM2s
BSo?loadFrom=PastedDeeplink&ts=9551.39))

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Senator, | absolutely think that there's a difference and you can see it in the patterns of use on the platforms. And in our
policies and operations. we view these coordinated, inauthentic behavior operations networks of fake and sometimes
combining with real accounts to push aut a message. but make it seem like it’s coming from a different place than it is, or it
might be more popular than it is. This is what we saw the Internet Research Agency out of Russia do in 2016. And since then, a
number of other governments and private organizations, including some companies like what you've mentioned, have engaged
in this behavior.

Mr. Zuckerberg: (02:39:58 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_BalJWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=9598.79))

Now, the good news is that | think that the industry has generally gotten its systems to be a lot more sophisticated to defend
against that in the last several years. It’s a combination of Al systems that we've built to find networks of accounts that aren't
really behaving quite the way that a normal person would coupled with large numbers of content reviewers, sometimes with
expertise in counter terrorism or counter-intelligence. And then some signal sharing, whether it's with the intelligence
community, law enforcement, different groups that have expertise in different areas and with other tech platforms. But this is a
big effort on, { think, all of our sides to make sure that we can defend against this kind of interference. And | think we are
getting better and better at it.

Sheldon Whitehouse: (02:40:49 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_SalSJWOTcicE7plcé3qbN5Y59N2ZEXxkO_ EVTEes7MHP_NkJpyZemhawOyRYIEUVIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=9649.8))

Well. let me encourage you to persist. As you know, the last time you were here, you were asked about advertising paid for on
Facebook denominated in rubles, which was not a very sophisticated scheme to be able to penetrate. But Facebook was
unable to penetrate it and your upgrade from that original setup was simply to allow a shell corporation to intermediate
between the real actor and not. So | encourage you to continue to try to make sure that real voices are what are heard on
Facebook. Mr. Dorsey, let me turn ta you and ask you the same question in the context of bots. Brown University recently did a
study that showed that about 25% of all tweets about climate change are generated by bots. Most of them obviously push out
climate denial, as | described that operation. How is Twitter's capacity to identify a bot as opposed to a real customer?

Mr. Dorsey: (02:41:59 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_8alBJWOTcicE7pIc63qbNSY59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=9719.21))

Well, to build off your previous question, | do think there is a difference, as Mark said, and I do think there are many coordinated
campaigns to manipulate the public conversation, to divide people all around the world, to confuse them and generally to
distract. And we do have policies and enforcement to prevent as much of this as possible. It is a growing threat and it shows no
signs of slowing down. Bots are one way that entities do this. Sometimes it may look like a bot, but it’s actually a human that it
is ofganized with other humans for a particular agenda. So it is challenging. We are doing work right now to better identify bots
on our service as a-

Sheldon Whitehouse: (02:42:48 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alSJWOTcicE7plceé3qbNSY59N2ZEXxkO_ EVTEes 7MHP_NkIpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=9768.11))

Let me just interject Mr. Dorsey real quick. As a baseline proposition. do you agree that a bot does not deserve a voice on your
platform? That it should be actual people and organizations?

Mr. Dorsey: (02:43:01 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al@JWOTcicE7plcé3qbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=9781.64)}

| don’t agree with that as a high-level. | think we should be labeling bots so that people have greater context for what they're
interacting with.

Sheldon Whitehouse: (02:43:10 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_Bal8JWOTcicE7picéSqoNSYS9N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEU1PZ5r NzdAbUJvqAM25
https:/Avww.rev.convbleg/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-1 7 42/62
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BSo?7loadFrom=PastedDeeplink&ts=9790.13))
Fair enough.

Mr. Dorsey: (02:43:11 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JWOTcicE7picé3qbNSY59N2ZEXxkO_EVT Ees7MHP_NkJpyZemhawOyRYIEUIPZ5S rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=9791.34))

There are plenty of bots on our service that provide a valuable function and | wouldn't want to take that away.

Sheldon Whitehouse: (02:43:20 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8 WO TeicE7plcé3qbNS5Y59N2ZEXxkO_EVTEes 7MHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=9800.33))

Let me ask both of you, and maybe you can supplement this with the answer in writing for the record because my time is
getting short and this is a complicated question, but the question is when does it matter to Twitter and when does it matter to
Facebook to know who the actual entity is who is using your platform? Let me start with you. Mr. Dorsey. since Mr. Zuckerberg
went first last time. And you can defer to a written answer if you'd like, because my time is running very short.

Mr. Dorsey: (02:43:58 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIWOTcicE7pIcé3qbNSY59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZS rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=9838.4))

We'll add to this conversation with a written answer, but | do believe that pseudonymity is important. We have seen its
usefulness with activists and with whistie blowers, and | think that is critical. But certainly there are times, and it's charged by
the severity of potential outcomes, where we need to dig into identity and take actions.

Sheldon Whitehouse: (02:44:27 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_B8al8JWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkIJpyZemhawOyRYIEUIPZ 5 NzdAbUIvgAM2s
BSo7loadFrom=PastedDeeplink&ts=9867.72))

We'll follow up with that. And let me just ask you, since my time has expired. Mr. Zuckerberg, to respond or have your
organization respond in writing. Thank you.

Mr. Graham: (02:44:36 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBIWOTcicE7pilcé63qbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1 P25rNzdAbUIJvqgAM23
BSo7loadFrom=PastedDeeplink&ts=9676.8)}

Thank you. Senator Whitehouse brought up something very important. Now I'm going to ask this as directly as I can. To
Facebook and Twitter, do you have any internal research or evidence to suggest that your platforms can be addictive? Mr.
Zuckerberg?

Mr. Zuckerberg: (02:45:04 (https://www.rev.com/transcript-
editor/shared/qe7Kci_8al8IWOTcicE7pic63qbNSYS9N2ZEXxkO_ EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM 23
BSo7loadFrom=PastedDeeplink&ts=9904.41))

Senator, | think we can follow up with a summary of research that we have. But from what I've seen so far, it's inconclusive and
most of the research suggests that the vast majority of people do not perceive or experience these services as addictive or
have issues. But | do think that there should be controls given to people to help them manage their experience better. And this
is something that we're very focused on.

Mr. Graham: (02:45:32 {https://www.rev.com/transcript-
editor/shared/qe7Kcl_Sal8JWOTeicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=9932.06))

Mr. Dorsey?

Mr. Dorsey: (02:45:34 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_8al8JWOTcicE7picS3qbNSY59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqAM23
BSo?7loadFrom=PastedDeeplink&ts=9934.47))

I'm not aware of interna! research. but we can follow up. But | do think, like anything else, these tools can be addictive and we
should be aware of that, acknowledge it, and make sure that we are making our customers aware of better patterns of usage.

https://www.rev.comy/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 43/82
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So the more information the better here.

Mr. Graham: (02:45:55 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIELIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=9955.5))

Thank you. Senator Hawley?

Josh Hawley: (02:45:56 (https://www.rev.com/transcript-
editor/shared/qe7Kci_Sal8JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYVIELIPZ5rNzdAbUdvgAM23
BSo7loadFrom=PastedDeeplink&ts=9956.71))

Thank you, Mr. Chairman. In the late 19th century, the heads of the biggest corporations in America, the robber barons, got
together and they set rates, they set prices, they determined how they would control information flow. They determined how
they'd get rid of competition. And I'll be darned if we aren't right back there again. Except for this time, you're the robber
barons. Your companies are the most powerful companies in the world and | want to talk about how you're coordinating
together to control information. In recent days, my office was contacted by a Facebook whistleblower, a former employee of
the company, with direct knowledge of the company’s content moderation practices. And | want to start by talking about an
internal platform called Tasks that Facebook uses to coordinate projects, including censorship. The Tasks platform allows
Facebook employees to communicate about projects they're working on together. That includes Facebook's censorship teams,
including the so-called community wellbeing team, the integrity team, and the hate speech engineering team, who all use the
task platform to discuss which individuals or hashtags or websites to ban. Now, Mr. Zuckerberg, you're familiar with the test
platform, aren’t you?

Mr. Zuckerberg: (02:47:11 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIWOTcicE7plcé6SqoN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=10031.05))

Senator, we use the Task system for, | think it's, as you say, for people coordinating all kinds of work across the company,
although I'm not sure if I'd agree with the characterization specifically around content moderation that you gave.

Josh Hawley: (02:47:28 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_6al8IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=10048.6))

Well, let's get into that. And let me see if we can refresh your memory and provide folks at home watching with an example.
Here over my shoulder is an example, is a screenshot of the Task platform in use. You'll notice, if the cameras zoom in, several
references to election integrity throughout on these lists of tasks. Again, this is shared across Facebook sites, company
locations by working groups. What particularly intrigued me is that the platform reflects censorship input from Google and
Twitter as well. So as | understand it, Facebook censorship teams communicate with their counterparts at Twitter and Google,
and then enter those companies suggestions for censorship onto the task platform so that Facebook can then follow up with
them and effectively coordinate their censorship efforts. Mr. Zuckerberg, let me just ask you directly under oath now, does
Facebook coordinate its content moderation policies or efforts in any way with Google or Twitter?

Mr. Zuckerberg: (02:48:32 (https://www.rev.com/transcript-
editor/shared/qe7Kci_S8alBIWOTcicE7plcé63qbNSY59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawO0yRYIEU1PZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=10112.19}}

Senator, let me be clear about this. We do coordinate on and share signals on security related topics. So for example, if there is
signal around a terrorist attack or around child exploitation imagery or around a foreign government creating an infiuence
operation, that is an area where the companies do share signals about what they see. But | think it’s important to be very clear
that that is distinct from the content and moderation policies that we or the other companies have, where once we share
intelligence or signals between the companies, each company makes its own assessment of the right way to address and deal
with that information.

Josh Hawley: (02:49:21 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7picé3qbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZSrNzdAbUIvqgAM23
BSo7loadFrom=PastedDeeplink&ts=10161.06))

hitps:/Awww.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 44/62
Case 1:21-cv-20684-BB Document 1-25 Entered on FLSD Docket 02/18/2021 Page 45 of 82

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Well, I'm talking about content moderation, I'm talking about individuals. websites, hashtags, phrases to ban. {s it your
testimony that you do not communicate with Twitter or Google about content moderation, about individuals, websites, phrases.
hashtags to ban? Just yes or no? Do you communicate with Twitter or Google about coordinating your policies in this way?

Mr. Zuckerberg: (02:49:46 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7pilc63qbN5Y59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=10186.88))

Senator, we do not coordinate our policies.

Josh Hawley: (02:49:49 (https://www.rev.com/transcript-
editor/shared/ge7Ke1_Bal8JWOTcicE7plcé3qbNSYS9N2ZEXxkO_EVTEes7mH P_NkJpyZemhawOyRYIEU1IPZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=10189.2))

Do your Facebook content moderation teams communicate with their counterparts at Twitter or Google?

Mr. Zuckerberg: (02:49:56 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7plcé3qbNSY5S9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=10196.39})

Senator, I'm not aware of anything specific, but | think it would be probably pretty normal for people to talk to their peers and
colleagues in the industry. [crosstalk 02:50:05)

Josh Hawley: (02:50:04 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_SalBOWOTcicE7pilc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=10204.97))

It would be normal. but you don't do it?

Mr. Zuckerberg: (02:50:07 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7plc6SqbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=10207,72)}

No, I'm saying that I'm not aware of any particular conversation, but | would expect that some level of communication probably
happens. It's different from coordinating what our policies are or our responses in specific instances.

Josh Hawley: (02:50:22 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pic63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNZdAbUJvqgAM23
BSo?loadFrom=PastedDeeplink&ts=10222.39))

Well fortunately, | understand that the task platform is searchable. So will you provide a list of every mention of Google or
Twitter from the task platfarm to this committee?

Mr. Zuckerberg: (02:50:34 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes/mH P_NkIpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=10234.82))

Senator, that's something that I can follow up with you and your team after on.

Josh Hawley: (02:50:39 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plc63qbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYlEU1PZ5rNzdAbUJvqgAM23
8So07loadFrom=PastedDeeplink&ts=10239.42)}

Yes or no? I'm sure you can follow up with the list, but why don’t you commit while I've got you here under oath, it’s so much
better to do this under oath. Will you cammit now to previding a list from the tasks platform of every mention of Google or
Twitter?

Mr. Zuckerberg: (02:50:55 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8al8 JWOTcicE7plcé3qbN5YS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZSrNzdAbUJvqAM23

BSo7loadFrom=PastedDeeplink&ts=10255.02)}

Senator, respectfully, without having looked into this, I'm not aware of any sensitivity that might exist around that. Sol don't

think it would be wise for me to commit to that right now. So | would have to follow-
hitps://www.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-1 7 45/82
Case 1:21-cv-20684-BB Document 1-25 Entered on FLSD Docket 02/18/2021 Page 46 of 82

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Josh Hawley: (02:51:08 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbNSYS9N2ZEXxkO_EVTEes7MHP_NkJpyZemhawO0yRYIEUIPZSrNzdAbUJvqAM2s
BSo?loadFrom=PastedDeeplink&ts=10248))

That's a no. How many items on the task platform reflect that Facebook, Twitter, and Google are sharing information about
websites or hashtags or platforms that they want to suppress?

Mr. Zuckerberg: (02:51:20 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_S8alBJWOTcicE7pic63qoN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawO0yRYlEUIPZSrNzdAbUJvgAM23
BSotioadFrom=PastedDeeplink&ts=10280.14))

Senator, | do not know.

Josh Hawley: (02:51:23 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=10283.4))

Will you provide a list of every website and hashtag that Facebook content moderation teams have discussed banning on the
task platform?

Mr. Zuckerberg: (02:51:33 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_8al8JwOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mH P_NkJpyZemhawOyRYIEU1PZ5rNzdAbUQvqAM23
BSo7loadFrom=PastedDeeplink&ts=10293.56))

Senator again, | would be happy to follow up with you or your team to discuss further how we might move forward on that, but
[crosstalk 02:51:42).

Josh Hawley: (02:51:41 (https://www.rev.com/transcript-
editor/shared/qe7Kci_BalBJWOTcIcE7pilcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSNzdAbUJvqAM25
BSo?loadFrom=PastedDeeplink&ts=10301.54))

Will you commit to it here? Senator Cruz and Senator Lee both asked you for lists of individuals. websites, entities that have
been subject to content moderation, You expressed doubt about whether any such information exists, but you've also now said
that the task website. You've acknowledged the test platform exists, that it is searchable. So will you commit to providing the
information you have logged on the task website about content moderation that your company has undertaken? Yes or no?

Mr. Zuckerberg: (02:52:09 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBJWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZ5rN2dAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=10329.25))

Senator, | think it would be better to follow up once I've had a chance to discuss with my team what any sensitivity around that
would be that might prevent the kind of sharing that you're talking about. But once I've done that, | would be happy to follow
up.

Josh Hawley: (02:52:25 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8IJWOTcicE7pic6SqbNSYS9N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=10345.98))

All right. So you won't commit to do it here. We could of course subpoena this information, but I'd much rather get it from you
voluntarily. But | think, let everybody take note, that Mr. Zuckerberg has now repeatedly refused to provide information that he
knows that he has and has now acknowledged that he has, that Tasks has [inaudible 02:52:42] Let me switch toa different
topic. Mr. Zuckerberg, tell me about Sentra. What is the Facebook internal tool called Sentra?

Mr. Zuckerberg: (02:52:51 (https://www.rev.com/transcript-

editor/shared/qe7Kce1_ SalBIWOTcicE7plcéSqbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM2s
BSo?loadFrom=PastedDeeplink&ts=10371.55))

Senator, I'm not aware of any tool with that name.

Josh Hawley: (02:52:55 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE 7plc63qbNSY59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZ5rN2zdAbUIvgAM23

https://www.rev.com/blogitranscripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 46/62
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BSo?ioadFrom=PastedDeeplink&ts=10375.77))

Well. let me see if this refreshes your memory. There's a demonstrative now over my shoulder. Sentra is a tool that Facebook
uses to track its users not just on Facebook, but across the entire internet. Sentra tracks different profiles that a user visits,
their message recipients. they're linked accounts, the pages they visit around the web that have Facebook buttons. Sentra also
uses behavioral data to monitor users accounts even if those accounts are registered under a different name. And you can see
a shot here, a screenshot provided to us of the central platform. We blocked out the user's name in the interest of privacy.
although you can see this individual's birth date and age. when they first started using Facebook. their last login, as well as al
manner of trackings. How many different devices have they used to access Facebook? How many different accounts are
associated with their name? What accounts have they visited? What photos have they tagged? And on and on and on. Mr.
Zuckerberg, how many accounts in the United States have been subject to review and shut down through Sentra?

Mr. Zuckerberg: (02:53:52 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_SalJWOTcicE7pic63qbN5YS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=10432.61))

Senator, | do not know because I’m not actually familiar with the name of that tool. I'm sure that we have tools that help us
with our platform and community integrity work, but | am not familiar with that name.

Josh Hawley: (02:54:06 (https://www.rev.com/transcript-

editor/shared/qe7Kci_8al8JWOTcicE 7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=10446.64))

Do you have a tool that does exactly what I've described and that you can see here over my shoulder? Or are you saying that
that doesn't exist?

Mr. Zuckerberg: (02:54:15 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_SalBJWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes?mH P_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&is=10455.58)}

Senator, {'m saying that I'm not familiar with it and that I'd be happy to follow up and get you and your team the information
that you would like on this. But I'm limited in what I’m familiar with and can share today.

Josh Hawley: (02:54:32 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_BalBJWOTcicE7pic63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIJvgAM23
BSo7loadFrom=Pasted Deeplink&ts=10472.93))

Always amazing to me. Mr. Chairman, how many people before this committee suddenly develop amnesia. Maybe it is
something about the air in the room. Let me ask you this, when a Facebook employee accesses a user's private information like
their private messages or their personally identifiable data, is a record made of that, Mr. Zuckerberg?

Mr. Zuckerberg: (02:54:53 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_BalBIWOTcicE7plco3qbN5Y59N2ZEXxkO_EVTEes?MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=10493.03))

Sorry Senator, could you repeat that?

Josh Hawley: (02:54:54 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8alBJWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes 7MHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=10494,75))

Record made of any time a Facebook employee accesses a user's private information, personal identifiable information?

Josh Hawley: (02:55:03 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al@JWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes/mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqgAM23
BSo?loadFrom=PastedDeeplink&ts=10503.371))

.. private information, personal identifiable information, For example, messages. Is a record made anytime a Facebook
employee does that?

Mr, Zuckerberg: (02:55:09 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8IWOTcicE7plcé3qbN5YS9N2ZEXxkG_EVTEes7mH P_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23

https:/Avww.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-Iranscript-senate-tech-hearing-november-17 47182
Case 1:21-cv-20684-BB Document 1-25 Entered on FLSD Docket 02/18/2021 Page 48 of 82

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BSo7ioadFrom=PastedDeeplink&ts=10509.39)}

Senator, | believe so.

Josh Hawley: (02:55:10 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_ 8al8JWOTcicE7plcé3qbN5YS9N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5:rNZzdAbUvgAM23
BSo?7loadFrom=PastedDeeplink&ts=10510,85))

Does it trigger an audit?

Mr. Zuckerberg: (02:55:14 (https://www.rev.com/transcript-

editor/shared/qe7Kci_8al8 JWOTcicE7plcé3qbNS5Y59N2ZEXxkO_EVTEes 7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUQvqAM23
BSo7loadFrom=PastedDeeplink&ts=10514.24))

Senator, | think sometimes it may.

Josh Hawley: (02:55:18 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbNSYS9N2ZEXxkO_EVTEes?7mHP_NkiJpyZemhawOyRYIEUIPZS rNzdAbU I vqAM23
BSo7?loadFrom=PastedDeeplink&ts=10518.37))

How many audits have been conducted?

Mr. Zuckerberg: (02:55:21 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes/mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=10521.44))

Senator, | do not know the exact number of audits off the top of-

Josh Hawley: (02:55:23 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbN5YS9N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=10523.99})

Can you get me a list?

Mr. Zuckerberg: (02:55:26 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIELMIPZSrNzdAbUJvqgAM23
BSo7loadFrom=PastedDeeplink&ts=10526.47)}

Senator, we can follow up on that to see what would be useful here.

Josh Hawley: (02:55:31 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqgAM23
BSo7loadFrom=PastedDeeplink&ts=10531.53))

I'm almest finished, Mr. Chairman. Will you commit to giving us a list of the number of times Facebook employees have
accessed users’ personal account information without their knowledge? Yes or no?

Mr. Zuckerberg: (02:55:45 (https://www.rev.com/transcript-

editor/shared/qe7Kce1_8al8 JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM2s
BSo7loadFrom=PastedDeeplink&ts=10545.58)}

Senator, we should follow up on what would be useful here. It is, of course, in the operations of the company, if someone
reports something, sometimes necessary for people at the company to go review and understand the context around what is
happening when someone reports something. Sc this is fairly frequent and is a matter of course. We do have security systems
that can detect anomalous patterns to flag, but we should follow up in more detail on what you're interested in,

Josh Hawley: (02:54:19 (https://www.rev.com/transcript-
aditor/shared/qe7Kc1_Sal8JWOTcIcE7picé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZSrN2dAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=10579.28))

Mr. Chairman, I'll just say in closing that what we have here is clear evidence of coordination between Twitter. Google. and
Facebook. Mr. Zuckerberg knows he has the tools to track this, but he either doesn't remember or won't commit to letting us
see it. We have evidence of Facebook tracking its own users all across the web, Mr. Zuckerberg won't answer questions about it,
can't remember the name, isn’t sure if the tool is deployed in this way. and won't commit to giving us basic information. |

htips:/Awww.rev.com/blog/ranscripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 48/82
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submit to you that this is both totally unacceptable and totally predictable because it is exactly what these tech companies
have done to the American people and to Congress for years now, which is why itis time we took action against these modern
day robber barons. Thank you, Mr. Chairman.

Chairman Graham: (02:56:58 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7pilc6SsqbNSY59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=10618.98))

Senator Klobuchar.

Senator Klobuchar: (02:57:00 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_S8al8IwOTcicE7pilco3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5 NzdAbUIvqAM23
BSo?7loadFrom=PastedDeeplink&ts=10620.58)}

1 thank you very much, Mr. Chairman, I'm, as you know, the lead Democrat on the Antitrust Subcommittee. and I’m going to take
a little different approach here than Mr. Hawley did when it comes to competition policy because | understand why they might
be coordinating when it comes to security. What | want to focus on is what § think we're seeing all over this country, not just in
tech. We're seeing a start-up slump, we're seeing more and more consolidation. And throughout history, we've seen that that is
not good for small businesses, it's not good for consumers, and it’s not good for capitalism tn the end. Even successful
companies, even popular companies, and even innovative companies are subject to the antitrust laws of this country. When |
asked Mr. Pichai about this at the Commerce Committee hearing a few weeks ago, he said, he told me Google was happy to
take feedback. And my response was that the Justice Department already provided feedback in the form of a federal antitrust
complaint. And | know there is investigation reportedly going on out of the FTC right now regarding your company, Mr.
Zuckerberg.

Senator Klobuchar: (02:58:12 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8al8JWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes?7MHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=10692.72))

So | want to start with exclusionary conduct regarding excluding smaller competitors by limiting interoperability with the
Facebook platform. The investigation that we saw in the House recently gave us a number of examples of companies, excluded
companies, including Vine, Stackla, MessageMe, and Ark. And my view is this conduct. exclusionary conduct, not only damaged
the ability of these smaller businesses to compete, but it deprived customers of convenient access. You're one of the most
successful companies, biggest companies in the world, Mr. Zuckerberg, Facebook. Do you think that this is fair competition or
not with regard to the interoperability and how you've conducted yourself with these other companies?

Mr. Zuckerberg: (02:59:04 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBJWOTcicE/pilcé3qoNSYSON2ZEXxkO_EVTEes7mHP _NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=10744.26))

Senator. I'm generally strongly in favor of interoperability and building platform and API access for companies to be able to
access. That's why we built the Facebook platform in 2007. Some of the policies that you mentioned | think came about
because what we were seeing was not necessarily startups, but larger competitors like Google and some of our Chinese rivals
from trying to access aur systems in order to use their scale to compete with us better. And it just felt to us like, at the time,
that that wasn't the intent of what we were trying to enable.

Senator Klobuchar: (02:59:42 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=10782.31))

Okay, well, we may have a non-Chinese example here. | just want to know. | know that maybe we could hear from Mr. Dorsey.
And | have concerns about Facebook's treatment of Twitter's subsidiary, Vine. It’s my understanding is that once Facebook
recognized Vine as a competitor after Twitter acquired it in 2013, it cut off Vine’s ability to interoperate with Facebook so that
Vine users couldn't upload their videos to Facebook, And then | think that Twitter shut down Vine in 2016. Mr. Dorsey. could you
tell me about the actual impact of Facebook's actions on Vine's business, on Vine's ability to compete, and on your decision to
shut down the service? And | know you're not a Chinese company.

hitps:/Awww.rev.convblog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 49/82
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Mr. Dorsey: (03:00:29 (https://www-rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=10829.05))

Well, | don’t know about the intent on the other side, but | know our own experience was we found it extremely challenging to
compete with Vine. And ultimately, decided that the ball moved past us and we shut it down. Again, | don’t know the specifics
and the tactics and what was done, but we did find it very, very challenging market to enter even though we existed prior to
some of our peers doing the same thing.

Senator Klobuchar: (03:01:03 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_SalBIWOTcicE7picésquN5YS59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=10863.9))

Okay, I'm going to move te something else quickly, Instagram and WhatsApp. We have some released internal Facebook emails
in which you, Mr. Zuckerberg, wrote that Instagram was nascent, and if they grow to a large scale, they could be very disruptive
to us. And in a later email, you confirmed that one of the purposes of Facebook acquiring Instagram would be to neutralize a
competitor. You wrote those emails that were mentioned in that House report. Is that right, Mr. Zuckerberg?

Mr. Zuckerberg: (03:01:33 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIWOTcicE7pilcé3qbN5YS9N2ZEXxkO_ EVTEes ?7mHP_NkJpyZemhawOyRY IEUIPZS5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=10893.16))

Senator, | believe so. And I've always distinguished between two things, though. One is that we had some competition with
Instagram in the growing space of kind of camera apps and photo sharing apps. But at the time. | don’t think we or anyone else
viewed Instagram as a competitor as a kind of large multipurpose social platform. In fact. people at the time kind of mocked our
acquisition because they thought that we dramatically spent more money than we should have to acquire something that was
viewed as primarily a camera and photo sharing app at the time.

Senator Klobuchar: (03:02:11 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_SalBJWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=10931.42))

Okay. well, and then here's the issues though. We don't know how it would have dane, And when we look at your emails, it kind
of leads us down this road, as well with WhatsApp, that part of the purchase of these nascent competitors is to. I'll use the
words of FTC Chairman Joe Simons who just said last week. "A monopolous can squash a nascent competitor by buying it. not
just by targeting it with anti-competitive activity.” So | know that this is a subject of investigation. Maybe we'll be hearing
something soon. But I think it’s something that committee members better be aware of, not just with Facebook, but what's
been going on with these deals that have gone through and how it has led to more and more consolidation, and how we as the
Senate, and | just talked to Chairman Graham about this last week. could actually do something about this by changing some
of the standards in our laws to make it easier to bring these cases, and not just involving tech.

Senator Klobuchar: (03:03:10 (https://www.rev.com/transcript~
editor/shared/qe7Ke1_SalBIWOTcicE7picéSqbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=10990.15))

So | want to go to something here at the end, the political ad discussion we had in front of the Commerce Committee. Mr.
Zuckerberg. | know you said that Facebook had made over $2 billion on political ads over the last few years. You said, this was
your quote, “Relatively small part of your revenue.” | know that, but it’s kind of a big part of the lives of politics when that much
money is being spent on ads. This is a bill | actually have with Senator Graham. And yet. we have seen these political ads that
keep creeping through despite your efforts to police them on your own. And this is why | would so badly like to pass The
Honest Ads Act. One ad that went through. it says, “In three battleground states, ballots marked for Donald Trump had been
discarded. Poll, will voter fraud only increase closer to November?” So it stated in three battleground states. paid ad. ballots
marked for Donald Trump had been discarded. This played between September 29th and October 7th, 2020, had up to 200.000
impressions. Does this ad violate Facebook's policy?

hitps:/Awww.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 50/82
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Mr. Zuckerberg: (03:04:16 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7plc63qbNS5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZS5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=11056.57))

Sorry, can you repeat what the ad was?

Senator Klobuchar: (03:04:21 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8al8JWOTcicE7plc63qbN5YS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeepijpk&ts=11061.71)}

The ad was an American Action News ad they've advertised a lot of in your platform. And It said, “In three battleground states,
ballots marked for Donald Trump had been discarded. This was pre-election.

Mr. Zuckerberg: (03:04:36 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBJWOTcicE7plcé63qbN5YS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawDyRYIEU1PZ5rNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=11076.85})}

Senator, | don't know off the top of my head if that specific ad violates our policies. I'd be happy to follow up afterwards on
that.

Senator Klobuchar: (03:04:42 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_8al8JWOTcicE7ple63qbNS5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZS5rN2zdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=11082.96))

Okay, would you commit to a policy where actual people's eyes, people, could review these ads instead of just being hit with
algorithm review?

Mr. Zuckerberg: (03:04:57 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_BalBJWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?7loadFrom=PastedDeeplink&ts211097.04))

Senator, we do have a review and verification of political advertisers before they can advertise.

Senator Klobuchar: (03:05:03 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_BalBJWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes?7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=11103.42))

Okay, so does every ad go through a human being like the TVs do?

Mr. Zuckerberg: (03:05:13 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8alBIJWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIJvqAM23
BSo?loadFrom=PastedDeeplink&ts=11113.03))

Senator, | think our policy is that we want to verify the authenticity of anyone who's doing political or social issue advertising.
And | think it’s worth noting that our people reviewers are not, in all cases, always more accurate than the technical systems-

Senator Klobuchar: (03:05:33 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7picé6SqbNSYS9N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvGAM23
ASo?7loadFrom=PastedDeeplink&ts=11133.44))

Okay, so are you saying a human being reviews every ad? It's just really yes or no or | don't know?

Mr. Zuckerberg: (03:05:36 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBJWOTcicE7pilcé3qbN5YS59N2ZEXxkO_EVTEes7MHP_NkJpyzemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedOeeplink&ts=11136.79))

Senator, | don’t know. | don't think so.

Senator Klobuchar: (03:05:39 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8alBJWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvgAM25

BSo7loadFrom=PastedDeeplink&ts=11139.3))

Okay. Well, we'll follow up then in the written. And then you brought these cease and desist order against NYU for publishing a

report that noting aver the last two years, Facebook has not properly labeled approximately 37 million in political ads. Why
hitps://www.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-1 7 51/82
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would you not support this project? Why would you bring a cease and desist against them?

Mr. Zuckerberg: (03:06:02 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7pilc63qbNS5Y59N2ZEXxkO_ EVTEes7mHP_NkJ pyZemhawOyRY |IEU1PZ5rNzdAbUJvgAM23
BSo?loadFram=PastedDeeplink&ts=11142.87))

Senator, is that the project that was scraping the data in a way that might've been a-

Senator Klobuchar: (03:06:08 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8IWOTcicE7pilcé3qbN5Y59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRY/|EU1PZS5rNzdAbUJvgAM23
BSo?7loadFrom=PastedDeeplink&ts=11168 14))

That’s your definition, but it’s.

Mr. Zuckerberg: (03:06:09 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE/picé3sqbNSY59N27EXxkO_EVTEes7mMHP_NkipyZemhawOyRYIEUIPZSrNzdADUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=11169.73))

The FTC consent decree that we have.

Senator Klobuchar: (03:06:12 (https://www.rev.com/transcript-
aditor/shared/qe7Ke1_S8al8WOTcicE7picésqbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=11172.33}}

The reason it’s happening is we haven't passed The Honest Ads Act. So they're trying, they're not violating privacy, they're
trying to get the ads so people can see the ads. other campaigns. journalists, everyone.

Mr. Zuckerberg: (03:06:25 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JWOTcicE7pilc6SqbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=11185.5))}

Senator, you know that | support The Honest Ads Act and agree that we should have that passed. And even before that, that
we've implemented it across our systems. But | think in the case that you're referring to, that project was scraping data in a
way that we had agreed in our FTC consent decree around privacy that we would not allow. So we have to follow up on that
and make sure that we take steps to stop that violation.

Senator Klobuchar: (03:06:56 (https://www.rev.com/transcript-
editor/shared/qe7kc1_8al8IWOTcicE7picé3qbNSYS9N2ZEXxkO_ EVTEes 7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=11216.72}}

Okay. Last, Mr. Dorsey, do you think there should be more transparency with algorithms as part of this is not just — And I'm off
of the ads now. I'm on just generically, Part of this is that people don’t know how this data is going across the systems and
across the platforms. And people basically are buying access, has been my impression. So that even if you say like, “What's the
news in the last 24 hours?” Old stuff comes up. Something's gone awry from the beginnings of this. Would it be helpful, do you
think, if there was more transparency with algorithms?

Mr. Dorsey: (03:07:33 (https://www.rev.com/transcript- he
editor/shared/qe7Kc1_BalBJWOTcicE7plc63qgbN5Y59N2Z7EXxkO_EVTEes7mHP_NkIpyZemhawOyRY |EUIPZ5rNzdAbUIJvaAM23
BSo?loadFrom=PastedDeeplink&ts=11253.47))

I do think it would be helpful, but it’s technically very, very challenging to enforce that. | think a better option is providing more
choice to be able to turn off the algorithms or choose a different algorithm so that people can see how it affects one’s
experience.

Senator Klobuchar: (03:07:49 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al89WOTcicE7plcé63qbNS5YS9N2ZEXxkO_EVTEes7mMHP_NkdpyZemhawOyRYIEUIPZSrNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=11269.39))

Okay. Thank you. And | ask that both of you look at the bill that Senator Kennedy and | have, the Journalism Competition and
Preservation Act, to help the content providers negotiate with digital platforms. Thank you.

Chairman Graham: (03:08:03 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_.8al8JWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIELMIPZ5rNzdAbUJvgAM23
htips://www.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 §2/82
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BSo?7loadFrom=PastedDeeplink&ts=11283.75))
Thank you. Senator Tillis.

Senator Tillis: (03:08:06 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7plcS3qbNSY59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=11286.56)}

Thank you, Mr, Chairman. Thank you, gentlemen, for joining. Mr. Chairman. | know you've asked the question a couple of times
about whether or not these platforms can be addictive. | think they probably can be based on what I've read in one of two
ways. They could be just the nature of the personality and engagement in a tool that they can somehow relate to. But | also
think there is a transactional addiction. And I think you also mentioned social dilemma. | think that's the use of analytics, which
I don't criticize among the platforms, but it’s the use of analytics to addict you to go down a certain path to produce a certain
outcome. And that could either be an outcome forming an opinion or an outcome buying something you didn't even think
about 30 minutes before you started going down that path. So | think there are things that we've got to look at. And | do agree
with Mr. Zuckerberg and Mr. Dorsey, it's not conclusive, but common sense would teil you it's a problem already and it could
become a bigger problem.

Senator Tillis: (03:09:07 (https://www.rev.com/transcript-
editor/shared/qe7Kei_Bal8IWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=11347,78))

Mr. Zuckerberg, I'd fike to go back to the task platform for a minute. When | looked at the screenshot that Senator Hawley put
up, it looked a lot like a work management tool. Can you teil me a little bit about that? And how many people were actually
engaged as users on that platform at Facebook?

Mr. Zuckerberg: (03:09:30 (https://www.rev.com/transcript-
editor/shared/qe7Kci_8alBJWOTcicE7pleé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=11370.8))

Senator, yes, thank you. | was a bit surprised by Senator Hawley’s focus on our task system because all this is, it’s a basic
internal project management tool. It's exactly what the name sounds like. it's used by companies, by people across our
company, thousands of times a day to assign projects and track them. And it's used for all manner of different types of tasks
across different people and teams.

Senator Tillis: (03:10:03 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_SalB8JWOTcicE7pilcé3qoNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUOvgAM23
BSo7loadFrom=PastedDeeplink&ts=11403.72)}

And do you know roughly how many Facebook either contractors or full-time employees are actually users of the task
platform?

Mr. Zuckerberg: (03:10:15 (https://www.rev.com/transcript-
editor/shared/ge7Kce1_Sal8IWOTcicE7plcé63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYiEUIPZ5rNzdADUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=11415.06))

| think that probably the majority of Facebook employees and people we work with have some interaction with the task system
as part of some part of their work. It’s basically just a company-wide to do list.

Senator Tillis: (03:10:32 {https://www.rev.com/transcript-
editor/shared/qe7Ke1_.SalBIWOTcicE7plcé3qbNS5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawO0yRY|EUIPZSrNzdAbU JvqAM23
BSo7loadFrom=PastedDeeplink&ts=11432.44))

The other platform that Senator Hawley mentioned was the Centra platform. You said you weren't familiar with that one, but |
think that is something that would be helpful maybe as a followup to really understand the nature of that platform. | won't
press you on it today because you said you weren't specifically familiar with the name of the tool, but | would be mare
interested in how it's used. But Mr. Dorsey, does Twitter have a platform similar to the task platform for work management
communication among staff?

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Mr. Dorsey: (03:11:05 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ BalBJWOTcicE7picé3qbN5Y59N27EXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=11465,52)}

Absolutely. | mean, even the smaliest companies use these tools. We use a tool called [Tierra 00:03:11:10).

Senator Tillis: (03:11:11 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_8al8JWOTcicE7plc63qbN5Y59N2ZEXxkO_ EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=11471.43))

Yep. | was involved in implementing these in my time in technology sector so | could see why you have these platforms. But Mr.
Zuckerberg, you mentioned you didn’t think there was a systematic coordination between Google and Twitter, but you could
conceive of how people in similar professions may have a discussion, have a relationship, maybe talk about it over a beer. So
could you see how the skeptic could see how these platforms could be used across platforms to force certain outcomes? Let's
say you had 100 people at Facebook, 100 people at Twitter, and 100 people at Google that all had a political bent, They get
together, they share notes, and then they go back and make decisions that could make it appear like it's a corporate initiative,
but it could be an initiative by maybe some well-intentioned, but misguided staff. Could you at least conceive of that being
possible?

Mr. Zuckerberg: (03:12:12 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_8al8 JWOTcicE7picoSqoN5Y59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=11532.7))

Senator, | understand the concern and | think that coordination specifically on writing the policies or enforcement decisions
could be problematic in the way that you're saying. which is why | really wanted to make sure that it was clear that what we do
is share signals around potential harms that we're seeing, whether it's specific content in the aftermath of a terrorist attack
that people are trying to share virally. So that way if one platform is seeing it, another platform can be prepared that it will
probably see that content soon too. Signals around foreign interference in elections. But | think it’s quite important that each
company deals with those signals in the way that is in line with their own policies, And that, | think, is very different fram
saying that the companies are kind of coordinating to kind of figure out what the policies should be. | understand what the
concern would be around that. And that's why | wanted to be clear about what we do and don't do there.

Senator Tillis: (03:13:16 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8al8IWOTcicE7plcé63qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=11596.79))

No, | agree with that. | would find it horribly irresponsible to think that this was some sort of a systematic approach across the
platforms. But just with the sheer numbers of peopie that you all employ now, | could see how some of what's been suggested
here in the hearing could actually occur with just small groups of people trying to manipulate certain outcomes. ij don’t want to
get into details there except to know that the task platform, if it's similar to ones that | have experience with, has a lot of
logging, has a lot of data, to where maybe you could do yourself a service by saying, “| hear what's been suggested here, but in
analyzing the interactions between groups of people and seeing maybe some aberrations, some people being more active and
more geared towards one outcome or another,’ it could actually help you aleve some of our concerns with the way these
platforms are being manipulated.

Senator Tillis: (03:14:14 (https://www.rev.com/transcript-
editor/shared/qe7Kci_Sal8IWOTcicE7pilc63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=11654.48))

I'm not going te have time to drill down into some of the specific questions. | am glad to hear that you all are open on some
regutatory outcome. | will tell you. if you listen to my colleagues on both sides of the aisle today, | fully expect that Congress is
going to act in the next Congress, that we're going to produce an outcome. And some people think that that’s not possible
because that maybe the Republicans and Democrats are far apart. But if you listen to what they're asking you. they're
concerned with a kind of outcome that they didn’t like on social media in equal measure. So ! do believe that you would be
well-served to come to the table as an industry and identify things.

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Senator Tillis: (03:15:02 (https://www.rev.com/transcript-
editor/shared/qe7kc1_8al8JWOTcicE7picé3qbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=11702.64)}

Mr. Zuckerberg, | like what you've said about transparency. And Mr. Dorsey, | do think that the algorithms, when you talk about
the sheer scale, are probably the mast sustainable way to go. But we're still going to have to have some confidence. | like your
concept on choice as well, but we're going to have to have more visibility in what’s occurred and what's produced certain
outcomes. Like a Veteran's Day post that | did after the election, it was actually after my opponent had conceded. | just posted
a picture thanking veterans. And for a period of time, | think it was suspended and directing people towards election results, |
would like to think, if that was a result of an algorithmic decision, that my opponent, who almost certainly posted a veteran's ad
and every other person who was up for election got a similar treatment. Because if they didn’t. it would seem to me that there
was some other factor in play if these algorithms are being applied to the base of. in that case, political commentary from
elected officials or candidates.

Senator Tillis: (03:16:10 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=11770.46})

So | view this hearing as an opportunity to seek your commitment on two things. One | mentioned to you all yesterday, I've got
a Intellectual Property Subcommittee hearing in the middle of December. | would like to have a Facebook and Twitter
representative there. | know that you're very different platforms, but | think you play very prominenily in a hearing that Senator
Coons, who's sitting across from me now, would like to have you represented. | think | can speak for Senator Coons that that
would be helpful. And we'd like to get your commitment to have witnesses for that hearing in the middle of December. Mr.
Zuckerberg, can | get that commitment?

Mr. Zuckerberg: (03:16:46 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=11806.89))

Senator, yes. We will make sure that we have the right subject matter expert to join your hearing.

Senator Tillis: (03:16:53 (https://www.rev.com/transcript-

editor/shared/qe7kKc1_ 8alBIWOTciCcE7pilcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=11813.84))

Thank you. And Mr. Dorsey?

Mr. Dorsey: (03:16:56 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8alBIWOTcicE 7plc63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZS5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=11816,49)}

We'll follow up with determining the best course of action there.

Senator Tillis: (03:17:01 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=11821.2))

Thank you. And then we'll be following up on a series of questions that I'd like to ask that fet me get my head around some of
the analytics information that I think you almost certainly have and hopefully be willing to share it, but we'll do that in a
collaborative way in my office. Thank you for being here today.

Chairman Graham: (03:17:19 (https://www.rev.com/transcript-
editor/shared/qe7Kcl_Sal8IWOTcicE7pilc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhaw0yRYIEUIPZ5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=11839.01))

Thank you. We're going to take a five minute break. | think our witnesses have requested a break and they certainly have
earned it. And if it's okay with you, Senator Coons, we'll come back in about five minutes. Thank you, [inaudible 03:17:43).

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Chairman Graham: (03:22:36 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIWOTcicE7picéZqbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRVIEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=12156.38))

(silence). Okay. Do we have our witnesses on the other end? Mr. Zuckerberg. Mr. Dorsey? We got both. Thank you. I'm sorry we
went so long without a break. Senator Coons.

Senator Coons: (03:23:06 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pic6SqbNSY59N2ZEXxkO_EVTEes ?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=12186.54))

Thank you, Mr. Chairman. In the last four years, we have seen some unprecedented attacks on our democratic institutions, our
social norms, the ways in which we conduct ourselves in this democracy, and many would say on truth itself. And in today’s
society, you can't talk about truth without also considering the impact of social media and social media platforms. So if | might,
Mr. Zuckerberg and Mr, Dorsey, free expression and open debate are, of course, core values of our society. But whether you
wished for it or not, the inescapable fact is your algorithms, your policies, and your business decisions shape what billions of
people across the world, and a working majority of people here in our nation, understand to be true. That's the case for election
integrity, for a potential! COVID-19 vaccine, for climate change, for hateful and dangerous stereotypes. and many other critical
issues.

Senator Coons: (03:24:04 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7plcé63qbN5Y59N2ZEXxkO_EVTEes7mH P_NkJpyZemhawOyRYIEUIPZSrNzd&4bUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=12244.54))

| also want to recognize that it, in no small part, was the hard work of many. led by your ingenuity and resolve, that built these
impressive American companies and revolutionized the way the world communicates. We need that same resolve to reckon
today with what must be done to win our society's battle for truth. Mr. Zuckerberg, as you know, yesterday, | sent you, along
with 14 of my colleagues, a total of 15 senators, we sent you a letter urging Facebook to do more to address hate speech and
calls to violence on the platform. We focused particularly on anti-Muslim bias on an issue that warrants specific attention given
the tragic consequences of anti-Muslim hate speech in Myanmar and Sri Lanka and New Zealand and right here in the United
States. And | appreciate that Facebook has taken actions in response to these issues, but this letter points out why we need
better metrics and transparency to actually evaluate your actions. So my colleaques and | urge better enforcement, in
particular, of your call to arms policy, which could have made a difference in a recent tragedy in Kenosha, Wisconsin.

Senator Coons: (03:25:17 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBJWOTcicE7plcéSqbNSYSON2ZEXxkO_EVT Ees7mHP_NkdpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=12317.61))

You and | spoke last week. | appreciated our conversation. Can | count on you to provide specific and written responses to each
of the questions In this letter? And then can we discuss them again?

Mr. Zuckerberg: (03:25:33 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal@JWOTcicE7picé3qbN5Y59N2ZEXxkO_ EVTEes7mMHP_NkJpyZemhawOyRYIEU 1PZ5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=12333.32))

Senator, yes. | read your letter and | commit to getting back in detail with our team to address the important topics that you've
raised. And one of your questions that | can actually answer right now, | think it was your second question about reporting in
our quarterly transparency reports about the prevalence of hate speech that we find on our platforms. We will actually be
adding that metric into our transparency reports this Thursday when we announce our latest transparency report.

Senator Coons: (03:26:16 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_8al8JWOTcicE 7pilcé3qbNSYS9N2ZEXxkO_EVTEes 7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=12376.41)}

Thank you, Mr, Zuckerberg. Let me just make sure | hear you right about prevalence because that's one of my areas of concern
is the absence from the report of the prevalence of hate content. You mean you'll be reporting, not just what percentage of
hate speech on the platform you're identifying. catching, proactively removing, but the total volume?

hitps:/Awww.rev.com/blag/transcripts/mark-zuckerberg -jack-dorsey-testimony-transeript-senate-tech-hearing-november-17 §6/82
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Mr. Zuckerberg: (03:26:37 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Gal8IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_N kIpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=12397.96))

Senator, that’s my understanding is, yeah, the prevalence of that content as a percentage of content on the platform. And over
time, our goal is going to be to get into more detail, which is the subject of some of the questions that you've asked here, as
well as we've already committed to an independent audit of the community standards enforcement reports. So that way
people can have full confidence in all of the numbers that we're putting out. We've been doing these reports for, | think, less
than a few years now. And we'll continue to flesh them out and add more details, that way people can apply the appropriate
oversight and scrutiny to the work.

Senator Coons: (03:27:21 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIWOTcicE7plc63qoNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhaw0yRYIEUIPZSrNzdAbU JvqAM25
BSo7loadFrom=PastedDeeplink&ts=12441.446))

Thank you. { want to move on for a moment, if | could, about your call to arms policy. You said earlier today that Facebook made
an operational mistake in not taking down an event page that called for people to bring weapons toa public park in Kenosha.
As | think we all know, there was a tragic incident of vigilantism in Kenosha where a young man brought his AR-15 from Illinois
to Kenosha and ended up with two protesters dead and one injured. You indicated this operational mistake was because
Facebook had just adopted its militia policy a week earlier. and contractors without specialized training didn’t pick up the
violation. And | appreciate your frankness as to that in your answers to questions earlier today from Senator Durbin. But your
response to Senator Durbin didn't mention that the event page also violated a separate call to arms policy in place for over a
year that contractors aren't tasked to enforce. So | just have to ask as a followup, why didn’t you before. and also today,
reference the call to arms policy when reviewing what went wrong in Kenosha?

Mr. Zuckerberg: (03:28:31 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7pic63qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNZdAbUJvgAM23
BSo7ioadFrom=PastedDeeplink&ts=12511,73))

Senator, my understanding is that that post did not necessarily violate that call to arms policy at the time. The call to arms
policy does not prohibit anyone from saying. “Let's go get our guns and do something.” For example, if people are organizing a
hunting trip, that's obviously not going to be something that should be against the policies. But what we do on some of these
policies, which | think I'm glad to get the opportunity to address this, is some of these are context specific and just require a
higher level of context and expertise in the area to enforce. So we don't necessarily have all of the 35,000 reviewers assess
every single one of these policies. So | can fallow up in more detail, if you'd like. on the call to arms policy and the nuance there
specifically. but that’s also a bit on how we operationalize these policies.

Senator Coons: (03:29:36 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_BalBIWOTcicE7plcéSqoN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=12576.17})

Thank you for that answer. | do want to follow up because just facially, it seemed to me that this was a violation of your own
call to arms policy. But | {ook forward to that conversation. Mr. Dorsey, if | might, at a House Energy Committee hearing, | think it
was two years ago. you committed to something that | was just discussing with Mr. Zuckerberg. an independent civil rights
audit. But in your case, of Twitter. The audit released by Facebook in July has proven invaluable-

Senator Coons: (03:30:03 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_8alBJWOTcicE 7plcé3qbNS5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ51NzdAbUJvqAM23
BSo7loadFram=PastedDeeplink&ts=12603.451))

_. Twitter, and the audit released by Facebook in July has proven invaluable to bringing sunlight te some key areas in which
Facebook does need to improve. Will you follow through in your commitment and commission to this independent audit of
Twitter?

Mr, Dorsey: (03:30:15 (https://www.rev.com/transcript-
editor/shared/ge7Kci_SalbJ WOTcicE7pilcé5qbNS5YS9N2ZEXxkO_EVTEes7mHP_NkIpyZemhaw0yRYIEUIPZ5rNzdAbUIvqAM25

https:/www.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-1 7 57/82
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BSo7loadFrom=PastedDeeplink&ts=12615.74)}

So we work with civil rights groups all aver the country and around the warld to get feedback. We're in constant conversation
with them, and we do believe that being more transparent and making our transparency report a lot more robust, which today
we still have some gaps. is important for any entity to audit independently of us. We believe that's important, because an audit
like that could take away from the work that we need to do. We'd rather provide the information in a raw format so that people
can do that work.

Senator Coons: (03:30:51 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_Sal8JWOTcicE7plcO3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU 1PZSrNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=126517.84)}

If |heard you sight. you aren't going to pursue an independent civil rights audit, but you are going to continue to release data
and to consult with civil rights groups. I'd welcome a more thorough answer as to in which way having an independent outside
audit would actually harm your transparency efforts.

Mr. Dorsey: (03:31:11 (https://www,rev.com/transcript-
editor/shared/qe7Kc1_Bal8JWOTcicE7plc6SqbNSY59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZ5¢NzdAbUIvqgAM23
BSo?loadFrom=PastedDeeplink&ts=12671.02))

| don't mean it would harm it. | mean that we want to provide enough information so that people can do this work
independently of us on their own timelines, and that’s where we need to make our transparency report more robust. And as |
said, we have regular conversations with these groups and take feedback regularly.

Senator Coons: (03:31:32 (https://www.rev.com/transcript-
editor/shared/qe7kc1_Sal8JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqgAM23
BSo?loadFrom=PastedDeeplink&ts=12692.72}}

You do, Mr. Dorsey. have policies against deep fakes or manipulated media against COVID-19 misinformation, against things
that violate civic integrity, but you don't have a standalone climate change misinformation policy. Why not?

Mr. Dorsey: (03:31:51 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_8al8JWOTcicE7picéSqbNSY59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUMIPZ5rNzdAbUIvqAM23
BSo?7laadFrom=PastedDeeplink&ts=12711.1))

Well, misleading information, as you are aware, is a large problem. it’s hard to define it completely and cohesively. We wanted to
scope our approach to start to focus on the highest severity of harm. We focused on three areas, manipulated media, which
you mentioned, civic integrity around the election, specifically in public health. specifically around COVID. We wanted to make
sure that our resources that we have have the greatest impact on where we believe the greatest severity of harm is going to
be. Our policies are living documents, They will evolve. We will add to them, but we thought it important that we focus our
energies and prioritize the work as much as we could.

Senator Coons: (03:32:41 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Sal8JWOTcicE7plc6sqbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUI vgAM23
BSo7loadFrom=PastedDeeplink&ts=12761.93))

Well, Mr. Dorsey, I'll close with this. | cannot think of a greater harm than climate change, which is transforming literally our
planet and causing harm to our entire world. | think we're experiencing significant harm as we speak. | recognize the pandemic
and misinformation about COVID-19. manipulated media also cause harm, but |'d urge you to reconsider that because helping
to disseminate climate denialism, in my view, further facilitates and accelerates one of the greatest existential threats to our
world. So thank you to both of our witnesses. Thank you, Mr, Chairman,

Mr. Graham: (03:33:17 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_B8al8WOTcicE7plcé3qnNSYS9N2ZEXxkO_ EV TEes?mHP_NkJpyZemhawOyRYlEUIPZ5rNzdAbUIvgAM23
BSQ?loadFrom=PastedDeeplink&ts=12797.97)}

Senator Ernst.

Senator Ernst: (03:33:22 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23

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Thank you, Mr. Chair, and Mr, Zuckerberg and Mr. Dorsey, thank you both for being here with us today virtually and for your
commitment to constantly improving the way your platforms are serving people across the country. There has been a lot of talk
today. Many of us have been listening from our offices or online about the censorship of ideas and news on your platforms, and
these are the things that have been at the forefront of American's minds in the lead up to the election, as well as the week
since our 2020 general election. The people that | hear from. of course, believe that conservatives were wrongfully being
silenced while those on the left that were given basically free reign of your platforms. One of the points of contention that is
often brought up is that you do recruit heavily from California, which leads to your employee base skewing quite heavily to the
left.

Senator Ernst: (03:34:28 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8alBJwOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes/mH P_NkJpyZemhawQyRYIEU1IPZSrNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=12868.04)}

So my first question is for both of you. Do you have concerns about your ability to monitor disinformation on both sides of the
political aisle equally, given that the majority of your employees typically do lean towards the more progressive side? And
again, to both of you, have you taken any steps then at all to make your employee base more representative of the country as a
whole when it comes to political affiliation? And Mr. Zuckerberg, if we could start with you, please.

Mr. Zuckerberg: (03:35:08 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBJWOTcicE7plc63qbN5YS9N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=12908,64))

Thank you, Senator. | think those are both really important topics. In terms of assessing what is misinformation, | think it’s
important that we don’t become the deciders on everything that is true or false ourselves, which is why we've tried to build a
program of independent fact checkers that we can work with on this. and those fact checkers are accredited not by us but by
the independent Poynter Institute for journalism as part of the international fact-checking network, and it includes fact
checkers that | think span the political spectrum. as well as | think the majority of them who would call themselves apolitical.
So we've tried to address the issue of making sure that there isn’t a bias in our actions by actually having us not be the
deciders on that type of content ourselves. And to your second question about taking steps to diversify the employee base, we
this is a sensitive area in that | don’t think it would be appropriate for us to ask people on the way in as they were interviewing
what their political affiliation is, which of course makes it hard to know. (silence).

Mr. Dorsey: (03:38:05 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=13085.6))

And | think the tools are in a state where we can do that more easily. We've obviously been forced to do it with COVID, and |
don't think it’s a state that we will return from. The days of having one centralized massive corporate headquarter in any one
particular city are certainly over for us at least, and | think many other entrepreneurs starting companies today.

Senator Ernst: (03:38:30 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8JWOTcicE7/picé3qbNSYS9N2ZEXxkO_EVTEes7mH P_NkJpyZemhawOyRYVIEU1PZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=13110.03))

Yeah, very good. | really appreciate that, and | think that COVID has taught us all a very important lesson. For those to be able
to work remotely, | think you will find a greater diversity in thought. which is very important | think for the types of platforms
that you both represent.

Senator Ernst: (03:38:48 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7pic63qoN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=13128.1))}

Now, I'd like to move on to an entirely different topic, and since | began my career here in the Senaie, | have been committed ta
of course protecting those who need it most and. and folks, our children are the most in need, and it's our job as lawmakers to
respond to the ongoing threats against them. Social media has created a whole new world for all of us, and it can help us share
that information and resources with the public about human trafficking and child expioitation, and it can also help us keep

https:/www.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senalte-tech-hearing-november-17 59/82
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track of sexual predators and ensure our children are safe from those known threats, In fact. I've been working on legislation

that would help update what information sexual predators have to provide about their online identities. And as we all know,
however, social media can also be incredibly harmful. Child sexual abuse materials, CASM. is present on nearly every single
social media platform that exists, and in such polarized times, | am grateful that it is this subject that we do find it doesn't
matter if you're on the left or the right. We can come together to find solutions for this issue.

Senator Ernst: (03:40:10 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7picé3qoN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=13210.86))

Mr. Zuckerberg, | know that you and | touched upon this briefly last week when we spoke over the phone, and | do hope, Mr.
Dorsey, that you also share Mr. Zuckerberg's commitment to fighting these types of issues on your platforms. So just very
briefly here as ('m running out of time, but Mr, Zuckerberg. | do understand that Facebook is planning to outfit Facebook
Messenger with end to end encryption. And how do you hope to prevent the dissemination of child sexual abuse material if
neither law enforcement nor you can access that messenger data? Is there some sori of apparatus that you will have in place
that can help law enforcement with those situations? And then Mr. Dorsey, we'll go to you next as well.

Mr. Zuckerberg: (03:40:59 (https://www.rev.com/transcript-
editor/shared/qe7Kci_8al8JWOTcicE7pilc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=13259.73))

Senator, thank you for this. | think you're you're right on every count in what you just said, both that child sexual exploitation is
one of the greatest threats that we focus the most on, And it is also an area that we'll face new challenges as we move to
intending encryption across our messaging systems. Of course, the reason why we're moving to encryption is because people
want greater privacy and security in their messaging systems, and aver time are choosing systems that can provide them more
privacy and security. That's something that | think it makes sense for us to offer. | think encryption broadly as good, but it is
going to mean that we're going to need to find and develop some new tactics.

Mr, Zuckerberg: (03:41:53 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_SalBJWOTcicE7plcésqbNSYSPN2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5 rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=13313.97))

A lot of what we have found around the best ways to identify bad actors on our systems is not actually by looking at the
specific content itself, but by looking at patterns of activity and where is it that a group or a person is not behaving in the way
that a normal person would, so you can flag and review that? And we've grown increasingly sophisticated at that. That that
goes across the foreign interference prevention work that we do. and it also will be a factor here, and I'd be happy to follow up
in more detail on what we have planned. But overall. | would say that this is something that we were very focused on, and |
agree with your concern.

Senator Ernst: (03:42:37 (https://www.rev.com/transcript-
editor/shared/qe7kc1_Bal8IWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes?mMHP_NkJpyZemhawOyRYlEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=13357,26)}

Okay. thank you very much, And Mr, Dorsey, you as well, so those that are on Twitter, making sure that law enforcement would
have access if at all possible. if you could give me an overview of that, please?

Mr. Dorsey: (03:42:51 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pilcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=13371.98))

Child exploitation is absolutely terrible, and we don't tolerate it on our service at all, We regularly work with law enforcement to
address anything that we see, inclusive of the patterns that Mark has mentioned, The majority of Twitter Is public. so we don't
have as much activity in private channels, so it’s a different approach, but we still see the same activity, and it’s one of our
highest priorities in terms of the severity of harm.

Senator Ernst: (03:43:22 (https://www.rev.com/transcript-

editor/shared/qe7Kce1_S8alBJWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIvgAM23

BSo7loadFrom=PastedDeeplink&ts=13402.04))
hitps:/Awww.rev.com/bieg/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 60/82
Case 1:21-cv-20684-BB Document 1-25 Entered on FLSD Docket 02/18/2021 Page 61 of 82
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Thank you both very much for being accessible to us today. | truly appreciate your input. Mr. Chairman, thank you.

Mr. Graham: (03:43:29 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8al8JWOTcicE 7pic63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=13409.58))

Thank you, Mr. Zuckerberg, | really want to appreciate what Facebook has done in the area of sexual exploitation of children.
You all have done a very good job of trying to help law enforcement in that area. Senator Hirono.

Senator Hirono: (03:43:42 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_SalBJWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIJvgAM23
BSo?7loadFrom=PastedDeeplink&ts=13422.05))

Thank you, Mr. Chairman. Mr. Zuckerberg, for the second time in three weeks, you've been called before the Senate committee
so that my Republican colleagues can beat you up over claims that your platforms are supposedly biased against
conservatives. The fact of the matter is that these allegations are completely baseless. Everyone who has systematically
looked at the content on social media from Media Matters to the Cato Institute to former Republican Senator John Kyl has
found absolutely no evidence of anti-conservative bias, and data from CrowdTangle show that far right content from the likes
of Fox News, Ben Shapiro, David Bongino dominates the daily top 10 most engaged pages on Facebook. So all of these
allegations about the fact that you hire or all of your employees are left of center is a relevant of nothing, certainly not relevant
on some sort of anti-conservative bias in terms of your practical moderation.

Senator Hirono: (03:44:46 (https://www.rev.com/transcript-
editor/shared/gqe7Ke1_Bal8JWOTcicE7pilc63qbN5Y59N2ZEXxkO_EVTEes?7mHP_N kIpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=13488,95))

So the way | see it, this hearing is a transparent effort by my Republican colleagues to work the refs, and unfortunately, in my
view, it is working, Two weeks ago, The Washington Post reported that Facebook has bent over backwards to avoid claims that
it was biased against conservatives, and it removed a strike against Donald Trump Jr's Instagram account that would have
penalized them as a repeat offender, apparently, one of several strikes removed from the accounts of Trump family members.
For Trump super PAC, American First Action was allowed to post material rated false by Facebook's third party fact checkers
without penalty. These are just a few examples, and they are nothing new. In 2019, Facebook included Breitbart, a website
described by its co-founder as a platform for the ait-right. as one of its trusted news sources. Early in 2019, Facebook selected
The Daily Caller, another site with white nationalist ties, to be one of its third party fact checkers.

Senator Hirono: (03:46:00 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé63qbN5Y59N2ZEXxkO_EVTEes 7MHP_NkJpyZemhawOyRYIEUIPZSrNzcAbU JvqAM23
BSo7loadFrom=PastedODeeplink&ts=13560.95)}

And the Wall Street Journal has reported how Joel Kaplan, former deputy chief of staff to George W. Bush, stopped changes
designed to make Facebook's algorithms less divisive because the changes would have disproportionately affected
conservative users and publishers according to Kaplan. So Mr. Zuckerberg. you founded Facebook, a company with a market
capitalization of approximately $80 billion, and you control a majority share of the company’s voting stock, Mr, Zuckerberg, I'm
really wondering at what point you will stop giving in to basis claims of anti-conservative bias and start exercising your control
over Facebook to step driving division and actually, to quote you, “build community and bring the world closer together” as you
claim is Facebook's mission.

Senator Hirono: (03:46:54 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_8al8IWOTcicE7picé3qbNSY59N2ZEXxkO_ EVTEes7MHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=13614.83))

My questions to both of you: a recent Harvard study found that President Trump was the single biggest source of voting
related misinformation in the run-up to the presidential election. Since the election, President Trump has only continued the
lies on Twitter and Facebook, also claiming that he won reelection and that the election is being stolen from him. But the truth
is Joe Biden won the election, as major news networks and the Associated Press have confirmed. In response to President
Trump's lies, you have, at most, added a warning label while still allowing the president's misinformation to remain online. In
response to questions fram Senator Feinstein, we defended the labels, claiming they point people to a broader conversation

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around the election. | have serious questions about the effectiveness of these labels, particularly since President Trump and
his allies continue to spread their lies. For both of you, what evidence do you have that these labels are effective in addressing
President Trump's lies? Response, please.

Mr. Dorsey: (03:48:05 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7pilcé63qbN5Y59N2ZEXxkO_EVTEes7mH P_NkdpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=13685.74))

So | think Mark mentioned this earlier as well. We are doing a retrospective on the effectiveness of all of our actions through the
election. We believe the labels point to, as you said, a broader conversation that people can see what's happening with the
election and with the results. We don’t want to put ourselves in a position of calling an election, That is not our job, so we're
pointing to sources and pillars that have traditionally done this in the past. and that is the intention of the policy. That's the
intention of the labeling system.

Senator Hirono: (03:48:47 {https://www.rev.com/transcript-
editor/shared/qe7Ke1_BalBIWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5SrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=13727.98))

Mr, Zuckerberg?

Mr, Zuckerberg: (03:48:50 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_S8al8JWOTcicE7pilcé3qbN5Y59N2ZEXxkO_ EV TEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=13730.43))

Senator, we view the additional context that we put on posts as part of an overall response and effort to make sure that people
have reliable information about the election. So we don’t expect that it's just going to be when people are seeing a post that
may be casting doubt on a legitimate form of voting or may have misinformation that we can correct and help people
understand how they could really vote, for example. So that’s why we put the Voter Information Center prominently on the top
of Facebook and Instagram for months leading up to the election and kept it afterwards so people can see reporting on the
results.

Mr. Zuckerberg: (03:49:40 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_B8alBIWOTcicE7plceé3qbN5Y59N2ZEXxkO_EVTEes?7mH P_NkIpyZemhawOyRYIEU1PZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=13780.17))

As | mentioned in my opening statement, 140 million Americans visited that. | think this was the largest voting information
campaign in the history of our country, so | think when taken together, these actions were quite strong of an effort ta
communicate accurate, reliable information to people at the times when they needed it. about how they can vote in the
election, encouraging them to vote, having confidence in the election system, knowing who and when the election had been
called. It's just part of an overall system.

Senator Hirono: (03:50:19 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_Sal8 JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=13819.74))

My time is running. So all of the information, the actual information about voter information you provide, that is good, but we're
talking about all of the misinformation. Actually, outright lies that are put out by the president. and you have these labels. and |
really have questions as to whether or not this kind of labeling, and I'm glad that at least Mr. Dorsey is determining whether
these labels do anything to actually create a larger framework for discussion. | really seriously doubt whether that is actually
happening. Since I'm running out of time. | just wanted to get to Donald Trump is president, you consider a user of these. A lot
of his posts get on whether they contain misinformation, especially on whether he won the election and COVID, You name it,
the fraudulent elections that he alleges, et cetera. But | wonder what are both of you prepared to do regarding Donald Trump's
use of your platforms after he stops being president? Will he still be deemed newsworthy and will he still get to use your
platforms to spread this misinformation?

Mr. Zuckerberg: (03:51:33 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_ 8al8JWOTcicE7plc63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
https:/Awww.rev,com/blog/transcripts/mark-zuckerberg-jack-dorsey-te stimony-transcript-senate-tech-hearing-november-17 62/82
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BSo7loadFrom=sPastedDeeplink&ts=13893,09)}

Senator, let me clarify. My last answer, we are also having academic study. the effect of all of our election measures, and they'll
be publishing those results publicly. In terms of President Trump and moving forward, there are a smali number of policies
where we have exceptions for politicians under the principle that people should be able to hear what their elected officials are
saying and candidates for office. But by and large, the vast majority of our policies have no newsworthiness or political
exception, so if the president or anyone else is spreading hate speech or inciting violence or posting content that delegitimizes
the election or valid forms of voting, those will receive the same treatment as anyone else saying those things, and that will
continue to be the case.

Senator Hirono: (03:52:31 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7plc63qbNS5Y59N2ZEXxkO_ EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=135951.7))

Remains to be seen. Mr. Dorsey?

Mr. Dorsey: (03:52:34 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_B8alBIWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvgAM23
BSo?loadFrom=PastedDeeplink&ts=13954.64))

So we do have a goal around public interest where for global leaders, we do make exceptions in terms of whether, if a tweet
violates our terms of service, we leave it up. but we leave it up behind an interstitial. and people are not allowed to share that
more broadly, so a lat of the sharing is disabled with the exception of quoting it so that you can add your own conversation on
top of it. So if an account suddenly is not a world leader anymore, that particular policy goes away.

Mr. Graham: (03:53:11 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRY|EUIPZ5rNzdAbUIvgAM23
BSoloadFrom=PastedDeeplink&ts=13991.02}}

Thank you.

Senator Hirono: (03:53:11 (https://www.rev.com/transcript-
editor/shared/qe7Kcet_SalsJWOTcicE7plcé3qoN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=13991.53)}

So lam running out of time, but. Mr. Chairman, I'd like to enter into the record a number of studies, particularly a November 1,
2020 article in the Washington post titled “Trump allies largely unconstrained by Facebook's rules against repeating falsehoods,
cement pre-election dominance,” a May 26, 2020 article in the Wall Street Journal titled “Facebook executives shutdown
efforts to make the site less divisive.” three studies from Media Matters finding no anti-conservative bias on Facebook, and an
article by Dr. Francesca Tripodi titled, “No, big tech isn't silencing conservatism- | would like to enter these items into the
record.

Mr. Graham: (03:53:52 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Sal8JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqgAM23
BSovioadFrom=PastedDeeplink&ts=14032.74))

Without objection. Senator Kennedy.

Senator Kennedy: (03:53:57 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Sal8JWOTcicE7picé3qbN5YS9N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo?7loadFrom=PastedDeeplink&ts=14037,1))

Thank you, Mr. Chairman. Gentlemen, each of you has founded an extraordinarily successful company, and they're both
American companies, and | think | would be remiss if | didn’t say congratulations. I'm very proud of the fact that it was
American ingenuity that did this. | think we can also both agree that both Twitter and Facebook have enormous power as 4
result of your success. You're not companies, your countries, at least in terms of power. | want to test a point of view here. I’m
not sure | subscribe to it, but | want to get your thoughts on it. Mr. Dorsey. do you believe everything you read?

Mr. Dorsey: (03:55:09 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbN5V59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23

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No.

Senator Kennedy: (03:55:10 {https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes 7MHP_N kJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=14110.77))

Why not?

Mr. Dorsey: (03:55:13 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes 7mHP_NkJpyZemhawOyRYIEU1PZSrNzdAbU JvqgAM23
BSo?loadFrom=PastedDeeplink&ts=14113.01))

| think it's healthy to have skepticism about everything and then have a mindset of verifying it and using as much information
as possible to do so.

Senator Kennedy: (03:55:26 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7plcé3qbNSYS9N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=14126.73)}

Do you have somebody on your staff who protects you from reading things that they think you shouldn't?

Mr. Dorsey: (03:55:34 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7picé3qbN5YS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqgAM23
BSo?loadFromsPastedDeeplink&ts=14134.95))

No.

Senator Kennedy: (03:55:36 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8IWOTcicE7pilcé3qbNSYS9N2ZEXxkO_EVTEes/mH P_NkIJpyZemhawOyRYIEUIPZ5rN2dAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=14136.94))

Mr. Zuckerberg, do you believe everything you read?

Mr, Zuckerberg: (03:55:41 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7plcé3qbNSYSIN2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZ5 NzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=14141.92))

No, Senator.

Senator Kennedy: (03:55:43 {https://www.rev.com/transcript-
editor/shared/qe7Ke1_S8al8JWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes ?mMHP_N kJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=14143.96))

Why not?

Mr. Zuckerberg: (03:55:47 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plc63qbNS5Y59N2ZEXxkO_EVTEes 7mHP_NkJpyZemhawOyRYIEUIPZS5rNzdAbU JvgAM23
BSo7loadFrom=PastedDeeplink&ts=14147.4))

Because of a lot of things are incomplete or incorrect.

Senator Kennedy: (03:55:53 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7plc63qbN5YS9N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqgAM23
BSo7loadFrom=PastedDeeplink&ts=14153.78))

So you exercise your own judgment?

Mr. Zuckerberg: (03:55:57 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbNSYS9N2ZEXxkO_EVTEes 7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=14157.62))

Yes, Senator.

Senator Kennedy: (03:56:00 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7plc63qbN5Y59N2ZEXxkO_ EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqgAM23

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BSo7loadFrom=PastedDeeplink&ts=14160.38))

Okay. Do you have somebody on your staff whose job is to filter things that they think you should not be reading?

Mr. Zuckerberg: {03:56:12 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8JWOTcicE7plcé3qbNSY59N2ZEXxkO.. EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=14172,15}}

Senator, not externally, although | would hope that the teams that | work with internally do their best to make sure that the
information that they're presenting me with are always accurate.

Senator Kennedy: (03:56:27 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8IWOTcicE7pilcd3qbNSYS9N2ZEXxkQ_EVTEes/mHP_N kJpyZemhawOyRYIEUIPZ5rNzdAbUJvqgAM23
BSo7ioadFrom=PastedDeeplink&ts=14187.93))

Okay. Here is a point of view. I'm not sure | subscribe to it, but it is a legitimate point of view, | think, and I'd like to know your
thoughts on it, You have both, and this is directed to each of you, you have both Democrats and Republicans upset with you.
The Democrats are upset with you. this point of view holds because they want you to publish .. I'm not using that word as a
term of art or science here with any special meanings. The Democrats want you to publish stuff on your platforms that they
agree with, but they don’t want you to publish stuff that they disagree with, This point of view also holds that the Republicans
are upset with you because they want you to publish things on your platforms that they agree with, but they don’t want you to
publish stuff on your platforms that they disagree with.

Senator Kennedy: (03:57:43 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_8al8IWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes 7MHP_NkJpyZemhawOyRYIEUIPZSrN2zdAbUJvgAM23
BSo7loadFrom=PastedNeeplink&ts=14263.07))

What if we had a rule? What if your companies had rule? This is a question, not a suggestion. What if your companies had a rule
that said, “Okay, people aren't morons. | would like to treat people as they treat me. That is that | can read what | want to read
and exercise my own good judgment about whether | choose to believe it, so here’s the rule we're adopting. If you go on Twitter
or Facebook, you can't bully people. You can’t threaten people. Maybe this is a subset of both of those, but you can't commit a
crime with your words and you can't incite violence. But other than that, you can print any damn thing you want to, and we'll
let our users judge.” Give me your thoughts on that.

Mr. Dorsey: (03:59:04 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_SalSIWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJ pyZemhawOyRYIEU1PZ5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=14344.14))

Those are generally the rules that we have. | mean, our focus on these policies-

Senator Kennedy: (03:59:09 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8alBJWOTcicE7plc63qoNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=14349.08))

No, you don't. Mr. Dorsey. Excuse me for interrupting. but you're censoring right and left trying to make both sides happy, and
you're making neither side happy.

Mr. Dorsey: (03:59:20 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_ 8al8WOTcicE 7plc63qbNSY59N2ZEXxkO_EVTEes 7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM25
BSo?7loadFrom=PastedDeeplink&ts=14360.92))

No, that’s not the intention. The intention is to-

Senator Kennedy: (03:59:23 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_ BalBJWOTcicE7plcé3qbNS5Y59N2ZEXxkO_EVTEes7MHP _ NkJpyZemhawOyRYIEUIPZStNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=14363.07))

I know it’s not the intention, but it’s the result.

Mr. Dorsey: (03:59:28 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_.8alBIWOTcicE7pic6SqbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbU JvgAM23
BSo?7loadFrom=PastedDeeplink&ts=14368.97))

hitps://www.rev.com/blog/transcripts/mark-zuckerberg-Jack-dorsey-testimony-transcript-senate-tech-hearing-november-1 7 65/82
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| can see why you might say that and why you might perceive that, and that’s why we do think it’s important that we add more

transparency to how we moderate content, that we give more control to individuals to moderate their own content and focus
on algorithms. But a lot of our policies are focused on making sure that people feel that they can express themselves in the
first place and not driven away. Everything that you mentioned about bullying. about harassment, around illegal content or
violence, incitement to violence, that is what our policies are, and that is our intent.

Senator Kennedy: (04:00:00 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_BalBIWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP _NkJpyZemhawOyRY|EUIPZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=14400,.82))

| know, and excuse me for interrupting, but my time's limited. and | want to hear from Mr. Zuckerberg. But you're not just doing
that. You've started to sensor content. Why not have both Mr. Biden and Mr. Trump able to say whatever they want to on your
platform, so long as they don’t threaten, bully. incite violence, commit a crime. I'm not justifying the use of either Twitter or
Facebook to hurt the Rohingyas. Mr. Zuckerberg. what are your thoughts on my suggestion? Get out of the censorship business
other than the exceptions | talked about?

Mr. Zuckerberg: (04:00:43 (https://www.rev.com/transcript-

editor/shared/ge7Kc1_ 8al8IJWOTcicE7plcé3qbNSYS9N2ZEXxkO_EVTEes7mHP_NkIpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?ioadFrom=PastedDeeplink&ts=14443.39})

Senator, in principle, | agree with what you are saying, although | think that there are more categories of harm than just the
ones that you've mentioned, But | think the basic principle behind what you're saying is a definition of free expression that says
that people should be able to share their opinions broadly, except if it's going to cause imminent or irreparable harm to another
person, which even the most ardent first amendment supporters agree that you shouldn't be able to yell “fire” in a crowded
theater if there's not actually a fire, because that could put people in the risk of imminent harm. So you mentioned terrorism,
you mentioned child exploitation and bullying as forms of harm, and | think a lot of the debate is around what are other forms
of harm? For example, we're in the middle of a pandemic, and we've assessed that misinformation about COVID and treatments
that could put people in additional risk of getting the disease or not seeking the right treatment if they have it, that those are
also things that could cause imminent harm. We've taken the position that select-

Senator Hirono: (04:02:03 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pic63qbNS5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=14523.26))

Mr. Zuckerberg, let me interrupt you, and | really do apologize, but I'm going to be cut off in a second and appropriately so. I'm
not saying you're wrong by doing what you just described, but that makes you a publisher, and that creates problems with
Section 230. | just think one point of view is that at some point. we've got to trust people to use their own good judgment, to
decide what they choose to believe and not believe and not try to assume that we're smart and they're stupid, and that we can
discern believable information and information that shouldn't be believed, but everybody else is too stupid to do it. I'm done.
Thank you, Mr. Chairman.

Mr. Graham: (04:03:04 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ Bal IWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes?mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=14584.19})

I think you put your finger on a really maybe the central issue, Senator Kennedy, is how do we jet people make up their own
minds without what they're saying. creating violence or threats to others, a very complicated endeavor. Senator Booker.
Senator Booker?

Senator Booker: (04:03:27 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_8al8JWOTcIcE7pic63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawDyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=14607.22))

Thank you. Chairman, can you hear me? Chairman?

Mr. Graham: (04:03:30 (https://www.rev.com/transcript-

editor/shared/qe7kc1_S8al8IWOTcIcE7plcéSqbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23

BSo7loadFrom=PastedDeeplink&ts=14610.93))
hitps://www.rev.conv/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 66/82
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Yes, and to our witnesses, we have two more senators and we'll be done, and | appreciate your patience. Senator Booker.

Senator Booker: (04:03:38 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7plcé3qbNS5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawDyRYIEUIPZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=14618.28))

| appreciate that, Mr. Chairman, and | appreciate listening to this hearing. | really want to bring just focus back to what | think is
why we're here, which is the 2020 election, and I've been saying in this committee for many months now about the tragic
consequences of us normalizing things that should express considerable outrage. There's not a person on this committee on
either side that doesn’t know who the next president of United States will be. President-elect Joe Biden and Kamala Harris will
be the president and vice president of United States come January 20th, but what is going on right now is dangerous. and it is
a threat to our democracy. For the first time in American history, we are seeing a sitting president of the United States make
wild and baseless accusations that undermine the democratic process, that don't just delegitimize it.

Senator Booker: (04:04:35 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_Sal8J WOTcicE7picé63qbNSY59N2Z7EXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5SrN2zdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=14675,65)}

What the president United States is doing is trying to thwart our democracy. As we speak, Donald Trump is waging an all out
war on the truth and our democratic systems, and one of his weapons of choice in this distant formation war is social media.
and specifically the two gentlemen here, their platforms. Twitter and Facebook. You have the tools to prevent him from
weaponizing these platforms to degrade our democracy and our democratic —

Senator Booker: (04:05:03 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7plc63qobN5Y59N2ZEXxkO_EVTEes7mHP_NkIpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=14703.8))

» weaponizing these platforms to degrade our democracy and our democratic institutions, and to cause such damage that
aven after January 20th. it could be one of the first times that millions of Americans think and believe that this election was
what is baselessly being charged by Donald Trump.

Senator Booker: (04:05:20 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7plcé3qbN5Y59N2ZEXxkO._ EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=14720,79))

Let's be clear on what's happened. Donald Trump's shameful and shameless lies that are persisting about voter fraud and the
outcome of this election were some of the mast engaged content on social media in the days after the election. By ane
measure, during the week after the election, his posts on Facebook made up ail, every single one of the tap 10 most engaged
posts in the United States, and 22 out of 25 of the top most engaged posts in our country. And his number one post, the top of
them all. was a false declaration of victory. On Twitter, his tweet on falsely claiming victory was viewed by millions of users.
This was, and is, not just a disinformation campaign by the President of United States, but literally the most powerful person in
our country doing an all out assault on the Constitutional ideal of a democracy that he was sworn to protect.

Senator Booker: (04:06:23 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JWOTcicE7picéSqbN5SY59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=14783.5))

Let's take a step back, because | think this would be bipartisan if we looked at what was happening in another country. If we
saw, and I'm on the Foreign Relations Committee and | know how we come together on issues like this, if a strong leader.
strong man leader of a democracy had denied his loss in a democratic election, made consistent and constant baseless claims
about fraud, if he fired military leaders, while his Foreign Minister talked about 2 smooth transition of the defeated leaders next
term, even potentially in jest. any government looking at this situation, including ours, would be putting out statements urging
calm and calling for the peaceful transition of power, for the rule of law, for the honoring of democratic norms and traditions.

Senator Booker: (04:07:10 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Bal8JWOTcicE7picé3qbN5YS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawO0yRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedQeeplink&ts=14830.64))

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We're seeing concrete consequences right now of President Trump's rhetoric. We are actually in the midst of the fourth largest
mass casualty event in American history. This is not just something that should not be treated with calm and normalcy, but we
all, people who believe in this country, should be standing up and talking about the consequences.

Senator Booker: (04:07:32 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_BalBIWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=14852.91)}

We have his political appointee, the General Service Administrator. refusing to designate Joe Biden as president-elect and
provide the transition team the resources mandated by federal law.

Senator Booker: (04:07:44 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7pic6é3qbN5Y59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM25
BSo?loadFrom=PastedDeeplink&ts=14864.45))

It was not that long ago that the 9/11 Commission said that one of the things that undermined our ability to meet the terroristic
threats to our country happened because of a transition that was undermined, or excuse me, a transition that did not happen
on the normal course. President Trump's actions since election day should shock all of us. All of us who care about the welfare
of our democracy. Who care about our norms. And | hope the platforms here can maintain the highest levels of vigilance.

Senator Booker: (04:08:16 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8al8 J WOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes 7mMHP_NkJpyZemhawOyRYIEU 1PZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=14896.7)})

To the gentiemen before us today. I'd like to ask specifically, have you taken any steps to modify your platforms algorithms to
ensure that blatantly false election disinformation posted by election officials and specifically the most powerful person in the
United States, Donald Trump, isn’t amplified? That his posts that might get a lot of interactions, that are dead wrong, don't
somehow get boosted by your algorithms. If you could both respond to that as quickly as possible.

Mr. Zuckerberg: (04:08:55 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7MHP._NkJpyZemhawOyRYIEUIPZStNzdAbUIvgAM235
BSo7loadFrom=PastedDeeplink&ts=14935.04))

Senator, I'll go first and | share your concern on this and | think it's unfortunate that we had to put in place a policy around
premature or false declarations of victory. but we had to do that. And we anticipated this back in September when we put the
policy in place. And a lot of what we're trying to do is help distribute reliable information, which we attach both to pasts on the
topic by President Trump or any of the other candidates or elected officials who were talking on the subject.

Mr. Zuckerberg: (04:09:34 (https://www.rev.com/transcript-
editor/shared/qe7Kcl_SalGJWOTcicE7plcé3qoN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRY EUIPZ5rNzdAbUIJvqAM23
BSo7loadFrom=PastedDeeplink&ts=14974.07))

But more importantly, we put that reliable information, including about election results, at the top of Facebook and Instagram
for everyone to see. And that supersedes what the algorithm or what newsfeed chooses to show.

Senator Booker: (04:09:48 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_Sal8JWOTcicE7pic63qbNSY59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYlEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=14988.63))

| appreciate that. I'd just like to get Jack's. This is information | know Jack, if you want to just respond on the algorithm. Excuse
me, Mr, Dorsey, if you want to respond about the algorithms too. Do you have a specific measures that you're taking to prevent
your algorithms from boosting false content?

Mr. Dorsey: (04:10:07 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP _NkJpyZemhawOyRYiEUIPZSrNzdAbUJvgAM25
BSo7loadFrom=PastedDeeplink&ts=15007.01))

Yes, so many of the labels did change how the algorithms amplify content.

‘i,

https://www.rev.com/blog/transcripts/mark-zuckerberg-(ack-dorsey-testimony-transcript-senate-lech-hearing-november-17 68/82
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Senator Booker: (04:10:16 (https://www.rev.com/transcript-
editor/shared/qa7Ke1_GalBIWOTcicE7pIcéSqbN5Y59N2ZEXxkO_EVTEes?mHP_NkiJpyZemhawOyRYIEUIPZ5rNzdAbUJvqgAM23
BSo7?loadFrom=PastedDeeplink&ts=15016.09))

President Trump right now is spreading dangerous misinformation about our electoral process. It’s going an right now. And
maybe if you guys. you gentlemen, would just cogently... Thraugh this process, this ongoing process right now, are there steps
you will be taking that you have not already delineated as we are going into what could be very dangerous waters,
unprecedented waters, in this country? Is there any additional steps that you will be taking right now in the coming days or
weeks to stop the further amplification and undermining of our democracy?

Senator Booker: (04:10:54 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7plcé3qoN5YS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=15054.48))

We are heading potentially. depending upon the behavior of a president who's shown himself to be erratic. Are there steps that
you are prepared to take in the coming days and weeks to address this misinformation that we are seeing is coming in an
unrelenting manner? [crosstalk 04:71:16].

Mr. Zuckerberg: (04:11:18 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_SalBIWOTcicE7plc6SqbNS5Y59N2ZEXxkO_EVTEes 7MHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUvgAM23
BSo?loadFrom=PastedDeeplink&ts=15078.58)}

This is unfortunately an eventuality that we planned for and we've taken a number of steps, not just including the fact
checking program that we've set up broadly, but we stopped recommending all civic and political groups as an example,
because of the risk of misinformation or harm growing there, we've temporarily paused all political ads because of a risk of
potential abuse or inflaming tension or potential unrest or violence. And there are a number of other steps that we've taken like
this as well, that we've done in other countries when there are risks of civil unrest and that we've shown have worked. I'd be
happy to follow up in detail on all of the steps that we're taking there.

Senator Booker: (04:12:07 (https://www.rev.com/transcript-
editor/shared/qe7Kce1_8al8JWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=15127.4))

Thank you. Your team has been helpful. Mr. Dorsey, any new steps that you want to give me? And I'm now treading on the
indulgence of the chairman, if you could be really cogent. | mean new steps.

Mr. Dorsey: (04:12:18 (https://www.rev.com/transcript-

editor/shared/qe7Kel_ 8alSJWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=15138.61))

We're going to continue to remain vigilant around our enforcement of civil integrity. | think it's really important that we stay
agile and that we learn. So we need to learn about the effectiveness of this work and how to carry it forward.

Senator Booker: (04:12:31 (https://www.rev.com/transcript-
aditor/shared/qe7Kce1_Bal8JWOTcicE7pilcésquNSY5ON2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=15151.51))

If the chairman woutd indulge me in one more sort of question to Mr. Zuckerberg. | was really pleased that the group Stop The
Steal, which was a group formed on Facebook with disinformation trying to delegitimize the election. | was grateful that you all
suspended that account after 24 hours. But I'm concerned about what lessons you've learned. Because clearly outside groups
like the Center for Countering Digital Hate flagged that groups posts containing calls to violence hours before Facebook did.
And I'm wondering what you all have learned about speed.

Senator Booker: (04:13:13 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_8al8JWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawO0yRYIEU1PZ5rNzdAbUJvgAM23

BSo?loadFromsPastedDeeplink&ts=15193.35))

There's an old saying that a lie can travel halfway around the world while the truth is still putting its pants on. What does

Facebook really factor in in terms of speed and trying to combat surges of disinformation about this group?
hitps://www.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 69/82
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Senator Booker: (04:13:29 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBJWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbU JvqgAM23
BSo?loadFrom=PastedDeeplink&ts=15209.3)}

Maybe another example, an additional sort of addendum to that question, Mr. Zuckerberg, Twitter, for example, permanently
suspended, Mr. Bannon’s Twitter account, it suspended his show's Twitter account, after he made horrendous steps about acts
of violence against Dr, Fauci and FBI Director Wray.

Senator Booker: (04:13:53 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_Bat8IWOTcicE7pilcé3qbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=15233.54))

| guess I'm just simply asking why would Facebook not take the similar steps and similar stand? Mr. Zuckerberg, very cogently.
could you talk about that speed issue? When your platforms diverge, I'm really wondering why one platform in Twitter saw that
as a standard to remove, but you all did not follow in that decision.

Mr, Zuckerberg: {04:14:20 (https://www.rev.com/transcript-
editor/shared/ge7Ke1_BalBQWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzd4bUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=15260.04})

Thanks, Senator. I'm happy to address both of those. On speed, you're certainly right that that’s important. And part of what we
focus on is figuring out which types of messages or things are going to go viral quickest because it’s not just about trying to
get to everything within five hours for example, it's actually much more important to get to the harms that are going viral
quickly within an hour, even if some things that are probably not going to get much distribution at all might be deprioritized for
a little bit longer.

Mr. Zuckerberg: (04:14:59 (https://www.rev.com/transcript-
editor/shared/qe7Kcl_8al8IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUOQvqAM23
BSo7loadFrom=PastedDeeplink&ts=15299,5))

| think making sure that we stay on top of what are the hashtags, what are the groups, what are the messages, who are the
bad actors who are trying to spread this content? And as we see the threat evolving, we are typically able to evolve and move
faster as well. So we're very focused on that. [crosstalk 00:10:22],

Mr. Graham: (04:15:79 (https://www.rev.com/transcript-
editor/shared/gqe7Kce1_8al8JWOTcicE7plc63qgbN5YS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvq4M23
BSo?loadFrom=PastedDeeplink&ts=15319,85))

Thank you, very much. Anything else [crosstalk 04:15:23).

Senator Booker: (04:15:25 (https://www.rev.com/transcript-
editor/shared/qe?7Kc1_Bal8JWOTcicE7picé3qbNSYS9N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=15325.63))

| just want to give you an amen [inaudible 00:04:15:28]. The second part of that question, I'd love to get on the record, but I just
want to say to you, you mentioned earlier, | know you said that Chairman Graham will be chairman again. but | think you really
said something really important earlier about the effects of social media platforms on our kids. | can cite many studies. like the
University of Pittsburgh who said thar kids are on social media have about twice that the rates of eating disorders and image
concerns.

Senator Booker: (04:15:54 (https://www.rev.com/transcript-

editor/shared/qe7Kci_SalBIWOTcicE7picé63qbNSYS9N22EXxkO_EVTEes?7MHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23

BSo?loadFrom=PastedDeeplink&ts=15354.56))

| just would really say, and | know that two gentlemen there would welcome the opportunity to come and discuss that perhaps

with other experts, but there's something really going on in terms of the self-esteem, wellbeing, and even flourishing of our

children who are deeply affected by these platforms, whether you want to use a technical term like addiction or not, there's

enough evidence that these platforms and children’s engagement on them is causing a heightened levels of sort of a

deleterious effect on their wellbeing. I'd love it if we could do such a hearing sometime soon.
https:/Avww.rev.com/dlog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 70/82
Case 1:21-cv-20684-BB Document 1-25 Entered on FLSD Docket 02/18/2021 Page 71 of 82

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Mr. Graham: (04:16:26 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8al8JWOTcicE7picé3qbNSY59N2ZEXxkO_ EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIJvgAM2$
BSo7loadFrom=PastedDeeplink&ts=15386.29))

We follow up into the every patient Senator Blackburn. Thank you very much.

Senator Blackburn: (04:16:30 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plc63qbNSYS9N2ZEXxkO_ EVTEes7MHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUJvgAM23
BSoe7loadFrom=PastedDeeplink&ts=15390.07)}

Thank you, Mr. Chairman, | appreciate-

Mr. Graham: (04:16:31 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_8al8JWOTcicE7pilc63qbNSYSON2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo?7loadFrom=PastedDeeplink&ts=15391.09))

Last. but certainly not least.

Senator Blackburn: (04:16:32 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7pilcéSqbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNZdADUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=15392.63))

That is correct, and | appreciate that. And even though my colleague from New Jersey went twice his time, | am going to
[crosstalk 00:11:44),

Mr. Graham: (04:16:43 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8alBJWOTcicE7pic63qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUvqAM23
BSo?7loadFrom=PastedDeeplink&ts=15403.67))

These are Senate minutes.

Senator Blackburn: (04:16:45 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIWOTcicE7picoéSqbNSY5S9N2ZEXxkO_ EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=15405,.56})

Yes, they are Senate minutes. | will agree with my colleagues who have talked about the impact on children. The distribution of
information that damages women and children. that leads to violence against women and children, human trafficking. the
utilization of these platforms by pedophiles. This is something that we are going to continue to wark on.

Senator Blackburn: (04:17:09 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_SalBIWOTcicE7plc63qbN5Y59N2ZEXxkO_EVTEes7mHP... NkJpyZemhawOyRYIEU1PZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=15429.73))

When | was in the House we passed legislation to put more tools in the hands of local law enforcement to fight this. But you all
at these social media platforms are going to have to do your part to work with us on this to protect our children.

Senator Blackburn: (04:17:27 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_BalBIJWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvgAM2s
BSo?loadFrom=PastedDeeplink&ts=15447.4))

| will also say that we're keeping an eye, and with each of you yesterday | talked about your financial component, Square there
for Mr. Dorsey and Libra with Mr. Zuckerberg, and the application of these components to your sites. We're talking about 2020
elections, but we're also looking ahead to how we clean up some of what transpired before the 2022 elections.

Senator Blackburn: (04:17:58 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBJWOTcicE7pic63qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJ pyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo?7loadFrom=PastedDeeplink&ts=15478.69})

| think it’s fair to say two that, you all probably are now fully aware that there's great frustration with Americans and with this
committee, with the way you act invincible, the way your employees act as if you're the invincible gods of the Silicon Valley.
Facebook and Twitter. don't get to be the last word in what counts as real news in this country. even though you're beginning
to conduct yourself as news publishers and distributors.

hltps://www.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-iranscript-senate-lech-hearing-november-1 7 71/82
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Senator Blackburn: (04:18:29 (https://www.rev.com/transcript-
editor/shared/gqe7Kci_Sal8JWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUQvqAM23
BSo?loadFrom=PastedDeeplink&ts=15509.33))}

My colleagues and | have asked you all repeatedly through the years for greater transparency and to accept responsibility.
You've chosen to do neither. So it is going to be up to us to change existing law and to hold you to account on behalf of the
American people.

Senator Blackburn: (04:18:50 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_B8al8 IWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=15530.35}}

Section 230, the reforms that we're going to put in place will take away this liability shield that you've turned into an opaque
wall that you and your content moderators, whether they're algorithmic or human beings or combinations, are hiding behind.

Senator Blackburn: (04:19:08 (https://www.rev.com/transeript-
editor/shared/qe7Kcei_8al8IWOTcicE7plcé3qgbNSY59N2ZEXxkO_ EVTEes7mHP. NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23
BSo?loadFrom=PastedDeeplink&ts=15548.57)})

The Online Freedom and Viewpoint Diversity Act, | thank Chairman Graham and Chairman Wicker for working with me on this.
This is set up for a markup In this committee on Thursday.

Senator Blackburn: (04:19:22 (https://www.rev.com/transcript-
editor/shared/qe7Kci_8al8JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqgAM23
BSo?loadFrom=PastedDeeplink&ts=15562.88))}

Mr. Zuckerberg, you were stating earlier that we needed to put some definition in place. We're going to do that. We're going to
take away nebulous language, and we're going to be specific, unlawful, inciting personal harm, inciting terrorism. We're going to
do that and clear that up for you.

Senator Blackburn: (04:79:44 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ BalBJWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawO0yRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=15584.98))

Mr. Zuckerberg, Facebook is more like a government than a traditional company, is a statement that you have made, and there's
a lot of power in that for you. So yes or no, on a couple of questions here. Does Facebook routinely sensor a user's account at
the behest of a foreign government? Yes or no.

Mr. Zuckerberg: (04:20:12 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8IWOTcicE7plcé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo7loadFrom=PastedDeeplink&ts=15612.09))

Senator, I'm not sure if there’s anything in particular you're referring to, but in general we don’t censor-

Senator Blackburn: (04:20:19 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_Bal8QWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=15619.01))

Well, there is something in particular that I'm referring to and I'll answer it. Yes. you've done that. You have 60 million users in
Vietnam. Of course, this is a communist regime. Under the orders of the Vietnamese government, did Facebook shut down and
ban the account of a Vietnamese dissident because he criticized the government's land policy? Yes or no.

Mr. Zuckerberg: (04:20:46 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Sal8JwOtTcicE7plc63qoNSYS9N2ZEXxkO_EVTEes?7mHP._NkopyZemhawOyRYVIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=15646.47)}

Senator, I’m not familiar with all the details of that. but | believe that we may have done that. And that in general, we try to
fallow the local laws of different countries we operate-

Senator Blackburn: (04:20:57 (https://www.rev.com/transcript-
editor/shared/ge7Kc1_ 8alBJWOTcicE7plcé63qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvqAM23

hitps://www.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-teslimony-transcript-senate-tech-hearing-november-17 72/62
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BSo?loadFrom=PastedDeeplink&ts=15657.35))}

Yes. you did, And you kept him off for three months. In Turkey, does Facebook have an anti-blasphemy policy where it will take
down photos of the prophet Muhammad, if the Turkish government orders it to do so?

Mr. Zuckerberg: (04:21:13 (nttps://www.rev.com/transcript-
editor/shared/qe7Kcl_B8alBJWOTcicE7pilcé3qbN5YS9N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUQvqAM23
BSo7loadFrom=PastedDeeplink&ts=15673.4))

Senator again, we don't have a policy against that, but we do follow-

Senator Blackburn: (04:21:19 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTCICE7pic63qbNSYSON2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=19679.43))

Well, the answer is yes.

Mr. Zuckerberg: (04:21:20 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBIWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvgAM23
BSo7loadFrom=PastedDeeplink&ts=15680,1})

Well, we follow local laws in the countries where we operate.

Senator Blackburn: (04:21:22 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plc63qgbN5Y59N2ZEXxkO_EVTEes?mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7?loadFrom=PastedDeeplink&ts=15682.96))

The answer is yes. In Russia, under pressure from the Russian government, did Facebook take down a post advertising the rally
in support of the dissident, Alexei Navalny. The answer is yes. I'll help you with that.

Senator Blackburn: (04:21:38 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_Sal8IWOTcicE7picé3qbN5¥59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYiEUIPZSrNzdAbUJvqaM23
BSo7loadFram=PastedDeeplink&ts=15698.09))}

Do you believe it's Facebook duty to comply with state sponsored censorship so it can keep operating. doing business, and
selling ads in that country?

Mr. Zuckerberg: (04:21:49 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8alBJWOTcicE7plc63qbNSY59N2ZEXxkO_EVTEes7mMHP_NkJpyZemnhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=15709.84)}

Senator, in general, we try to comply with the laws in every country where we operate and do business.

Senator Blackburn: (04:21:59 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_S8alSIWOTcicE7picé3qbN5SY59N2ZEXxkO_EVTEes7mHP_ NkJpyZemhawOyRYIEUTIPZ5rNzdAbUOvqAM23
BSo7loadFrom=PastedDeeplink&ts=15719.44))

| think that you prioritize profit over principle. When you took at these countries, and also in communist China, which they have
banned their citizens from you, you can’t operate there.

Senator Blackburn: (04:22:14 (https://www.rev.com/transcript-
editor/shared/qe7Kci_8al8IWOTcicE7plcé3qbN5YS59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=15734.64)}

In China, Twitter, you have an opponent there. You've got a knockoff, Weibo, that is a Chinese Communist Party owned
company. But your companies, even though they're banned there, you're still trying to do business in those countries. Mr.
Dorsey, does Twitter do business with Huawei?

Mr. Dorsey: (04:22:34 (https://www.rev.com/transcript-
editor/shared/qe7Kcl_Bal8JWOTcicE7plcé3qbN5Y59N2Z7EXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUOvgAM23
BSo7loadFrom=PastedDeeplink&ts=15754.41))

i don't believe so, but we can follow up.

https:/Avww.rev.com/blog/transcripts/mark-zuckerberg-jack-dorsey-teslimony-transcript-senate-tech-hearing-november-17 TRB2
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Senator Blackburn: (04:22:40 (https://www.rev.com/transcript-

editor/shared/ge7Kc1_ 8al@JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rN2zdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=15760.55))

| can answer it for you, sir. You helped launch Huawei's Mate 30 Pro 5G and it is featured on Twitter's marketing page website.
How about Alibaba? You do business with Jack Ma’s company with their links to the Chinese Communist Party?

Mr. Dorsey: (04:23:01 (https://www.rev.com/transcript-

editor/shared/qe7Kc1_ 8al8JWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIJvgAM23
BSo?loadFrom=PastedDeeplink&ts=15781.52))

If by business. you mean allowing people to advertise on our platform-

Senator Blackburn: (04:23:05 (https://www.rev.com/transcript-
editor/shared/qe7Kel_8al8IWOTcicE7plc6é3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=15785.04)}

Your answer is yes. Mr. Zuckerberg, are you aware that last year China's top internet regulator agreed to spend over $800,000
for the communist mouthpiece, the People’s Daily, and they did this so that they could advertise and promote China to the
American people on Facebook?

Senator Blackburn: (04:23:26 (https://www.rev.com/transcript-
editor/shared/qe7Kci_Sal8JwOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo7loadFrom=PastedDeeplink&ts=15806.57))

The point of all of this, and the answer to that, Mr. Zuckerberg, whether you're aware or not, is you probably are, and you know
that what they’re doing is gaining access to this market.

Senator Blackburn: (04:23:40 (https://www.rev.com/transcript-

editor/shared/qe7Kcl_ 8al8JWOTcicE7pilcé3qgbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEU1PZ5rNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=15820,53))

This is why we're going to keep a real close watch over what you all are doing with Libra and what you are doing with Square.
Because we see what has happened. Ir's important for us to protect people and to protect human rights.

Senator Blackburn: (04:23:59 (https://www.rev.com/transcript-

editor/shared/qe7Kcei_ 8alBIWOTcicE7picé3qbNS5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUIvqAM23
BSo?loadFrom=PastedDeeplink&ts=15939.02))

Let me move to election content and that monitoring. because we do have concerns about some of the things that happen
there. Mr. Zuckerberg, let me ask you this, have you heard of the Trump Accountability Project?

Mr. Zuckerberg: (04:24:23 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7picé3qbNSYS5S9N2ZEXxkO_EVTEes?7mHP._NkJpyZemhawOyRYVIEUIPZS5rNzdAbUJvqAM23
BSo?loadFrom=PastedcDeeplink&ts=15863.43))

Senator, I'm not familiar with that.

Senator Blackburn: (04:24:25 (https://www.rev.com/transcript-
editor/shared/gqe7Kei_SalBJWOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes?/mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=15865.48))

That is a project that is an attempt to blacklist Americans who have served in the Trump administration and to prohibit them
from gaining future employment. Now in communist China, in Putin’s Russia, in totalitarian states, the government regularly
will issue a blacklist on their enemies. Enemies of the state are banned from getting a job and if their names fall on the
blacklist, they are out.

Senator Blackburn: (04:24:55 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8 JWOTcicE7plcé3qbNSYS9N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=15895.01))

https:/Avww.rev.com/blag/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-fech-hearing-november-17 74182
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This seems disturbing that it would be happening here in this country. So Mr. Zuckerberg, do you agree with me there is
seriously something wrong with an un-American blacklist tarring people from future employment simply because they belong
to a different political party?

Mr, Zuckerberg: (04:25:22 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_S8alBIJwO TcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=15922,35))

Senator, | generally agree that people should not be discriminated against because of political beliefs.

Senator Blackburn: (04:25:30 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawQyRYIEUIPZSrNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=15930.9))

Okay, that is a positive step. Now on Facebook, | wrote in a post. and I'm quoting. “The Trump Accountability Project'is the
epitome of the cancel culture. Our nation has long benefited from robust political debate and this effort to silence those who
support our prestifent is vile.”

Senator Blackburn: (04:25:56 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_SalBIwOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=15956,.29)} +

As you can tell from this statement, nothing was said about the election or the results, either directly or indirectly, but
somehow | gat slapped with your elections flag sticker. So what each of you need to realize, and you've heard it time and again
today you, say you don’t keep lists. Obviously you have lists. Because there are some of us who are regularly censored and
called down by your content moderators. Do we want to see these lists? Yes. How have you built these lists? We want to know.

Senator Blackburn: (04:26:46 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7picéSqoNSYS9N2ZEXxkO_EVTEes?mHP_NkIpyZemhawOyRYIEUIPZSrNzdAbUOvgAM23
BSo7?loadFrom=PastedDeeplink&ts=16006.05))

| would remind each of you, you are a Title 1 service. you are an information service. You are to be the new public square, But
what you are doing with your power that you have derived because federal law gave you the ability to stand up and grow
without being hit by lawsuits, you have used this power to run amuck, You have used it to silence conservatives. You have
used it to build your lists. You have used this power to act like you hold all the power. That you can make these decisions. You
have driven this cancel culture, because you have not called to account your moderators. You have refused to take
responsibility for your employees and their actions, so thereby reigning you in on the issues of privacy, data security, content
moderation, liability protections, defining who is a publisher in the virtual space, that is up to us, because you have proven you
do not have the will, the strength, the ability, and you will not accept the responsibility to do it for yourselves. | yield my time.

Mr. Graham: (04:28:27 (https://www.rev.com/transcript-

editor/shared/qe7Ke1_8al8JWOTcicE7picé3qbN5Y59N2ZEXxkO_ EVTEes7/mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqAM23
BSo7loadFromsPastedDeeplink&ts=16101.47}}

Thank you very much, Senator Blackburn. To the two witnesses, you made it through. Thank you. Hopefully we'll understand a
little bit better about where the committee's at and our concerns. | want to thank you for appearing. | wish we could do it in
person, but | can understand why we had to do it remotely.

Mr. Graham: (04:28:41 {https://www.rev.com/transcript-
editor/shared/qe7Kci_8al8JWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7mMHP_NkJpyZemhawOyRVIEUIPZ5rNzdAbUJvqAM23
BSo7loadFrom=PastedDeeplink&ts=16121.94))

We will have more hearings coming up in the next Congress. I’m sure, to try to find ways to modify 230 to deal with some of the
issues that were brought before the committee. | just want to thank you both and just say that you have been hugely
successful in ways probably beyond your own imagination, and we've got problems around your platforms that have to be dealt
with, and we will do it. hopefully, collaboratively.

hitps:/Avww.rev,com/blog/transcripts/mark-zuckerberg-jack-dorsey-testimony-transcript-senate-tech-hearing-november-17 THlb2
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Mr. Graham: (04:29:08 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_Bal8WOTcicE7pilcé3qbN5Y59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYVIEUIPZSrNzdAbUIVgAM23
BSo7loadFrom=PastedQeeplink&ts=16148.51))

The bottom line is we want to make these platforms better. We want to continue to grow this part of our society responsibly.
And right now. without regulation or without lawsuit is pretty much becoming the wild wild west. And | appreciate both of you
for being willing to try to find ways to come up with systems that will ensure more transparency, more choice, and more
confidence. .

Senator Blumenthal: (04:29:40 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8alBIJWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkIpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo7loadFrom=PastedDeeplink&ts=16180.22)}

Mr. Chairman,

Mr, Graham: (04:29:40 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8IWOTcicE7plcé3qbN5Y59N2ZEXxkO_EVTEes?7mMHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIvqAM23
BSo?loadFrom=Pasted Deeplink&ts=14180.99))

Yes, sir?

Senator Blumenthal: (04:29:42 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_BalBQWOTcicE7picé3qbNSY59N2ZEXxkO_EVTEes7MHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqgAM23
BSo?loadFrom=PastedNeeplink&ts=16182.73))

lf | may just add my thanks to the witnesses and also to you for having this hearing. | think there's one certainty here, which is
that Mr. Zuckerberg and Mr, Dorsey will be back. They will be back in the next session of Congress. | hope that joining them will
be Google and Amazon and others who should be held similarly accountable.

Mr. Graham: (04:30:09 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plcé3qbNSYS59N2ZEXxkO_EVTEes?7mHP_NkJpyZemhawOyRYIEUIPZ5rNzdAbUJvqAM23
BSo?loadFrom=PastedDeeplink&ts=16209.57))

| agree. To these two companies. thank you for stepping up to the plate, and to the other companies, you need to be here also,

Senator Blumenthal: (04:30:17 (https://www.rev.com/transcript-
editor/shared/qe7Ke1_8al8JWOTcicE7picé3qbN5Y59N2ZEXxkO_EVTEes7mMHP_NkIpyZemhawOyRYIEUIPZ5rNzdAbUJvgAM23
BSo?loadFrom=PastedDeeplink&ts=16217.63)}

|, again, thank them. And we need to have greater accountability by reducing the shield. It's now nearly complete. And | want to
thank you, Senator Graham, for working with me on the EARN IT Act, a number of our colleagues have raised the problem with
child sexual abuse material. Best way to counter it is to act. We really are serious about all this rhetoric and the jumble of
grievances that we've heard. Let's begin the journey with a single step, We can do it through the EARN IT Act. It’s on the floor of
the United States Senate having been reported unanimously cut of this committee. Let’s have a vote.

Mr. Graham: (04:31:02 (https://www.rev.com/transcript-
editor/shared/qe7Kc1_8al8JWOTcicE7plc63qbNS5¥59N2ZEXxkO_EVTEes7mHP_NkJpyZemhawOyRYIEUIPZSrNzdAbUIJvgA4M23
BSo7loadFrom=PastedDeeplink&ts=16262.26))

Agreed. Change is going to come. Thank you. The hearing is adjourned.

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